Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 1 of 170 PageID 18623




                     EXHIBIT E
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 2 of 170 PageID 18624




                  IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION


        IN RE: BOSTON SCIENTIFIC CORP  (   Master File
        PELVIC REPAIR SYSTEM PRODUCTS  (   No. 2:12-MD-02326
        LIABILITY LITIGATION           (   PRODUCTS LIABILITY
                                       (   LITIGATION
                                       (
        THIS DOCUMENT RELATES TO       (   MDL 2326
                                       (
                                       (
                                       (
        RAEANN BAYLESS v.              (   JOSEPH GOODWIN
        BOSTON SCIENTIFIC CORP.        (   U.S. DISTRICT JUDGE
                                       (
        CASE NO. 2:16-cv-01311         (
                                       (
        ______________________________________________________




                                            Orlando, Florida
                                            Wednesday, Sept. 12, 2018
                                            9:01 a.m.




                                    VIDEOTAPED
                                  DEPOSITION OF:
                              KATHY Y. JONES, M.D.


                           United Reporting, Inc.
                                954.525.2221

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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 3 of 170 PageID 18625


                                                                    Page 2
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             the Plaintiff Raeann Bayless
   6
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             Austin, Texas 78701
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 19
                  Appearing on behalf of the Defendant
 20          Boston Scientific Corp.
 21     ALSO PRESENT:
 22          Dawn Bookbinder, Videographer
             Dynamic Legal Video
 23
 24
 25


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 4 of 170 PageID 18626


                                                                    Page 3
   1                                I N D E X
   2                                                                   Page
   3    TESTIMONY OF KATHY Y. JONES, M.D.:
   4         Direct Examination - By Mr. Haberman                            6
   5         Cross Examination - By Ms. Shub                               51
   6         Cross Examination - By Mr. Scoggan                          123
   7         Redirect Examination - By Mr. Haberman                      143
   8         Recross Examination - By Ms. Shub                           144
   9    CERTIFICATE OF OATH                                              149
 10     CERTIFICATE OF REPORTER                                          150
 11     SUBSCRIPTION OF DEPONENT                                         151
 12     READ & SIGN LETTER                                               152
 13
                                    - - - - -
 14
 15     PLAINTIFF'S EXHIBITS MARKED FOR IDENTIFICATION:
 16     No. 1 (Office records)                                             11
 17     No. 2 (Coloplast & Boston Scientific brochures)                    11
 18     No. 3 (CV)                                                         13
 19     No. 4 (10/29/13 Orlando Urogynecology letter)                    148
 20     No. 5 (5/7/12 Dr. Bukkapatnam office record)                     148
 21     No. 6 (5/31/12 visit)                                            148
 22     No. 7 (3/10/12 visit)                                            148
 23     No. 8 (8/14/12 visit)                                            148
 24     No. 9 (8/16/12 visit)                                            148
 25     No. 10 (3/21/13 visit)                                           148


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 5 of 170 PageID 18627


                                                                    Page 4
   1    PLAINTIFF'S EXHIBITS MARKED FOR ID (cont'd):
   2    No. 11 (5/28/13 visit)                                           148
   3    No. 12 (Hysterectomy consent)                                    148
   4    No. 13 (Relaxation/repair of organs consent form)                148
   5    No. 14 (Anterior and/or Posterior Colporrhaphy)                  148
   6    No. 15 (Augmentation graft consent form)                         148
   7    No. 16 (Surgery/Procedure consent form)                          148
   8    No. 17 (8/9/13 Operative Report)                                 148
   9    No. 18 (Hysterectomy Pathology)                                  148
 10     No. 19 (Discharge Information)                                   148
 11     No. 20 (9/24/13 visit)                                           148
 12     No. 21 (Urethrovesical Suspension consent form)                  148
 13

 14

 15
 16

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 18
 19

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 23

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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 6 of 170 PageID 18628


                                                                    Page 5
   1               The following is the transcript of the

   2        videotaped deposition of KATHY Y. JONES, M.D.,

   3        taken on behalf of the Plaintiff, at the offices of

   4        Landmark Reporting, Inc., 1516 Hillcrest Street,

   5        Suite 300, Orlando, Florida 32803, on WEDNESDAY,

   6        SEPTEMBER 12, 2018, beginning at 9:01 a.m., before

   7        PATRICIA ELDRIDGE, being a Court Reporter and

   8        Notary Public, State of Florida at Large.

   9                                - - - - -

 10                VIDEOGRAPHER:     Good morning.     We are now on

 11         the video record.       Today is Wednesday, the 12th day

 12         of September, 2018.       The time is 9:01 a.m.

 13                We are here at 1516 Hillcrest Street, Suite

 14         300, Orlando, Florida, for the purpose of taking

 15         the video deposition of Kathy Y. Jones, M.D.; taken

 16         by the Plaintiff in case No. 2:16-cv-1311; in the

 17         case of Raeann Bayless versus Boston Scientific

 18         Corp.; which is filed in the United States District

 19         Court for the Southern District of West Virginia,

 20         Charleston Division.

 21                The court reporter is Patty Eldridge of

 22         Landmark Reporting.       The videographer is Dawn

 23         Bookbinder of Dynamic Legal Video.

 24                Will counsel please state their appearances

 25         for the record?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 7 of 170 PageID 18629


                                                                    Page 6
   1               MR. HABERMAN:      Jeffrey Haberman from

   2        Schlesinger Law Offices on behalf of the Plaintiff.

   3               COURT REPORTER:      I'm sorry, I couldn't even --

   4        on behalf of --

   5               MR. HABERMAN:      The Plaintiff.

   6               COURT REPORTER:      Thanks.    Sorry.   It's just

   7        hard to hear you.

   8               Can you guys hear that?

   9               MR. HABERMAN:      Okay.   I'll speak up.

 10                MS. SHUB:    Hi.   Lisa Shub.     I'm here with

 11         Heather Howard on behalf of Coloplast.

 12                MR. SCOGGAN:     And Steven Scoggan on behalf of

 13         Boston Scientific.

 14                VIDEOGRAPHER:      Please swear the witness.

 15                COURT REPORTER:     Raise your right hand.        Do

 16         you swear or affirm the testimony you're about to

 17         give is the truth, the whole truth, and nothing but

 18         the truth, so help you God?

 19                THE WITNESS:     Yes.

 20                                 - - - - -

 21                         KATHY Y. JONES, M.D.,

 22     having first been duly sworn, testified as follows:

 23                            DIRECT EXAMINATION

 24     BY MR. HABERMAN:

 25         Q      Good morning, Doctor.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 8 of 170 PageID 18630


                                                                    Page 7
   1        A      Good morning.

   2        Q      Please state your full name for the record.
   3        A      Kathy Y. Jones.

   4        Q      And Doctor, what's your date of birth?
   5        A      10/10/64.

   6        Q      What's your business address?
   7        A      2501 North Orange Avenue, Suite 309, Orlando,

   8    Florida 32804.

   9        Q      Are you in private practice, Doctor?
 10         A      Yes.

 11         Q      And what's the name of your practice?
 12         A      Orlando Urogynecology.

 13         Q      How many other physicians are in that group?
 14         A      Just myself.

 15         Q      Okay.     How long have you been in private
 16     practice?
 17         A      In the Orlando area?      Since --

 18         Q      In general.
 19         A      Pardon?

 20         Q      In general.
 21         A      In general?    Since 1997.

 22         Q      Okay.     I want to take a moment to walk through
 23     your background, and education, and experience, if you
 24     don't mind.       Did you attend college?
 25         A      I did.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 9 of 170 PageID 18631


                                                                    Page 8
   1        Q      Where did you attend college?
   2        A      Duke University.

   3        Q      When did you graduate?
   4        A      1986.

   5        Q      What year -- what was your major?
   6        A      Chemistry.

   7        Q      After graduating college, did you attend
   8    medical school?
   9        A      Yes.

 10         Q      Where did you attend medical school?
 11         A      It was called Bowman Gray School of Medicine

 12     at the time.      That's now been renamed to Wake Forest

 13     University Medical School.

 14         Q      And when did you graduate medical school?
 15         A      1990.

 16         Q      Did you do a residency afterward?
 17         A      Yes.

 18         Q      Where did you do your residency?
 19         A      I completed an internship in internal medicine

 20     at Columbia Presbyterian Hospital in New York.            And I

 21     did a residency in obstetrics and gynecology at NYU

 22     Medical Center.

 23         Q      Following your residency at NYU, did you go on
 24     to further education and training?
 25         A      Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 10 of 170 PageID 18632


                                                                    Page 9
   1         Q     And can you describe that?
   2         A     I did a fellowship in urogynecology.
   3         Q     When did you -- well, where did you do that
   4    fellowship?
   5         A     Wayne State University, Detroit Medical
   6    Center.
   7         Q     When did you finish that?
   8         A     1997.
   9         Q     Okay.    Can you describe for us what that
  10    entailed, the fellowship in urogynecology?
  11         A     It was a two year post-graduate training that
  12    was focused on the treatment of female patients with
  13    urinary incontinence, pelvic organ prolapse, painful
  14    bladder syndrome, pelvic pain syndromes.
  15         Q     Are you board certified?
  16         A     Yes.
  17         Q     In what areas?
  18         A     Obstetrics and gynecology as a generalist.
  19    And, also, with subspecialty board certification in
  20    female pelvic medicine and reconstructive pelvic
  21    surgery, better known as urogynecology.
  22         Q     Do you do any work in obstetrics nowadays?
  23         A     No.
  24         Q     Okay.    How long -- since -- since 1997, have
  25    you been focused solely on female pelvic medicine and


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 11 of 170 PageID 18633


                                                                   Page 10
   1    reconstructive surgery?
   2         A     Since 1999.

   3         Q     Just briefly, Doctor, if you can, tell us, why
   4    did you decide to get into that field, the field of
   5    urogynecology?
   6         A     At the time of my residency, there weren't

   7    many physicians or, I would say, practitioners, that

   8    were familiar with that particular aspect of women's

   9    healthcare.     So it was of interest to me as a resident.

  10    At the time, there weren't very many fellowship

  11    trainings that were available across the nation, so it

  12    was what I'd call a black box.

  13         Q     Did you bring anything with you to the
  14    deposition today, Doctor?
  15         A     Yes, sir.

  16         Q     What did you bring?
  17         A     I brought all three notices of depositions.               I

  18    also brought the invoice of the deposition; plus, a

  19    check noting payment for the deposition.

  20               I brought my office records for Raeann

  21    Bayless, as well as some associated records that

  22    were -- I couldn't pull from the electronic medical

  23    records, so they had to be pulled separately.

  24               I also brought some brochures from the office

  25    from Coloplast.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 12 of 170 PageID 18634


                                                                   Page 11
   1         Q     Okay.    I'd like to mark as Exhibit 1 your
   2    office records.
   3               (Plaintiff's Exhibit No. 1 was
   4                 marked for Identification.)
   5    BY MR. HABERMAN:
   6         Q     Okay.    Just to be clear, the associated
   7    records that you mentioned, Doctor, are they part of
   8    your office records?
   9         A     Yes.
  10         Q     Okay.    So all of that, the office records and
  11    the associated records, were marked as Exhibit 1?
  12         A     Yes.
  13         Q     Okay.    I'd like to mark as Exhibit 2 the
  14    Coloplast brochures that you brought with you.
  15         A     There are three.
  16               (Plaintiff's Exhibit No. 2 was
  17                 marked for Identification.)
  18               COURT REPORTER:      Okay.
  19               MR. HABERMAN:      Okay.    Thanks.
  20    BY MR. HABERMAN:
  21         Q     Just going back to your practice, Doctor, can
  22    you give us an estimate about how many patients you
  23    treat a day?
  24         A     On a busy day, 20.
  25         Q     How many times a week do you perform surgery?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 13 of 170 PageID 18635


                                                                   Page 12
   1         A     One and a half.

   2         Q     One and a half days a week, or one and a half
   3    times a week?
   4         A     One and a half days a week.

   5         Q     I guess that wouldn't make sense if it was
   6    half a time.
   7               Okay.    So, Doctor, have you published in the
   8    area of urology, urogynecology, and female pelvic
   9    medicine and reconstructive surgery?
  10         A     I have a publication that's associated with

  11    colorectal surgery, as related to combined surgeries

  12    with sacral colpopexy and rectopexy.          So for

  13    combined -- I would say vaginal vault prolapse and

  14    constipation.

  15         Q     Have you given presentations on the topics of
  16    female pelvic medicine and reconstruction surgery?
  17         A     Yes.

  18         Q     Did those presentations include discussions on
  19    vaginal mesh?
  20         A     Yes.

  21         Q     How many times have you given presentations?
  22         A     I'd have to look at my CV to see.

  23         Q     Did you bring your CV with you?
  24         A     I did.

  25         Q     Okay.    We could maybe look at that during a


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 14 of 170 PageID 18636


                                                                   Page 13
   1    break, but let's -- let's mark the CV as Exhibit 3,
   2    please.
   3               (Plaintiff's Exhibit No. 3 was
   4                marked for Identification.)
   5               COURT REPORTER:      Okay.

   6    BY MR. HABERMAN:

   7         Q     The presentations that you've given on
   8    transvaginal mesh, were those on behalf of a medical
   9    device manufacturer?
  10         A     No.

  11         Q     In what context did you give presentations on
  12    transvaginal mesh?
  13         A     Usually at a CME, or continuing medication --

  14    continuing medical education meeting.

  15         Q     In those presentations, would you discuss a
  16    particular device by a particular manufacturer?
  17         A     No.    Several different devices may have been

  18    presented, but the focus of the subject was the use of

  19    mesh in prolapse surgeries.

  20         Q     And did the presentations focus on patient
  21    outcomes?    Tell us about them, if you can.
  22         A     May I reference my CV?

  23         Q     Yes.
  24         A     So if I had an invited or a national

  25    presentation, the last one that I gave was in reference


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 15 of 170 PageID 18637


                                                                   Page 14
   1    to a patient education forum related to some of the

   2    complications associated with mesh placement for

   3    prolapse.    And the other meeting -- well, presentation,

   4    was also related to vaginal surgery to treat stress

   5    urinary incontinence, and it was called Reducing the

   6    Mesh Mess.

   7               So those last two presentations were related

   8    to complications associated with mesh placed for

   9    prolapse and/or stress incontinence.

  10         Q      In your experience, what are some of the
  11    complications associated with mesh?
  12         A     Specific to mesh, or specific -- or that are

  13    unique to mesh; or in general, complications associated

  14    with surgery with prolapse --

  15         Q      Complications that are specific to mesh.
  16         A     The only complication that's specific to mesh

  17    is an exposure, which means it could come into the

  18    vagina.    Or an erosion, which means that the actual

  19    mesh has gone into a different organ other than what it

  20    was placed within.

  21         Q      Is mesh -- once implanted, is vaginal mesh
  22    supposed to undergo an exposure where it goes into the
  23    vagina?
  24         A     Let me make sure I understand your question.

  25    Are you stating, is it supposed to, or is that a


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 16 of 170 PageID 18638


                                                                   Page 15
   1    possibility of happening?

   2         Q     Is it supposed to?
   3         A     No, it's not supposed to.

   4         Q     And if mesh becomes exposed, and goes into the
   5    vagina, or it erodes and goes into another organ, is
   6    that indicative of a product failure?
   7         A     No.

   8         Q     What, in your opinion, is it -- is it
   9    indicative of if there is an exposure and erosion?
  10         A     I'm not sure what you're asking.         I don't

  11    understand your question.

  12         Q     Okay.    Well, I -- when I asked if it was
  13    indicative of a product failure you said no, right?
  14         A     The vaginal erosion or the vaginal exposure?

  15         Q     Either.    I mean, would you agree that, in both
  16    cases, exposure and erosion is not supposed to happen?
  17         A     No, it's not supposed to happen.

  18         Q     And so, if it does happen, would you agree
  19    that that is indicative of a product failure?
  20         A     No.

  21         Q     Okay.    What is it indicative of?
  22         A     It's indicative that the -- the mesh actually

  23    came through the vagina, or the -- the -- or got

  24    exposed into a different organ.         It -- there are

  25    different factors that can -- can factor into why that


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 17 of 170 PageID 18639


                                                                   Page 16
   1    may have occurred; including surgeon placement,

   2    patient's medical conditions -- so there are other

   3    contributors to why an exposure or an erosion may

   4    occur.

   5         Q     What about the design of the product itself --
   6    or themselves?      Do they contribute to exposure or
   7    erosion?
   8               MS. SHUB:    Objection; form.

   9               THE WITNESS:     In a -- I'm trying to make sure

  10         I understand exactly what your point of your

  11         question is.     Are you saying that the design of a

  12         mesh can cause it to heal in such a way that a

  13         patient is more prone to an exposure or an erosion?

  14               Are you -- or are you saying that by default,

  15         or its design, that it's the problem?

  16    BY MR. HABERMAN:

  17         Q     No, I'll take the first one.         The first way
  18    you characterized it.       Is it designed in a way -- in
  19    your experience, is it designed in a way that, combined
  20    with a patient -- however you said it first.            You said
  21    it better than I'm saying it now.          But you -- you
  22    mentioned two factors that may cause or
  23    contribute (sic) an erosion.         You talked about
  24    placement and patient's medical condition.
  25               And so, I'm asking you, what about -- in your


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 18 of 170 PageID 18640


                                                                   Page 17
   1    experience, what about the design of the products?
   2    Do -- can the design be a factor in inducing or causing
   3    mesh exposure or erosion?
   4               MS. SHUB:    Objection; form.

   5               MR. SCOGGAN:     Same objection.

   6               THE WITNESS:     I would say, if we were ten

   7         years ago, with the initial products that -- that

   8         had come out on the market, the design of those

   9         meshes were very different than the mesh products

  10         that are available today.

  11               So with the change in the technology, and the

  12         design of mesh that are present and available

  13         today -- and I would say -- and today means in the

  14         last five years -- the issue of design, I would say

  15         flaw, is not so much of a contributor to a patient

  16         developing a mesh exposure or an erosion.

  17    BY MR. HABERMAN:

  18         Q     What -- what do you mean by design flaw?            What
  19    in particular are you referring to?
  20         A     So some of the first meshes that came on the

  21    market, even though they were macroporous, they also

  22    had what they call interstices, which means that in the

  23    sub-makeup of the actual mesh, they were smaller pore

  24    size, and actually was -- I'm trying to make sure you

  25    understand what I'm saying.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 19 of 170 PageID 18641


                                                                   Page 18
   1               So the pore size is designed as the largest

   2    size that's available.       But in some of the older

   3    meshes, the -- they were multifilament, meaning that

   4    they were combined or made up of multiple filaments in

   5    one strand.     And when they were woven, those

   6    subcompartments in the multiple strands then made the

   7    actual pore size much smaller than what it was

   8    presented as.

   9               With a -- with a smaller pore size, you do not

  10    allow the normal inflammatory responses to occur.

  11    Which means that you don't allow larger inflammatory

  12    cells to be able to enter and exit the area of where

  13    the mesh was placed.       And so, it makes it more likely

  14    then to not become incorporated into the body as it was

  15    intended, and never really heal very well.

  16               So as I said, with the transitions of newer

  17    meshes, that's not so much of an issue now.

  18         Q     Okay.    And so, you know, if what you said
  19    occurred, where the healing doesn't happen as expected,
  20    you would expect to see exposure or erosion; is that
  21    right?
  22         A     I wouldn't necessarily say that you would

  23    expect it, but it's -- it is more likely to occur.               Or

  24    may occur.     I -- I -- I -- it doesn't always occur.

  25         Q     What meshes in particular, or if any, do you


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 20 of 170 PageID 18642


                                                                   Page 19
   1    have in mind that have the flaw that you were
   2    discussing, smaller pore size, the multifilament-type
   3    mesh that you were talking about?
   4         A     So Ethicon had something called Gynecare mesh,

   5    or Gynecare PS, which was one of the first meshes that

   6    was available to be used for prolapse, specifically

   7    with a sacral colpopexy.        That's one.

   8               There's a -- there's another one, but I don't

   9    necessarily recall the name of it right now.            But

  10    those --

  11         Q     What about Boston Science's (sic) Advantage?
  12         A     Advantage Fit is for a sub-urethral sling.              So

  13    are we -- I -- I would need to stay in one category.

  14    That means if we're gonna refer to prolapse surgery

  15    that's associated with sacral colpopexy, that's one

  16    venture.    And then, slings are a different modality.

  17               So even though the -- they're still using

  18    polypropylene, the -- the mesh is a little bit

  19    different.     And the size of the mesh is also markedly

  20    different.

  21         Q     Okay.    In your experience, patients who have
  22    had mesh slings have also experienced exposure or
  23    erosion, right?
  24               MS. SHUB:    Objection; form.

  25               THE WITNESS:     So you're asking me in -- in the


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 21 of 170 PageID 18643


                                                                   Page 20
   1         almost 20 years that I've practiced, that I have

   2         placed sub-urethral slings, and I've had patients

   3         have exposures?

   4    BY MR. HABERMAN:

   5         Q     Right.
   6         A     Yes, I have.

   7         Q     Okay.    And in your experience in implanting
   8    transvaginal mesh, the type of transvaginal mesh that's
   9    at issue in this case, have you treated patients who
  10    have experienced exposure or erosion in their vaginal
  11    meshes?
  12         A     Are you referring to --

  13         Q     Or mesh slings?
  14         A     Are you referring to a mesh sling,

  15    specifically?

  16         Q     Specifically, yes.
  17         A     Yes, I have.

  18         Q     Okay.    And are those -- and you talked about
  19    design flaws; do those design flaws also extend to the
  20    slings that have been on the market?
  21         A     Yes.    One particular sling that's no longer

  22    available was removed from the market because it was

  23    associated with more than 50 percent of mesh exposures

  24    or, actually, extrusions.

  25         Q     And what sling are you talking about?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 22 of 170 PageID 18644


                                                                   Page 21
   1         A     Gosh, I'm trying to remember the name of that
   2    now.     It's been off the market quite a bit.          I don't
   3    recall right now.
   4         Q     Okay.    Can you estimate, Doctor, how many
   5    slings you've implanted?
   6         A     In my career?
   7         Q     Yeah.
   8         A     Probably close to 500.
   9         Q     And how many transvaginal meshes have you
  10    implanted to treat pelvic organ prolapse?
  11         A     To treat pelvic organ prolapse?          Are you
  12    referring to transvaginally-placed mesh or
  13    abdominally-placed mesh?
  14         Q     Transvaginally-placed mesh.
  15         A     I stopped doing that procedure approximately
  16    five years ago.      So there was a span of -- let's see.
  17    I'm trying to remember the time frame.            Let me just
  18    look at my CV real quick.
  19               So from 2005 to 2010, the transvaginal mesh
  20    kits were available to be used.          So that would have
  21    been -- that would have been reflective of the time
  22    when I actually placed transvaginal mesh for prolapse.
  23    In that time frame, I believe I would have placed, on
  24    average, maybe 120, 150 cases.
  25         Q     Okay.    Have you removed mesh?        Have you


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 23 of 170 PageID 18645


                                                                   Page 22
   1    removed transvaginal mesh or mesh slings?
   2         A      Yes.

   3         Q      And in what instances do you remove mesh?
   4         A      In the case of a transvaginal sling, it can be

   5    because a patient had urinary retention related to the

   6    sling being a little too tight.         If they were having

   7    pain related to the sling, or if there was a chronic

   8    exposure with associated discharge and bleeding, or if

   9    there was voiding dysfunction, meaning that the patient

  10    did not have issues with urinary tract infections, but

  11    felt that her stream was very slow, and she was

  12    uncomfortable with that outcome.

  13         Q      And in what instances do you explant
  14    transvaginal mesh or pelvic organ prolapse mesh?
  15         A     Can you restate the question?

  16         Q      In what instances do you remove mesh that had
  17    been put in to treat pelvic organ prolapse?
  18         A     I have -- if I understand your question

  19    correctly, I have removed portions of mesh if a patient

  20    has a -- if, again, same types of symptoms, pain, and

  21    we have isolated it's related to the mesh that was

  22    placed in a certain area.        And that's with pelvic organ

  23    prolapse.

  24               If a patient has a vaginal exposure that has

  25    not responded to conservative therapy, or if the


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 24 of 170 PageID 18646


                                                                   Page 23
   1    patient just requests that that area of mesh be

   2    removed.

   3               In reference to sub-urethral slings, it -- for

   4    the same issue; it can be for pain with intercourse;

   5    pain that the patient is just aware of, and we have

   6    isolated that it could be related to her previous sling

   7    placement; or if there is an exposure; or if there is

   8    abnormal urination.

   9         Q     How do you isolate the pain such that you know
  10    that it's related to the mesh?
  11         A     We would do what's called a targeted exam.

  12    And if I can isolate the patient's source of pain where

  13    the mesh was placed, that is what we would use as a

  14    leading cause of her discomfort.

  15         Q     Doctor, have you ever consulted for a medical
  16    device manufacturer?
  17         A     I have.

  18         Q     Can you name the manufacturer, or
  19    manufacturers?
  20         A     Ethicon Endo-Surgical, or the other name --

  21    the women's health division was called Gynecare.             I

  22    also did some work for -- I believe -- let me just make

  23    sure.

  24               I don't see their name listed here.          So the

  25    only ones I have listed on my -- my CV, actually, is


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 25 of 170 PageID 18647


                                                                   Page 24
   1    Gynecare.     But I did do some cadaveric trainings for
   2    another company.      But I don't see it listed here.            And
   3    I don't recall the name of the company right now.
   4         Q     You mentioned cadaveric training.           What is
   5    that?
   6         A     It is the form in which we use to teach
   7    surgeons how to perform the placement of --
   8    transvaginally -- mesh procedures for prolapse and/or
   9    incontinence.
  10         Q     So you were one of the physicians that would
  11    teach other physicians how to implant mesh and mesh
  12    slings, right?
  13         A     Correct.
  14         Q     Did you do any consulting for Boston
  15    Scientific?
  16         A     No.
  17         Q     Have you ever done any consulting for
  18    Coloplast?
  19         A     No.
  20         Q     Do you still consult for Ethicon?
  21         A     No.
  22         Q     When did you stop consulting for Ethicon?
  23         A     I believe that was 2010.
  24         Q     Is there a reason why you stopped?
  25         A     Well, when the FDA put out their statement


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 26 of 170 PageID 18648


                                                                   Page 25
   1    about the concern with vaginally-placed mesh, most of

   2    the companies that had any type of kit related to those

   3    pretty much halted their teaching forum for any new

   4    surgeons.    So at that point, everything was placed on

   5    hold.    And thereafter, some companies actually pulled

   6    out of the market, and so, those areas of teaching was

   7    then completely dissolved.

   8         Q      Okay.   I want to turn your attention to your
   9    care and treatment of Ms. Bayless.          When was the first
  10    time you saw her?      Feel free, of course, to look at
  11    your records.
  12         A     So, according to my records, the first time I

  13    saw Ms. Bayless, in consultation, was May 31st, 2012.

  14         Q      Okay.   And did she present to your office that
  15    day?
  16         A     Yes.

  17         Q      What was her chief complaint, if any?
  18         A     The patient stated she was here to be treated

  19    for urinary incontinence.

  20         Q      Did Ms. Bayless give you any indication how
  21    long she was experiencing incontinence?
  22         A     If I have her history form, I would be able to

  23    tell you that.      Otherwise, no.

  24               And I do not.

  25         Q      Okay.   In that office visit, did Ms. Bayless


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 27 of 170 PageID 18649


                                                                    Page 26
   1    complain of dyspareunia?
   2         A     No.   I do not have that listed as one of her

   3    complaints.

   4         Q     Did she complain of vaginal bleeding?
   5         A     No.

   6         Q     Did she complain of bleeding during
   7    intercourse?
   8         A     No.

   9         Q     Did she complain of pelvic pain?
  10         A     No.

  11         Q     And did -- did you find any symptoms of pelvic
  12    pain when you examined her?
  13         A     No.

  14         Q     What was your plan for Ms. Bayless that day?
  15         A     She was diagnosed with Stage II pelvic organ

  16    prolapse, with a leading edge at Ba, consistent with a

  17    cystocele, as well as uterine prolapse.           Urinary

  18    incontinence was not demonstrated on the exam.             She was

  19    told about her options for treatment, which include

  20    observation, pessary support, or surgical intervention.

  21               The patient was asked to complete a urinary

  22    diary and 24-hour urolog.        She was also advised that

  23    her tobacco use could contribute to the risk of her

  24    incontinence and prolapse.        And it also could affect

  25    her surgical outcome with respect to wound healing and


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 28 of 170 PageID 18650


                                                                   Page 27
   1    the risk of prolapse reoccurrences.

   2         Q     Okay.    And when was the next time Ms. Bayless
   3    presented to you?
   4         A     So her next encounter was on July 10th, 2012.

   5         Q     Why did she present that day?
   6         A     She was here for me to review her urinary

   7    diaries, and to undergo what's called a uroflowmetry

   8    test.

   9         Q     What was your impression of Ms. Bayless'
  10    condition that day?
  11         A     According to her diaries -- the diaries were

  12    not consistent or accurate.        She said that she didn't

  13    really understand how to do the diaries.           So I

  14    questioned whether her diaries were truly reflective of

  15    her urinary habits.

  16               We also reviewed her bowel symptoms, which she

  17    said were not very bothersome to her at the time, and

  18    were improving.      This included fecal soiling and

  19    constipation.

  20         Q     What was your plan for her?
  21         A     I encouraged the patient to avoid bladder

  22    irritants.     I encouraged her to stop smoking.          We,

  23    again, reviewed her options; which included

  24    observation, a trial of a pessary.          But the patient

  25    decided that she wanted to have surgical correction.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 29 of 170 PageID 18651


                                                                     Page 28
   1                I discussed with her the recovery time would

   2    be approximately 12 weeks.        Plus, activity

   3    restrictions.

   4                The patient also wanted to discuss vaginal

   5    tightening, and also a repair of her labia, which are

   6    considered cosmetic.

   7                We then ordered urodynamics and cystoscopy,

   8    which were diagnostic testing.

   9         Q      Sorry, you cut out there at the end.            You
  10    ordered urodynamics and what else?
  11         A     And cystoscopy.

  12         Q      Okay.    And when did she have that urodynamics
  13    and cystoscopy done?
  14         A     That was dated August 14th, 2012.          The

  15    urodynamics confirmed urinary leakage.           The patient had

  16    a normal flow curve as well as a normal post void

  17    residual.    The patient was thought not to meet the

  18    criteria for ISD, or intrinsic sphincter deficiency.

  19               And that was the completion of her testing.

  20         Q      At that time, in July of 2012, did you think
  21    Ms. Bayless was a candidate for surgery?
  22         A     In July?

  23         Q      Right.
  24         A     When she first came to the office?

  25         Q      Well, no, I mean after she completed her -- or


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                                                                    4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 30 of 170 PageID 18652


                                                                   Page 29
   1    maybe August.      Whatever the date of her urodynamics
   2    exam and the cystoscopy.        Did you think that
   3    Ms. Bayless was a candidate for surgery?
   4         A     Well, we had already decided that the patient

   5    was a candidate for surgery at her last visit.

   6         Q     Oh, okay.    I'm sorry, I misunderstood.         Right.
   7    Okay.    You -- you offered -- you discussed the
   8    treatment of a pessary and other surgical intervention.
   9               Can you just -- what is a pessary, Doctor?
  10         A     A pessary is a silicone device that is placed

  11    into the vagina to mechanically support prolapse, or

  12    the neck of the urethra, to prevent incontinence, or

  13    support prolapse.

  14         Q     Do you offer pessaries today, to treat pelvic
  15    organ prolapse or incontinence?
  16         A     Yes.

  17         Q     How many pessaries have you done?
  18         A     How many pessaries have I inserted?

  19         Q     Right.
  20         A     Over a 20-year career, I would say close to --

  21    I don't know.      It's about ten a year, so 250.

  22         Q     Okay.    Getting back to Ms. Bayless, when was
  23    the next time she presented to you?
  24         A     So Ms. Bayless presented on August 16th, 2012

  25    to have a cystoscopy.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 31 of 170 PageID 18653


                                                                   Page 30
   1         Q      And what did the cystoscopy show?
   2         A     So the patient had a normal bladder finding.

   3    She also had a positive supine stress test, which means

   4    that when she was lying down, and was asked to cough,

   5    she leaked urine.       She also leaked urine when she was

   6    standing.

   7               So as far as the bladder was concerned,

   8    though, the bladder was normal.         The urethra, however,

   9    had what we call poor coaptation, which is the ability

  10    of the urethra to collapse upon itself once an

  11    instrument is actually inserted or removed.

  12               The Q-tip test was not done because the

  13    patient expelled it with her cough.

  14         Q      Did you have any plan or recommendation for
  15    her as of August 13th, 2012?
  16         A     No, I did not.

  17         Q      Okay.    When was the next time Ms. Bayless
  18    presented to you?
  19         A     March 12th (sic), 2013.

  20         Q      What was Ms. Bayless' complaint then?
  21         A     She had the same complaints of incontinence

  22    and pressure.       However, she was coming to have her

  23    review of her urodynamics.

  24         Q      Okay.    Did you do a pelvic examination on her
  25    that day?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 32 of 170 PageID 18654


                                                                   Page 31
   1         A     No, I did not.

   2         Q     Okay.    Did Ms. Bayless complain of dyspareunia
   3    in August -- in March of 2013?
   4         A     No.

   5         Q     How about vaginal bleeding?
   6         A     No.

   7         Q     How about any pelvic pain?
   8         A     No.

   9         Q     And you didn't diagnose her with any of those
  10    issues, right?
  11         A     No, I did not.

  12         Q     Okay.    So what was your plan for her in March
  13    12th, 2013?
  14         A     The patient still wanted to have surgical

  15    intervention.      She was diagnosed with mixed

  16    incontinence with a predominant stress component.              The

  17    surgical options were outlined for her, which included

  18    a vaginal approach, an abdominal approach by open

  19    C-section, or a laparotomy, as well as an abdominal

  20    approach with a laparoscopic or robotic assistance.

  21               So the surgical -- I specifically said to her

  22    that her stress incontinence component could be

  23    addressed surgically.       The gold standard was a mid

  24    urethral sling using mesh.        And we discussed what those

  25    risks and benefits would be.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 33 of 170 PageID 18655


                                                                   Page 32
   1               Some of those surgeries also could be combined

   2    with a hysterectomy, as the patient had completed her

   3    childbearing.      She had multifocal -- and what I mean by

   4    multifocal, she had multi-compartment prolapse.             So she

   5    had uterine prolapse.       She also had a cystocele.        She

   6    had a rectocele, but that was not symptomatic from her

   7    standpoint.      And she also had mixed incontinence.

   8               She was also a smoker.       So on my previous

   9    visit I had already advised her how that could affect

  10    both her presenting symptoms, and also her recovery as

  11    far as wound healing.

  12         Q     You mentioned a number of types of surgeries
  13    or surgical modalities that you could have performed.
  14    Did you have a recommendation of one over another?
  15         A     No.   I usually give the patient the option of

  16    choosing whether they're comfortable with the use of

  17    mesh, because it does have some associated risk.             Which

  18    we have already discussed.        Which includes vaginal mesh

  19    exposure or erosion.

  20               That's the only -- the only component that's

  21    unique to the use of mesh, because post-operative

  22    bleeding, post-operative pain with intercourse,

  23    granulation tissues are associated with any type of

  24    surgery in reference to the vagina, including

  25    hysterectomy.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 34 of 170 PageID 18656


                                                                   Page 33
   1         Q     So in March of 2013, is this when you would
   2    have had your risk/benefit conversation about the risks
   3    and the benefits of the mesh procedure?
   4         A     Yes.

   5         Q     And what would you -- well, let me ask you
   6    this: Doctor, has your -- let me back up.
   7               How do you -- how do you -- have you heard of
   8    the concept of informed consent?
   9         A     Yes.

  10         Q     How do you define it?
  11         A     Explain to a patient in their terms -- that

  12    means at their level of understanding -- what a

  13    procedure will include, if there are going to be --

  14    what specific problems or conditions will be addressed

  15    by the surgical intervention.

  16               How long that particular surgery may take, as

  17    far as operative time.       What the patient can expect

  18    from a hospital stay, if that's required.           As well as

  19    what her recovery will entail.         And what restrictions

  20    she may have in order to facilitate a good recovery.

  21               We also -- also discuss the risk and benefits.

  22    That means what other particular issues can be

  23    associated with that surgery.         And specifically, that

  24    would be pain with intercourse; abnormal wound healing;

  25    infection; damage to other organs, such as bowel and


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 35 of 170 PageID 18657


                                                                   Page 34
   1    bladder; reoccurrence of her prolapse; urinary tract

   2    infections; voiding dysfunction -- that means abnormal

   3    voiding.    Those are, I would say, the most common.

   4               And then, what are her benefits?         So do those

   5    benefits outweigh the risk of the surgery?

   6               So ideally, you want to perform a surgery that

   7    has more benefits than risk.

   8         Q     Right.    Has your risk/benefit conversation
   9    changed over the years in -- specifically in connection
  10    with what you tell patients about vaginal mesh --
  11         A     No.

  12         Q     -- both for pelvic organ prolapse and for
  13    slings?
  14         A     No.

  15         Q     So the conversation that you would have with a
  16    patient in 2008/2009 was the same that you would have
  17    in 2014/2015?
  18         A     My -- the only addition is letting them know

  19    about the FDA warning that came out -- I believe, 2011.

  20         Q     If after going over the risks and the benefits
  21    of a procedure, if a patient said to you, Doctor, I
  22    don't want to undergo the procedure, the patient
  23    wouldn't have to undergo the procedure, right?
  24         A     No.

  25         Q     In other words, the patient has the option to


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 36 of 170 PageID 18658


                                                                   Page 35
   1    refuse treatment, right?
   2         A     Absolutely.

   3         Q     Doctor, are you aware that mesh shrinks after
   4    it's implanted?
   5               MS. SHUB:     Objection; form.

   6               MR. SCOGGAN:     Objection.

   7    BY MR. HABERMAN:

   8         Q     You can answer.
   9         A     Does the mesh undergo changes?         Yes, it does.

  10         Q     Okay.      Are you -- do you know whether or not
  11    the mesh shrinks or contracts after it's implanted?
  12               MS. SHUB:     Objection; form.

  13               THE WITNESS:     So, as with any surgery, the

  14         tissue that's been affected by the surgery

  15         undergoes remodeling.       Again, there's a whole

  16         inflammatory cascade.       Cascade means response.         And

  17         so, since mesh is a foreign body, there is

  18         something called a foreign body reaction.           And that

  19         does happen.

  20               Now, does the actual physical size of the mesh

  21         shrink?    No.

  22    BY MR. HABERMAN:

  23         Q     Does -- does the mesh contract after it's
  24    implanted, to your knowledge?
  25         A     Does the tissue around the mesh contract?


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 37 of 170 PageID 18659


                                                                   Page 36
   1         Q     Is that your understanding of what happens?
   2    That the tissue around the mesh contracts?
   3         A     Yes, because there's scar formation.

   4         Q     Is there a certain amount of the mesh, or a
   5    certain percentage of the mesh that you're aware of,
   6    that contracts?
   7         A     I -- I think I already answered that question.

   8    The mesh itself doesn't necessarily contract.            The

   9    tissue response around it can -- can change the

  10    dimensions of the mesh.        But its physical dimensions,

  11    as far as what -- when it was placed, doesn't change.

  12    It's the tissue response around it.

  13         Q     Okay.    So the -- the tissue response causes
  14    contraction, in your view?
  15         A     If I understand your -- your question

  16    correctly, you're asking me if the dimensions of the

  17    mesh changes once it's placed into the subject.             What

  18    is the causation or contributing factor to that change

  19    in dimension?

  20               My answer would be --

  21         Q     Right.
  22         A     -- the tissue response, and that can include

  23    scar formation.      Scar formation can actually cause the

  24    surrounding tissue to become less elastistic -- or

  25    elastic.    And to -- that would mean, in your terms,


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 38 of 170 PageID 18660


                                                                   Page 37
   1    more of a contracture.       But does the actual mesh

   2    contract, no.

   3         Q     Is there a certain percentage of the mesh,
   4    caused by the tissue response, that contracts?
   5         A     I'm not sure how I can answer that question

   6    other than what I've already said.

   7         Q     Okay.    Do you look to implant the -- do you
   8    make sure that the mesh is not too tight when you
   9    implant it?
  10         A     What do you mean by that?

  11         Q     I mean, is the mesh supposed to be put in in a
  12    tension-free manner?
  13         A     Are you referring to the sub-urethral sling?

  14         Q     Both, yeah.
  15         A     So for a sub-urethral sling -- and it also

  16    depends on what type of placement.          So is it a

  17    retropubic or transobturator or -- you have to be much

  18    more -- because the technique changes for each one of

  19    those.

  20         Q     Okay.    So for the -- for the mid urethral
  21    sling, as in this case, the Advantage product made by
  22    Boston Scientific, is that sling supposed to be put in
  23    in a tension-free manner?
  24         A     Yes.

  25         Q     Why is that?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 39 of 170 PageID 18661


                                                                   Page 38
   1         A     I'm -- I'm not sure what you're asking.

   2         Q     Why do you make sure that it's placed
   3    tension-free?     What would be the result if it was too
   4    tight?    If it was too tense?
   5         A     The patient wouldn't be able to pee.

   6         Q     What's that?
   7         A     She wouldn't be able to pee.

   8         Q     Got it.
   9               Is it also because you anticipate that the
  10    tissue response causes some contracture, or shrinkage,
  11    so you make sure that the mesh is put in in a
  12    tension-free manner?
  13         A     No.

  14         Q     What about with mesh to treat pelvic organ
  15    prolapse?    Do you make sure, there, that the mesh is
  16    put in in a tension-free manner?
  17         A     Are you talking about transvaginally-placed

  18    mesh or abdominally-placed mesh?

  19         Q     Either.
  20         A     So for transvaginally-placed mesh, yes, it's

  21    very important to make sure that the mesh is placed

  22    flat, without any curvatures and without any tension.

  23               For a transabdominally-placed mesh, which in

  24    the case of a sacral colpopexy, you try to place that,

  25    also, on both walls of the vagina.          But the actual tail


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 40 of 170 PageID 18662


                                                                   Page 39
   1    of the graft, is actually placed very loosely to

   2    accommodate for the changes in the dynamics when a

   3    patient stands up.

   4         Q     Would it have been important to you if the
   5    mesh manufacturer told you that the mesh may shrink up
   6    to 50 percent after implantation?
   7               MR. SCOGGAN:     Objection.

   8               MS. SHUB:    Objection; form.

   9               THE WITNESS:     Again, are you talking about a

  10         mid urethral sling, or are you talking about a

  11         transvaginally-placed mesh, or are you talking

  12         about transabdominally-placed mesh?

  13    BY MR. HABERMAN:

  14         Q     All right.     Let's take it one by one.        For a
  15    sling, would it have been important to you if Boston
  16    Scientific told you before you put the mesh in
  17    Ms. Bayless that it could shrink up to 50 percent?
  18               MR. SCOGGAN:     Object to form.

  19               THE WITNESS:     Would it have been important as

  20         far as whether I decided to use the product, or how

  21         I place the product?       I'm not sure what question

  22         you're asking me to answer.

  23    BY MR. HABERMAN:

  24         Q     Well, would it have been important in general?
  25               MS. SHUB:    Objection; form.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 41 of 170 PageID 18663


                                                                   Page 40
   1               THE WITNESS:     I would -- I would say it's

   2         important to know the dynamics or the

   3         characteristics of the product you're using.

   4    BY MR. HABERMAN:

   5         Q     Okay.    If you were told by Boston Scientific
   6    that the mesh may shrink up to 50 percent, would that
   7    have had an impact on your decision to implant the
   8    mesh?
   9               MR. SCOGGAN:     Object to form.

  10               MS. SHUB:    Same objection.

  11               THE WITNESS:     It would -- again, I don't know

  12         if I'm understanding exactly what you're saying.                I

  13         think every surgeon has to know the properties

  14         of -- of the substances they are placing or using.

  15         So I do think that the surgeon has a responsibility

  16         to understand what they're -- what they're using.

  17               So if you're gonna tell me that a product is

  18         going to shrink 50 percent, then that changes how

  19         I -- I would place it.       It doesn't necessarily

  20         change how I would counsel the patient on the risks

  21         associated, because those are the same.

  22    BY MR. HABERMAN:

  23         Q     I'm sorry, what was the last part?          What did
  24    it change?     The way you counsel the patient?
  25         A     I said it would not change the way that I


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 42 of 170 PageID 18664


                                                                   Page 41
   1    counsel the patient because the risks of the procedure

   2    are the same.      It doesn't change what those risks would

   3    be.    They're still the same.

   4          Q    If the mesh would shrink up to 50 percent,
   5    wouldn't that increase the likelihood of complications?
   6               MS. SHUB:    Objection; form.

   7               MR. SCOGGAN:     Object to form.

   8               THE WITNESS:     I don't know.

   9    BY MR. HABERMAN:

  10          Q    But it's your testimony that if you were told
  11    by Boston Scientific, or Coloplast, that their meshes
  12    shrink up to 50 percent, you would not inform the
  13    patient of that?
  14               MR. SCOGGAN:     Object to form.

  15               MS. SHUB:    Objection; form.

  16               THE WITNESS:     Again, it wouldn't change what

  17          risks were associated with the -- the actual

  18          procedure.

  19    BY MR. HABERMAN:

  20          Q    But you're unaware of whether or not it would
  21    change the likelihood of the risks?
  22               MS. SHUB:    Objection; form.

  23               MR. SCOGGAN:     Object to form.

  24               THE WITNESS:     The likelihood of any of those

  25          particular complications occurring?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 43 of 170 PageID 18665


                                                                   Page 42
   1    BY MR. HABERMAN:

   2         Q     Right.
   3               MS. SHUB:    Same objection.      Objection; form.

   4               THE WITNESS:     I don't think that even if it --

   5         it would be significant from the standpoint of

   6         telling -- having to have a separate conversation

   7         with a patient, saying that this particular product

   8         is gonna shrink 50 percent.        This is how I'm gonna

   9         change my surgical technique to prevent you from

  10         having the same complications.

  11               MS. SHUB:    Mr. Haberman -- Mr. Haberman --

  12               MR. HABERMAN:     What's that?

  13               MS. SHUB:    -- you have been going an hour.

  14         So, I mean, under the rules, we have an -- we have

  15         an opportunity to depose the witness as well, in

  16         the time allotted.      She's indicated she's only got

  17         a couple hours today, so --

  18               MR. HABERMAN:     Right.    I shouldn't be that

  19         much longer.

  20               MS. SHUB:    I'll give you a little leeway, but

  21         we're gonna need some as well.         And we may need to

  22         come back.

  23               MR. HABERMAN:     Okay.

  24               MS. SHUB:    Can you wrap up in five minutes or

  25         so?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 44 of 170 PageID 18666


                                                                   Page 43
   1               MR. HABERMAN:     I -- I don't know.       We'll see.

   2    BY MR. HABERMAN:

   3         Q     Doctor, in your -- in your understanding, is
   4    the transvaginal mesh -- is the polypropylene in
   5    transvaginal mesh inert?
   6         A     Inert -- the definition of inert means that it

   7    doesn't cause any type of tissue response.            I had

   8    already alluded to the fact that it is a foreign body,

   9    so it does cause a certain amount of tissue response.

  10         Q     Doctor, if the medical device manufacturer was
  11    told by the company that made the polypropylene not to
  12    use the polypropylene in medical applications involving
  13    permanent implantation in the human body, or permanent
  14    contact with internal body fluids or tissues, is that
  15    something you would want to know prior to implanting
  16    the mesh?
  17               MS. SHUB:    Objection; form.

  18               MR. SCOGGAN:     Object to form.

  19               THE WITNESS:     So your question is, is if the

  20         polypropylene was -- if there was a warning that it

  21         should not be used in human subjects?

  22    BY MR. HABERMAN:

  23         Q     Right.
  24         A     I'm just kind of summarizing.

  25         Q     Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 45 of 170 PageID 18667


                                                                   Page 44
   1         A     Certainly, I would want to be -- if there was

   2    some type of detrimental problem, yes, I certainly

   3    would want to be informed.

   4         Q     Okay.    Would that bear on your -- but
   5    specifically, if the polypropylene manufacturer told
   6    Boston Scientific not to use the polypropylene in
   7    medical applications involving permanent implantation
   8    in the human body, or permanent contact with internal
   9    body fluids or tissues -- that specific statement --
  10    would you want to know that prior to implanting mesh in
  11    someone like Ms. Bayless?
  12               MR. SCOGGAN:     Object to form.

  13               THE WITNESS:     Again, if that was going to --

  14         if there was an absolute direct causation of harm

  15         related to the use of polypropylene -- and

  16         that's -- I'm assuming you're talking about all

  17         types of polypropylene, not specifically to

  18         transvaginal mesh -- then yes, I'd want to be

  19         informed.

  20    BY MR. HABERMAN:

  21         Q     How would that bear on your decision to
  22    implant the mesh?
  23               MR. SCOGGAN:     Object to form.

  24               MS. SHUB:    Objection; form.      Assumes facts not

  25         in evidence.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 46 of 170 PageID 18668


                                                                   Page 45
   1               THE WITNESS:     If a product warning has been

   2         placed that it is unsafe for human use, then yes, I

   3         would want to be informed.        And I would, then,

   4         inform my patient that it's been found not to be

   5         safe to be placed in humans.        And I likely would

   6         not use that product.

   7    BY MR. HABERMAN:

   8         Q     Okay.    Take us to when you finally implanted
   9    the mesh in Ms. Bayless.        What day was that?
  10         A     This is dated August 9th, 2013.

  11         Q     Okay.    And can you just tell us what you did
  12    for her on this day?
  13         A     I performed a robotic-assisted total

  14    laparoscopic hysterectomy; an abdominal sacral

  15    colpopexy; a retropubic mid urethral sling, using the

  16    Advantage Fit incontinence system; and cystoscopy.

  17         Q     Did Ms. Bayless have any complications during
  18    the surgery?
  19         A     No, she did not.

  20         Q     Was Ms. Bayless' case an unusual case?
  21         A     No, it was not.

  22         Q     Did you make sure that you implanted the mesh
  23    as you had been trained, and as the companies -- both
  24    Boston Scientific and Coloplast instructed?
  25               MS. SHUB:    Objection; form.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 47 of 170 PageID 18669


                                                                   Page 46
   1               MR. SCOGGAN:     Object to form.

   2               THE WITNESS:     So there's a specific technique

   3         that I have used, and have used for almost 20

   4         years, in reference to placement of retropubic

   5         slings.    Yes, I did.     As well as the placement of

   6         the, what we call, Y graft at the top of the

   7         vagina.

   8    BY MR. HABERMAN:

   9         Q     During the surgery, did you make sure that --
  10    we talked -- you talked earlier about the placement of
  11    the mesh as a potential cause for later complications.
  12    Do you recall that?
  13               MS. SHUB:    Objection; form.

  14               MR. SCOGGAN:     Object to form.

  15               THE WITNESS:     I'm sorry, your question is --

  16    BY MR. HABERMAN:

  17         Q     My question is, earlier we talked about
  18    complications associated with mesh.          And you talked
  19    about two factors.      You talked about placement of the
  20    mesh and the patient's medical condition; do you recall
  21    that?
  22               MS. SHUB:    Objection; form.

  23               MR. SCOGGAN:     Object to form.

  24               THE WITNESS:     I stated that there were other

  25         contributors to a patient developing a vaginal


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 48 of 170 PageID 18670


                                                                   Page 47
   1         exposure besides the actual mesh product.

   2    BY MR. HABERMAN:

   3         Q     Okay.    And I just want to know -- and -- well,
   4    what about other complications of mesh?           I mean, other
   5    than exposure?
   6         A     That's the only complication that's specific

   7    to mesh placement.

   8         Q     Okay.    Did you place the mesh in a way such
   9    that you would guard against future mesh exposure or
  10    erosion?
  11         A     I'm not sure what you're asking.         Did I use a

  12    specific technique to make sure that my patient didn't

  13    develop any complication from surgery?

  14         Q     Yeah, that's a better way of phrasing it.
  15         A     Yes, that -- that's always the goal of a

  16    surgeon.

  17         Q     Did you do that in this case?
  18         A     Yes, I did.

  19         Q     When is the last time you saw Ms. Bayless?
  20         A     Let's see.     These records are from another

  21    EMR, so I don't see her post-surgical visit.            So it

  22    would have to have been some time after -- what was the

  23    date of her surgery?

  24               It would have to have been after August 9th.

  25    Let me see if it's in here.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 49 of 170 PageID 18671


                                                                   Page 48
   1         Q     Do you know whether she returned to you on
   2    October 22nd, 2013?
   3         A     That's what I'm looking for.         I know we have a

   4    noncompliance letter because she did not follow up.

   5    But I don't have --

   6         Q     Do you have the record where she came to your
   7    office on 9/24/2013?       I know that you didn't -- I don't
   8    know if you were the provider, but I think it's at your
   9    office.
  10         A     No, I don't have that with me.         That probably

  11    is from another system.        Like I said, we -- this -- the

  12    chart that I have here is from our old EMR, and then we

  13    converted to a newer one.        And I don't see those

  14    records.    I don't have those, I should say.

  15         Q     So could it be the last time you saw her was
  16    the date of the surgery in August 2013?
  17         A     No, she had one post-operative visit.           I just

  18    don't know -- I just don't know the date of that.              The

  19    date of this letter is 10/29/13, and that's after she

  20    had missed several appointments.

  21         Q     Okay.    In your recollection, did she have a
  22    problem healing after you did the operation on her in
  23    August 2013?
  24         A     Not in the first two months.

  25         Q     And you've not seen her since September or


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 50 of 170 PageID 18672


                                                                   Page 49
   1    October of 2013; is that right?
   2         A     No, I have not.
   3         Q     So you don't know how she's doing post
   4    September or October 2013, right?
   5         A     No, I do not.
   6         Q     At the time you did the operation, did you
   7    have an opinion that she would not heal as you would
   8    have expected?
   9         A     As a smoker, in general, there's -- there's a
  10    multitude of literature that says that those patients
  11    have delayed wound healing.         And she was --
  12         Q     That she (unintelligible) --
  13         A     That she could have delayed wound healing or
  14    improper wound healing.        And she was counseled about
  15    that her first visit in the office.
  16         Q     Did you think that she would have delayed
  17    healing or wound -- or improper wound healing at the
  18    time you operated on her?
  19         A     Someone who has a 30-pack history of smoking,
  20    most definitely.
  21               MS. SHUB:     Mr. Haberman, how long are you
  22         gonna go?     I'm gonna object to not having
  23         sufficient time to question the witness.            And I
  24         assume Boston Scientific's lawyer is in the same
  25         boat.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 51 of 170 PageID 18673


                                                                   Page 50
   1               MR. SCOGGAN:     Exactly.

   2               (Siri cell phone interruption.)

   3               MS. SHUB:    Oh.

   4               MR. SCOGGAN:     Yes.   We've got two --

   5               MR. HABERMAN:      I'm really not -- I'm really

   6         just wrapping up, so --

   7    BY MR. HABERMAN:

   8         Q     But again, Doctor, just to be clear, you've
   9    not seen her since October or September of 2013, right?
  10         A     No.

  11         Q     And you've treated other patients who are
  12    smokers, right?
  13         A     I have.

  14         Q     And -- and in your experience, are each of
  15    those patients -- do each of those patients have
  16    delayed healing or improper wound healing?
  17         A     They can.

  18         Q     They can also not -- they can also heal
  19    normally, right?
  20         A     Yes.

  21         Q     All right.     Thank you.
  22               MS. SHUB:    Are you passing the witness?

  23               MR. HABERMAN:      That's all I have for now.

  24         Pass the witness.

  25               MS. SHUB:    You ready to keep going, or do you


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 52 of 170 PageID 18674


                                                                   Page 51
   1         need a bio break or anything?

   2               THE WITNESS:     No, I'm good.

   3               MS. SHUB:    Okay.    Everybody all right?

   4                           CROSS EXAMINATION

   5    BY MS. SHUB:

   6         Q     We don't have much time, so I'm gonna try and
   7    not repeat.       There's some issues I am gonna need to go
   8    over.    I want to talk about some things that you've
   9    already discussed, though, in a little more detail, and
  10    make sure I fully understand your testimony.
  11               I want to talk generally about pelvic surgery.
  12    Pelvic reconstructive surgery can be complicated; would
  13    you agree?
  14         A     Yes.

  15         Q     Okay.     It's not simply removing an organ.
  16    You're actually trying to reconstruct form and
  17    function?
  18         A     Correct.

  19         Q     And because of that, there can be associated
  20    complications with pelvic reconstructive surgery,
  21    whether or not a surgical implant is used?
  22         A     Yes.

  23         Q     Okay.     And those complications from pelvic
  24    reconstructive surgery can include things like ongoing
  25    pain; would you agree?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 53 of 170 PageID 18675


                                                                   Page 52
   1         A     Yes.

   2         Q     And that would include ongoing pain with
   3    intercourse, also called dyspareunia; would you agree?
   4         A     Yes.

   5         Q     Okay.    And I think I --
   6               MR. HABERMAN:     Objection.

   7    BY MS. SHUB:

   8         Q     I think I heard you say that one of the
   9    complications of pelvic reconstructive surgery, even
  10    without mesh, could be continued bleeding?
  11         A     Usually that's associated with delayed healing

  12    at the surgical site as relate -- as related to

  13    granulation tissue.

  14         Q     Right.    And that can -- and can that occur
  15    just around sutures?
  16         A     Yes.

  17         Q     Okay.    And that's true if no mesh implant is
  18    used at all, correct?
  19         A     Yes.

  20         Q     Okay.    You were talking earlier about
  21    different things that could lead to complications with
  22    a patient.     Is one of those things that could lead to
  23    complications poor tissue quality?
  24         A     Yes.

  25         Q     Okay.    And how about patient compliance with


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 54 of 170 PageID 18676


                                                                   Page 53
   1    post-operative instructions?         Can that --
   2         A     Yes.

   3         Q      Okay.   So if a patient fails to comply with
   4    post-operative restrictions, for instance, is a patient
   5    more likely to have complications than a patient who
   6    complies?
   7         A     Let me think about how I would answer that

   8    question.    I would say that, in general, we --

   9    specifically for my practice, I'm very strict about

  10    what patients are allowed to do after surgery.             And

  11    mainly to make sure that I'm able to evaluate any

  12    potential problems that may be developing, so that we

  13    can treat those, or intervene early.

  14               So yes, the goal is to have a certain set of

  15    instructions for patients to follow with the hope that

  16    that will decrease their risk of developing

  17    complications.

  18         Q      Okay.    Now, counsel took you through a couple
  19    of records.       I'm gonna try and go back with them a
  20    little bit more clearly, and I want to talk a little
  21    bit about your file, so the record is clear.
  22               MS. SHUB:    The court reporter -- I might be

  23         able to expedite time if you would like me to use

  24         the stickers, so you can type and I can mark?

  25               MR. SCOGGAN:     (Exhibit stickers tendered.)


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 55 of 170 PageID 18677


                                                                   Page 54
   1               MS. SHUB:    Thanks.    And I think we're on

   2         Exhibit No. 3 or 4?

   3               COURT REPORTER:      3 was the CV.

   4               MS. SHUB:    Okay.    Let's go with No. 4.

   5    BY MS. SHUB:

   6         Q     In front of you is a letter.         Is this the
   7    letter you were referring to indicating a failure to
   8    follow up with you?
   9         A     Correct.

  10         Q     We're gonna mark that as your deposition
  11    Exhibit No. 4.
  12               And just so the record is clear, Exhibit No. 2
  13    were the brochures you brought.         And I see two here,
  14    regarding pelvic organ prolapse, that are from
  15    Coloplast; and one from Boston Scientific; is that
  16    right?
  17         A     Correct.

  18         Q     Okay.    And you talked about the different
  19    pelvic surgeries that you've done over time.
  20               COURT REPORTER:      Hold on one second.

  21               MS. SHUB:    I think we might have just lost the

  22         video feed.

  23               Are you there, Mr. Haberman?

  24               Let's go off the record.

  25               VIDEOGRAPHER:     Off the record.      The time is


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 56 of 170 PageID 18678


                                                                   Page 55
   1         10:18 a.m.

   2               (A short break was taken.)

   3               VIDEOGRAPHER:     We're back on the video record.

   4         The time is 10:26 a.m.

   5    BY MR. HABERMAN:

   6         Q     Dr. Jones, we're back on the record after a
   7    small video snafu.
   8               I want to take -- let me just ask you, when
   9    you see a patient, is it important to you to have a
  10    full and accurate history of that patient?
  11         A     Yes.

  12         Q     If you have a patient who provides you
  13    inconsistent or incomplete information, can that affect
  14    your risk/benefit analysis?
  15         A     Yes, it can.

  16         Q     I want to hand you what we're gonna mark as --
  17               MS. SHUB:    Did we lose him again?

  18               Off the record.

  19               VIDEOGRAPHER:     Off the record.      The time is

  20         10:27 a.m.

  21               (A short break was taken.)

  22               VIDEOGRAPHER:     We are back on the record.          The

  23         time is 10:27 a.m.

  24    BY MR. HABERMAN:

  25         Q     Dr. Jones, I'm gonna mark as Exhibit No. 5


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 57 of 170 PageID 18679


                                                                   Page 56
   1    some records with some Bates numbers at the bottom, COL
   2    PLTF 000460 to 463; which I'll represent to you are
   3    some records from Dr. Bukkapatnam, or I would like to
   4    say Dr. B.       I understand he's -- also, Dr. Xavier
   5    Roman-Hernandez.
   6               Are you familiar with those physicians at all?
   7         A     No.

   8         Q     Do you know how Ms. Bayless made her way to
   9    find you?
  10         A     Made her way to find me?

  11         Q     Yes.
  12         A     She was part of what we call Orange County --

  13    it's some type of contract that Orange County Health

  14    Department has with -- to give services to several

  15    different people that were actually, I believe,

  16    affiliated with one of the hotel chains -- the Rosen.

  17    So it's a program that allows patients to have access

  18    to specialty physicians.        And then, get whatever care

  19    is -- is required.

  20         Q     Okay.     I'm gonna hand you what we're marking
  21    as Exhibit No. 5; some records from a physician visit
  22    dated May 7th, 2012; and ask you if you had ever seen
  23    that before today?
  24         A     No.

  25         Q     Okay.     Let me take you through some of the


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 58 of 170 PageID 18680


                                                                   Page 57
   1    statements on here.       First of all, pelvic organ
   2    prolapse and stress urinary incontinence is -- is
   3    childbirth a common cause for those conditions?
   4         A     It's a contributor.

   5         Q     Okay.    And would a -- would difficult
   6    childbirths also contribute to those conditions?
   7         A     When you say difficult childbirth, you are --

   8    I always ask what you mean by that --

   9         Q     Okay.
  10         A     -- because that's a very broad statement.

  11         Q     Sure, sure.     It is broad, and I apologize for
  12    that.
  13               Say a baby that has to be born with
  14    episiotomy, or a large baby for the patient -- would
  15    that --
  16         A     What constitutes a large baby?

  17         Q     Well, I guess it depends on the size of the --
  18    the woman, doesn't it?
  19               Let me -- let me take it a -- let me ask you a
  20    different question.       According to Ms. Bayless' records,
  21    she actually had nine pregnancies.          Do you see that?
  22         A     Yes.

  23         Q     Were you aware she was pregnant nine times?
  24         A     Not specifically, no.

  25         Q     Okay.    She did give birth to four full-term


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 59 of 170 PageID 18681


                                                                    Page 58
   1    babies, and had pregnancies that terminated either
   2    voluntarily or spontaneously five times.           Do you
   3    understand that?
   4         A     Yes.

   5         Q     Okay.
   6               MR. HABERMAN:     I object.     This is outside the

   7         scope of the doctor's treatment.         She doesn't

   8         know --

   9               MS. SHUB:    I'm just asking her about her

  10         background.

  11               MR. HABERMAN:     Yeah, it's still out of scope.

  12         The doctor's not here to be an expert witness.

  13               MS. SHUB:    You may say objection, form,

  14         Counselor.

  15               MR. HABERMAN:     And I --

  16               MS. SHUB:    Objection, form.

  17               MR. HABERMAN:     I'm making my objections for

  18         the record.

  19               COURT REPORTER:      I'm sorry, I didn't hear your

  20         objection.     Just the last one.

  21               MR. HABERMAN:     I said I'm making my objection

  22         for the record.      It's out of scope.      It's improper.

  23         The doctor's here -- not here as an expert witness.

  24    BY MS. SHUB:

  25         Q     Would a patient's sexual activity be relevant


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 60 of 170 PageID 18682


                                                                   Page 59
   1    to your treatment?
   2         A     Relevant to --

   3               MR. HABERMAN:     Objection; vague.

   4    BY MS. SHUB:

   5         Q     Would a patient's tendency -- well, let me put
   6    it this way, would activity that affects healing be
   7    something that you would counsel your patient, after
   8    surgery -- about?
   9         A     Yes.

  10         Q     And one of the recommendations you make after
  11    surgery is a recommendation for pelvic rest; is that
  12    right?
  13         A     Correct.

  14         Q     And pelvic rest would include not having
  15    sexual intercourse?
  16         A     Correct.

  17         Q     If you have a patient with a high number of
  18    sexual partners, who has a history of a high number of
  19    sexual partners, and a high number of sexually
  20    transmitted diseases, is that something that would be
  21    concerned about -- you -- would concern you with regard
  22    to their ability or willingness to follow instructions
  23    for pelvic rest?
  24               MR. HABERMAN:     Objection; scope.

  25               THE WITNESS:     That past medical history could


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 61 of 170 PageID 18683


                                                                   Page 60
   1         possibly influence it, but -- however, you know,

   2         the patient has to understand that the pelvic rest

   3         that we are recommending is crucial to the healing

   4         at the top of the vagina.        So that was a commitment

   5         that she made, that she understood, that should

   6         would comply with.

   7    BY MS. SHUB:

   8         Q     Right.    I'll represent to you that the record
   9    we've provided indicates that Ms. Bayless had over a
  10    hundred lifetime sexual partners; were you aware of
  11    that?
  12         A     No.

  13               MR. HABERMAN:     Objection; scope.      It has no

  14         relevance to Dr. -- this doctor's treatment.

  15    BY MS. SHUB:

  16         Q     Is that something that you would have been
  17    interested in for the purposes of counseling your
  18    patient?
  19               MR. HABERMAN:     Objection.

  20               THE WITNESS:     Not with respect to her -- her

  21         surgical treatment, no.

  22    BY MS. SHUB:

  23         Q     Okay.    One of the things you mentioned
  24    regarding her healing was the fact that she was a
  25    smoker --


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 62 of 170 PageID 18684


                                                                   Page 61
   1         A     Yes.

   2         Q     -- 30-pack-a-day (sic) smoker.
   3               Can cocaine use affect healing?
   4         A     Yes.

   5         Q     How about --
   6               MR. HABERMAN:     Objection.

   7    BY MS. SHUB:

   8         Q     -- crack cocaine use?
   9               MR. HABERMAN:     Objection.

  10               THE WITNESS:     Any substance abuse can.

  11    BY MS. SHUB:

  12         Q     Okay.    If Ms. Bayless was a -- had been a
  13    substance abuser on and off for 30 years, is that
  14    something that you would want to know about?
  15         A     Yes.

  16         Q     Okay.    Did Ms. Bayless ever explain to you
  17    that she was a crack cocaine user?
  18         A     No.

  19         Q     Okay.    Did she explain to you that she had
  20    been in and out of rehab for crack cocaine?
  21         A     No.

  22               MR. HABERMAN:     Objection; scope.

  23    BY MS. SHUB:

  24         Q     When Ms. Bayless -- I want to refer you to the
  25    History of Present Illness on the referring visit in


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 63 of 170 PageID 18685


                                                                   Page 62
   1    the first paragraph.       History of Present Illness.         Do
   2    you see where I am?
   3         A     Yes.

   4         Q     Last sentence there.       It says, Patient denies
   5    issue with vaginally (sic) bleeding, but does state
   6    some dyspareunia lately.        Do you see that?
   7         A     Yes.

   8         Q     So if the patient reported dyspareunia in May
   9    of 2012, does that indicate to you she was having pain
  10    with intercourse before she came to seek treatment from
  11    you?
  12         A     Yes.

  13         Q     And if a patient provides inconsistent or
  14    incomplete information to you, you don't have a full
  15    and complete accurate history on a patient, true?
  16         A     Correct.

  17         Q     Let's go ahead and mark as Exhibit 6, which I
  18    understand to be the first consult with you -- it's
  19    documents Bates labeled COL-RBAYLESS-ORLANDO-000033 to
  20    34; which are records dated May 31st, 2012.
  21               I think we looked at these earlier in your
  22    bigger stack of materials.
  23         A     Yes.

  24         Q     Here, Ms. Bayless did admit to being a current
  25    everyday smoker; is that right?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 64 of 170 PageID 18686


                                                                   Page 63
   1         A     Yes, she did.

   2         Q     She did not disclose to you her cocaine use,
   3    did she?
   4         A     No, not as being active, no.

   5         Q     Okay.    She did discuss with you her prior
   6    pregnancy history, right?
   7         A     Yes, she did.

   8         Q     Okay.    You did an evaluation on her to
   9    evaluate her for prolapse as well as stress urinary
  10    incontinence, as I understand it, right?
  11         A     Yes.

  12         Q     And you did exam -- you did see that she did,
  13    in fact, have prolapse, right?
  14         A     Correct.

  15         Q     And that's reflected in your POPQ score down
  16    there?
  17         A     Correct.

  18         Q     And can you explain for us what that POPQ
  19    score means in layman's terms?
  20         A     So we take measurements on each side of the

  21    vagina.    The vagina has two sides.        One where the

  22    bladder sits, the other where the rectum sits.             And at

  23    the apex, or the top of the vagina, is where the uterus

  24    inserts with the cervix.        So depending on where those

  25    numbers measure, we would then get a composite score to


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 65 of 170 PageID 18687


                                                                   Page 64
   1    give a grade from zero to four.         Zero being no

   2    prolapse, four being the worst prolapse.

   3         Q     Ms. Bayless -- I don't mean to interrupt you.
   4    Were you finished?
   5         A     (Nodding.)

   6         Q     Okay.    Ms. Bayless actually has a prolapse
   7    that is showing a leading edge, it says, at Ba
   8    consistent with Cystocele/Uterine Prolapse; is that
   9    right?
  10         A     Correct.

  11         Q     And that means that she was actually having
  12    the tissue beneath her bladder and at the top of her
  13    vagina actually start to fall out and descend toward
  14    the opening of the vagina, right?
  15         A     Correct.

  16         Q     Is that a condition, in your experience, that
  17    tends to get better all by itself?
  18         A     No.

  19         Q     Okay.    There are non-surgical options to treat
  20    that; is that right?
  21         A     Yes.

  22         Q     And is one of those the pessary that you were
  23    describing earlier?
  24         A     Yes.

  25         Q     And did you describe use of a pessary with


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 66 of 170 PageID 18688


                                                                   Page 65
   1    Ms. Bayless?
   2         A     Yes.

   3         Q     And is that a -- a remedy that she desired?
   4         A     No.

   5         Q     So did you discuss surgical treatment with her
   6    for her prolapse at that time?
   7         A     Potential options, yes.

   8         Q     Okay.    You did advise her that her tobacco use
   9    contributed to her risk of urinary incontinence and
  10    pelvic organ prolapse; is that right?
  11         A     Yes.

  12         Q     Would prior cocaine or crack cocaine use also
  13    contribute to those things?
  14         A     I don't know specifically.

  15               MR. HABERMAN:     Objection; scope.

  16    BY MS. SHUB:

  17         Q     Okay.    Would crack cocaine use contribute to
  18    poor healing?
  19               MR. HABERMAN:     Objection; scope.

  20    BY MS. SHUB:

  21         Q     If you know.
  22         A     I don't know the percentages, no, not

  23    specifically.

  24         Q     Is that something you would have liked to have
  25    known and researched and -- with -- so that you could


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 67 of 170 PageID 18689


                                                                   Page 66
   1    counsel the patient if that was a -- something that she
   2    was doing?
   3         A     Yes.

   4         Q     The things that you discussed with her is
   5    observation, which means doing nothing, right?
   6         A     Correct.

   7         Q     Pessary support, which we've already talked
   8    about, right?
   9         A     Yes.

  10         Q     As well as surgical intervention, correct?
  11         A     Yes.

  12         Q     What surgical interventions did you discuss
  13    with Ms. Bayless in May of 2012?
  14         A     None specifically.

  15         Q     Okay.    Did you save that conversation for
  16    another day?
  17         A     Yes.

  18         Q     Is there a reason you waited?
  19         A     Yes.

  20         Q     And what was that?
  21         A     Usually it's overwhelming for patients to

  22    understand all the different options.           In general, I've

  23    found that patients understand much better when you

  24    divide the information and give the -- give it to them

  25    in smaller pieces or packets.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 68 of 170 PageID 18690


                                                                   Page 67
   1         Q     I'm gonna mark as Exhibit No. 7 a visit from
   2    July 10th of 2012, which opposing counsel did not
   3    discuss with you.      Does that look like a record from
   4    your office?
   5         A     Yes.

   6         Q     And Katherine Puig appears to have consulted
   7    with the patient.      Who is Katherine Puig?
   8         A     She is a nurse practitioner that was working

   9    in my office at the time.

  10         Q     Okay.    And what types of services does she
  11    perform for you or your patients?
  12         A     She does general gynecology, as well as care

  13    that's tailored to patients who have urogynecological

  14    problems, such as prolapse and incontinence.

  15         Q     And do you know her to -- and do you rely upon
  16    her to visit with your patients and take information
  17    from your patients?
  18         A     Yes.

  19         Q     And do you rely upon her to take a record of
  20    things that patients tell her?
  21         A     Correct, yes.

  22         Q     And have you known her to provide true and
  23    accurate statements of what patients tell -- tell her?
  24         A     Yes.

  25         Q     And how long have you worked with her?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 69 of 170 PageID 18691


                                                                   Page 68
   1         A     She worked in my office for nine years.
   2         Q     Okay.    I want to refer you to the second page
   3    of Exhibit No. 7.       Which at the top describes Patient
   4    report.    And it says, patient diaries are accurate --
   5    then comma -- are not consistent.           Do you see that?
   6         A     Yes.
   7         Q     So was there a concern that the patient was
   8    reporting her diaries were accurate, but the nurse
   9    interpreted those to be inconsistent?
  10         A     Correct.
  11         Q     And does that give you some concern that the
  12    patient is providing you, perhaps, inconsistent or
  13    incomplete information regarding her history?
  14         A     Regarding to the -- the recordings for her
  15    diary, yes.
  16         Q     Okay.    Now, the patient also -- you -- well,
  17    strike that.
  18               Exhibit 7 also concerns a review of symptoms
  19    the patient is experiencing on the day of her visit,
  20    right?
  21         A     Correct.
  22         Q     And there's a review of symptoms -- is that
  23    ROS?
  24         A     Yes.
  25         Q     What does that -- what does that stand for?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 70 of 170 PageID 18692


                                                                   Page 69
   1         A     Review of systems.

   2         Q     Okay.     And there are certain conditions that
   3    she's describing on July 10th of 2012; is that right?
   4         A     Correct.

   5         Q     The last -- well, she notes things like
   6    blurred vision.       Do you see that?     It's the second
   7    item.
   8         A     Um-hmm.

   9         Q     Is that a yes?      I just have to ask you because
  10    the court reporter can't take an uh-huh or an uh-uh.
  11         A     What was your question again?

  12         Q     Blurred vision; second item.         She says light
  13    flashes, blurred vision.        Do you see that?
  14         A     I do see it.

  15         Q     Okay.     Sinus problems, right?
  16         A     Correct.

  17         Q     I'm gonna go down to the third line.          You see
  18    swelling, stiffness, abdominal cramps?           Third line of
  19    that paragraph.
  20         A     Yes.

  21         Q     So does that indicate to you the patient was
  22    reporting abdominal cramps in July of 2012?
  23         A     Based on the language that precedes those -- I

  24    would say the third line --

  25         Q     Um-hmm.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 71 of 170 PageID 18693


                                                                   Page 70
   1         A     -- it says that the patient states symptoms
   2    are not bothersome, but occurring infrequently, are
   3    improving.     And those include those symptoms that are
   4    listed below.
   5         Q     Okay.    And that would include abdominal
   6    cramps, right?
   7         A     Correct.
   8         Q     And fecal soiling?
   9         A     Correct.
  10         Q     And constipation?
  11         A     Correct.
  12         Q     I'm not gonna read all of these, but at the
  13    very last line, she also reports vaginal discharge,
  14    doesn't she?
  15         A     Yes.
  16         Q     And she also reports hot flashes?
  17         A     Yes.
  18         Q     As well as pain with intercourse?
  19         A     Yes.
  20         Q     So before you ever performed any surgery on
  21    Ms. Bayless, she was actually reporting to your office
  22    that she was having pain with intercourse?
  23         A     Yes.
  24         Q     Okay.    Now, during this visit, you encouraged
  25    smoking cessation; is that right?


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 72 of 170 PageID 18694


                                                                   Page 71
   1         A     Correct.

   2         Q     If she was a cocaine or crack cocaine user,
   3    would you have encouraged cocaine cessation?
   4         A     If I knew that she was actively using or

   5    abusing any type of substance, I would have actually

   6    declined to actually do surgery.

   7         Q     Here at this visit, prolapse treatment options
   8    were discussed; is that right?
   9         A     Yes.

  10         Q     Those include, again, observation; is that
  11    right?
  12         A     Correct.

  13         Q     Trial of a pessary?
  14         A     Correct.

  15         Q     And it says, Patient desirous of definitive
  16    surgical correction.       What does that mean?
  17         A     It means that she wanted her prolapse

  18    surgically corrected.

  19         Q     And at this visit were the different types of
  20    surgical correction discussed with her?
  21         A     No.

  22         Q     Okay.    Recovery time was discussed; is that
  23    right?
  24         A     Yes.

  25         Q     And it says, briefly discussed recovery time


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 73 of 170 PageID 18695


                                                                   Page 72
   1    of approximately 12 weeks, plus activity restrictions.
   2    Do you see that?
   3         A     Yes.

   4         Q     And what activity restrictions would you
   5    recommend after surgery?
   6         A     Generally, no heavy lifting, straining,

   7    pushing, pulling, bending, stooping -- that's greater

   8    than ten pounds.      We usually encourage patients to do

   9    their grocery shopping with a pulley.           Not to do any

  10    housework.     That means flipping mattresses, pushing

  11    furniture around; anything that will cause any strain

  12    on the abdominal wall.

  13         Q     Okay.    And I think you said this, but that
  14    would also include restraint -- refraining from sexual
  15    intercourse, right?
  16         A     Correct.

  17         Q     The record also indicates that at least 50
  18    percent of the visit was spent on counseling.
  19    Patient -- that's patient counseling; is that right?
  20         A     Yes.

  21         Q     Okay.    And it's your usual and customary
  22    practice to keep records like the one that we've marked
  23    as Exhibit 7; is that right?
  24         A     Yes.

  25         Q     Okay.    And you would consider this a business


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 74 of 170 PageID 18696


                                                                   Page 73
   1    record of your office, right?
   2         A     Correct.

   3         Q     I'm gonna mark as Exhibit No. 8 a record that
   4    is dated August 14th of 2012, and ask you if this looks
   5    like it's from your office.
   6               MS. SHUB:    And for the record, Exhibit 8 has

   7         the same prefix: COL-RBAYLESS-ORLANDO-000030 to 31.

   8    BY MS. SHUB:

   9         Q     Is Exhibit 8 a record from your office?
  10         A     Yes.

  11         Q     It's one of your business records?
  12         A     Yes.

  13         Q     And this reflects an encounter on August 14th
  14    of 2012 in which you saw the patient; is that right?
  15         A     No, the actual testing was done by Andie

  16    Nation, who was a medical assistant.

  17         Q     Oh, okay.    Do you -- you reviewed the record
  18    to make sure it's correct?
  19         A     Yes.

  20         Q     And that's why it contains your electronic
  21    signature?
  22         A     Correct.

  23         Q     All right.     This record indicates that
  24    Ms. Bayless was, in fact, incontinent, right?
  25         A     She did exhibit incontinence, yes.


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 75 of 170 PageID 18697


                                                                   Page 74
   1         Q     Okay.    One question I had for you, there's a
   2    reference here to non-dependent tobacco use disorder;
   3    is that different than a dependent tobacco use
   4    disorder?
   5         A     That is just the ICD 9 code --

   6         Q     Okay.
   7         A     -- for tobacco use.

   8         Q     Okay.    So there's no relevance we should place
   9    on the non-dependent language there?
  10         A     Not from that specific -- it was just a

  11    notation to -- to put in the record that she was an

  12    active smoker.

  13         Q     Okay.    All right.    I'm gonna go ahead and mark
  14    as Exhibit No. 9 a record from August 16th of 2012 and
  15    say, is that a record from your office?
  16         A     Yes, it is.

  17         Q     And is this a review of her evaluation done on
  18    the 14th?
  19         A     It's a document -- I'm sorry?         Say it again.

  20         Q     Is this an opportunity -- was this visit an
  21    opportunity to review with the patient what evaluation
  22    had been done of her a couple of days earlier?
  23         A     No, ma'am.

  24         Q     Okay.    Can you explain the purpose of the
  25    visit on October -- on August 16th?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 76 of 170 PageID 18698


                                                                   Page 75
   1         A     The purpose was to do -- perform a second

   2    procedure called cystoscopy.

   3         Q     Okay.    And what is that procedure?
   4         A     Where we take a lighted telescope and look

   5    into the bladder.

   6         Q     Um-hmm.     And you're evaluating her
   7    incontinence?
   8         A     Yes.

   9         Q     Okay.    And, of course, she's still reporting
  10    to be a current, everyday smoker in this --
  11         A     Yes.

  12         Q     -- visit?
  13               Okay.    She did not provide you any information
  14    regarding drug use, correct?
  15         A     I mean, not during that visit, no.

  16         Q     Okay.    She was reporting vaginal discharge at
  17    this visit, wasn't she?
  18         A     According to the record, yes.

  19         Q     Okay.    The next record we have that I'll mark
  20    as Exhibit No. 10 is a record dated March 21st, 2013.
  21    Is that a record from your office?
  22         A     Yes.

  23         Q     And what is the purpose of the March 21st,
  24    2013 record?
  25         A     It was to review the two diagnostic tests that


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 77 of 170 PageID 18699


                                                                   Page 76
   1    the patient had undergone previously.

   2         Q     And was this the -- your opportunity to
   3    discuss with Ms. Bayless her different surgical
   4    options?
   5         A     Yes.

   6         Q     And you discussed those because -- I see a
   7    note that she wanted definitive management of her
   8    pelvic organ prolapse; is that right?
   9         A     Yes.

  10         Q     And I presume she also wanted definitive
  11    management of her stress urinary incontinence?
  12         A     Yes.

  13         Q     Okay.     And when you're making a decision for
  14    definitive management, is it your goal to provide the
  15    patient the surgical option that's gonna provide the
  16    greatest likelihood of a long term solution to her
  17    problem?
  18         A     Yes.

  19         Q     And does that include surgery with a surgical
  20    mesh implant for some patients?
  21         A     It can.

  22         Q     You discussed that -- the options that you had
  23    with Ms. Bayless, right, and those are reflected about
  24    midway through the page -- bottom half of Exhibit 10;
  25    is that right?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 78 of 170 PageID 18700


                                                                   Page 77
   1         A     Correct.
   2         Q     And the surgical options included a vaginal
   3    approach, right?
   4         A     Yes.
   5         Q     That's the transvaginal mesh that I believe
   6    opposing counsel was mentioning earlier?
   7         A     No.
   8         Q     He was -- well, he mentioned transvaginal
   9    pelvic organ prolapse mesh.         Ms. Bayless did not
  10    receive a transvaginal implantation of mesh for pelvic
  11    organ prolapse, did she?
  12         A     No, she did not.
  13         Q     Okay.    You also discussed with her an
  14    abdominal approach; is that right?
  15         A     Correct.
  16         Q     And you described that in two different ways.
  17    A traditional repair that's like a C-section, or an
  18    abdominal approach that's done with laparoscopic or
  19    robotic assistance; is that right?
  20         A     Yes.
  21         Q     And did you describe the different risks and
  22    benefits with Ms. Bayless of all of those different
  23    approaches?
  24         A     Yes, I did.
  25         Q     What are the risks and benefits of an


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 79 of 170 PageID 18701


                                                                   Page 78
   1    abdominal sacral colpopexy?
   2         A     Specifically for the -- the sacral colpopexy

   3    with use of mesh -- it includes all of the surgical

   4    risks that's associated with any pelvic surgery.             So

   5    infection, bleeding, delayed healing, pain with

   6    intercourse, voiding dysfunction, or urinary retention.

   7               What is unique to the use of mesh placement is

   8    mesh exposure.

   9         Q     Okay.    And you've treated mesh exposure
  10    before?
  11         A     Yes.

  12         Q     And can that usually be fairly easily treated
  13    and remedied in --
  14               MR. HABERMAN:     Objection.

  15    BY MS. SHUB:

  16         Q     -- in most patients?
  17               THE WITNESS:     It depends on the presentation.

  18    BY MS. SHUB:

  19         Q     Right.    It depends on a number of factors --
  20         A     Yes.

  21         Q     -- would you agree with that?
  22               Would you agree that mesh exposure can, in
  23    many patients, be treated with a local excision?
  24         A     Yes.

  25               MR. HABERMAN:     Objection.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 80 of 170 PageID 18702


                                                                   Page 79
   1               MS. SHUB:    What's the basis for your

   2         objection?     Basis?

   3               MR. HABERMAN:     What's that?

   4               MS. SHUB:    Basis?

   5               MR. HABERMAN:     Outside the scope.

   6    BY MS. SHUB:

   7         Q     You also noted in your record that the
   8    surgeries for pelvic organ prolapse can also be
   9    combined with hysterectomy?
  10         A     Yes.

  11         Q     And the patient in this case desired a
  12    hysterectomy; is that right?
  13         A     Her uterus was part of her prolapse --

  14         Q     Okay.
  15         A     -- so she wanted to make sure that all of the

  16    potential components of her prolapse was addressed with

  17    this surgery.

  18         Q     And hysterectomy was one of those components
  19    that would deal with her uterus, right?
  20         A     Yes.

  21         Q     Because if you remove the uterus, it's not
  22    going to be prolapsing out through the vagina, correct?
  23         A     No.

  24         Q     Is that correct?
  25         A     That is correct.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 81 of 170 PageID 18703


                                                                   Page 80
   1         Q     Okay.    I just wanted to cure the double
   2    negative on the record.
   3               You have different options that you describe.
   4    The SUI component, the options for treatment.            You
   5    noted that a mid urethral sling mesh was the gold
   6    standard, right?
   7         A     Yes.

   8         Q     And that means that's actually the standard of
   9    care for doctors to treat that condition, right?
  10         A     Correct.

  11         Q     And would you agree that abdominal sacral
  12    colpopexy was also a standard of care for treatment of
  13    pelvic organ prolapse?
  14         A     Yes.

  15         Q     Okay.    And you mentioned earlier that there
  16    were meshes that were available years ago that are no
  17    longer available now.       And those earlier meshes had
  18    characteristics that current meshes do not?
  19         A     Correct.

  20         Q     The meshes -- were the surgical implants that
  21    you used for Ms. Bayless -- were not the older meshes
  22    that caused a lot of controversy at the time, correct?
  23         A     No.

  24         Q     Okay.    These were the newer improved --
  25         A     Correct.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 82 of 170 PageID 18704


                                                                   Page 81
   1         Q     -- surgical implants; is that right?
   2         A     That's correct.

   3         Q     In fact, not all surgical mesh implants are
   4    alike; would you agree with that?
   5         A     No, they are not.

   6         Q     Okay.    You would -- you would agree that there
   7    are differences?
   8         A     Yes, there are differences.

   9         Q     Okay.    And you selected the Restorelle Y Mesh
  10    for Ms. Bayless' surgery; is that right?
  11         A     Yes.

  12         Q     And have you used that surgical implant
  13    before?
  14         A     Yes.

  15         Q     About how many surgeries do you think you've
  16    performed using the Restorelle for wesh (sic) --
  17    Restorelle Y Mesh surgical implant?
  18         A     I -- her surgery was in 2012.         It's 2018, so

  19    that's at least six years.        In that span --

  20         Q     Hundreds?
  21         A     Yes.

  22         Q     Okay.    And I don't -- I don't need an exact
  23    number.
  24         A     Okay.

  25         Q     I'm just looking for ballpark.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 83 of 170 PageID 18705


                                                                   Page 82
   1         A     Um-hmm.

   2         Q     So before you conducted Ms. Bayless' surgery,
   3    had you done -- had you done abdominal sacral colpopexy
   4    with a Restorelle Y Mesh before?
   5         A     Yes.

   6         Q     And had you had good success with that --
   7         A     Yes.

   8         Q     -- implant?
   9         A     Yes.

  10         Q     And had patients' tissue responded well to
  11    that surgical implant?
  12         A     Yes.

  13         Q     Are you familiar with the characteristics of
  14    the Restorelle Y Mesh?
  15         A     Yes.

  16         Q     Okay.     You know it to be one of the lightest,
  17    if not the lightest, surgical Y mesh available today?
  18         A     Yes.

  19         Q     You know it to have macropores, or sufficient
  20    pore size to allow for tissue ingrowth, and also
  21    prevent infection, correct?
  22         A     Yes.

  23               MR. HABERMAN:     Objection; calls for -- outside

  24         the scope --

  25    BY MS. SHUB:


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 84 of 170 PageID 18706


                                                                   Page 83
   1         Q     You understand --
   2               MR. HABERMAN:     -- no foundation, calls for

   3         expert testimony.

   4               COURT REPORTER:      I'm sorry, say that again.

   5               MR. HABERMAN:     No foundation, calls for expert

   6         testimony, outside of scope.

   7    BY MS. SHUB:

   8         Q     You're familiar -- you analyze the properties
   9    of a surgical mesh implant before you select it for use
  10    in a patient; is that right?
  11         A     Yes.

  12         Q     And what were the properties of the
  13    Restorelle Y that led you to use that implant for
  14    Ms. Bayless' surgery?
  15         A     Three main factors.       One, very ultra light.

  16    The macropore size.       But also, that interstitial size

  17    was also one of the largest.

  18               It was very -- it had very good flexibility.

  19    Good stretchability.       Meaning, in -- when you look at a

  20    product, you look at its ability to stretch in a

  21    vertical, or up and down fashion, as well as a side to

  22    side fashion.

  23               So it had -- all of the properties were --

  24    again, when a patient stands up, you have to be able to

  25    accommodate the forces of standing, that you are not


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 85 of 170 PageID 18707


                                                                   Page 84
   1    able to subject -- or estimate when they're lying down
   2    and you're doing your surgery.
   3         Q     Okay.    And is one of the reasons you use a
   4    surgical implant the hope that the repair will be more
   5    permanent?
   6         A     Yes.
   7         Q     And is that because a polypropylene surgical
   8    mesh implant has a strength that cannot be achieved
   9    with a native tissue repair alone?
  10         A     Correct.
  11         Q     In fact, there are just some -- well, strike
  12    that.
  13               Let me mark as Exhibit No. 11 a visit from
  14    your office.      This one is dated -- I think I did this
  15    one already.      Hold on.    I did.
  16               VIDEOGRAPHER:      We have five more minutes.
  17               MR. HABERMAN:      All right.
  18    BY MS. SHUB:
  19         Q     Before you talked with --
  20               MR. HABERMAN:      How many more minutes?        Five?
  21         Why don't we go ahead and change the tape now
  22         because I'm getting to a new section.           We can take
  23         a quick break.
  24               VIDEOGRAPHER:      Okay.    Thank you.
  25               MS. SHUB:     Go off the record.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 86 of 170 PageID 18708


                                                                   Page 85
   1               VIDEOGRAPHER:     This concludes media No. 1.

   2         The time is 11:00 o'clock.        Off the record.

   3               (A break was taken.)

   4               VIDEOGRAPHER:     Okay.    We are now back on the

   5         video record.     This is media No. 2 of the

   6         deposition of Kathy Y. Jones, M.D.          The time is

   7         11:10 a.m.

   8    BY MS. SHUB:

   9         Q     Dr. Jones, we're back on the record after a
  10    brief break to change the videotape.          We were talking
  11    about Exhibit No. 10, which was the visit when you were
  12    discussing surgical options with Ms. Bayless, correct?
  13         A     Yes.

  14         Q     The very last -- or second to last paragraph
  15    of there it says, Risks and benefits discussed, right?
  16         A     Correct.

  17         Q     And does that indicate to you that the risks
  18    and benefits of the different surgical options were
  19    discussed with Ms. Bayless?
  20         A     Yes.

  21         Q     And it indicates, risks discussed included,
  22    but were not limited to the following -- and bleeding
  23    was a risk discussed, right?
  24         A     Yes.

  25         Q     Infections was a risk discussed?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 87 of 170 PageID 18709


                                                                   Page 86
   1         A     Yes.
   2         Q     Damage to surrounding organs, such as bowel
   3    and bladder was discussed?
   4         A     Yes.
   5         Q     Urinary retention was discussed?
   6         A     Yes.
   7         Q     And mesh exposure was discussed?
   8         A     Yes.
   9         Q     Okay.    Other -- other risks were discussed,
  10    according to this note?
  11         A     Yes.
  12         Q     Would you also discuss -- can -- can sutures
  13    become exposed?      I think you said yes earlier.
  14         A     Yes.
  15         Q     Okay.    Okay.    Opposing counsel asked you some
  16    questions about polypropylene.          If a polypropylene was
  17    provided to the -- that was provided to an implant
  18    manufacturer was designated as medical grade, would
  19    that be important to you?
  20         A     Yes.
  21         Q     Okay.    And if the polypropylene was
  22    specifically designed for medical use in implants,
  23    would that be important to you?
  24         A     Yes.
  25         Q     Okay.    And would that make you feel


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 88 of 170 PageID 18710


                                                                   Page 87
   1    comfortable with the polypropylene that was used for
   2    the surgical implant?
   3         A     Yes.

   4         Q     Okay.     Let's go on to what I have as the next
   5    visit.    And I have, actually, a couple of records for
   6    this next visit, but -- it's dated May 28th of 2013.
   7    And we'll mark as your Exhibit No. 11 pages Bates
   8    labeled C -- oh -- pages Bates labeled
   9    COL-RBAYLESS-ORLANDO, Pages 15 to 18.
  10               Are these records that we've marked as Exhibit
  11    11 part of a record from your office?
  12         A     Yes.

  13         Q     Okay.     And is this the preoperative
  14    consultation with Ms. Bayless?
  15         A     What's the date of service?

  16         Q     May 28th, 2013.
  17         A     Yes.    So we're not talking about this

  18    (indicating)?

  19         Q     Yes, I'm sorry.      Yeah, there's some other
  20    records at the top of the page.         I guess it's midway
  21    through the first page.
  22         A     Um-hmm.

  23         Q     Now, Ms. Bayless' chief complaints were
  24    incontinence, right?
  25         A     Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 89 of 170 PageID 18711


                                                                   Page 88
   1         Q     And prolapse of the vaginal vault.          That's the
   2    top of the vagina?
   3         A     Yes.

   4         Q     And a cystocele, right?
   5         A     Correct.

   6         Q     She's also had some problems that were noted.
   7    Do you see the problems that were identified?
   8         A     Yes, um-hmm.

   9         Q     Bacterial vaginosis is a problem.           What is
  10    bacterial vaginosis?
  11         A     It's the overgrowth of bacteria in the vagina

  12    that is not of the lactobacillus type.

  13         Q     Can bacterial vaginosis lead to discharge?
  14         A     Yes.

  15         Q     Okay.    How about candidiasis?       I'm
  16    mispronouncing that.
  17         A     Candidiasis.

  18         Q     Yes.    And what is that?
  19         A     It's better known as a yeast infection.

  20         Q     Okay.    And can that lead to discharge?
  21         A     Yes.

  22         Q     And she was prescribed some creams?
  23         A     Yes.

  24         Q     Was that to deal with those conditions?
  25         A     Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 90 of 170 PageID 18712


                                                                   Page 89
   1         Q     All right.     On the second page of Exhibit 11
   2    you have some notes regarding her past medical history;
   3    is that right?
   4         A     Yes.

   5         Q     You noted that she previously had a tubal
   6    ligation, right?
   7         A     Yes.

   8         Q     She had some other surgeries as well,
   9    including a gallbladder surgery.         Were you aware of
  10    that?    I don't know if that's reflected on here.
  11         A     Yes, it's in the middle of the page.

  12         Q     Okay.    She's still noted to be a current
  13    everyday smoker; is that right?
  14         A     Yes.

  15         Q     Okay.    She did not report use of illicit drugs
  16    though, did she?
  17         A     Correct.

  18         Q     Okay.    On the third page of Exhibit No. 11 you
  19    have a discussion with her about the procedure that
  20    you're gonna provide; is that right?
  21         A     Yes.

  22         Q     The first item -- the first thing you're going
  23    to do during her surgery is a total vaginectomy; is
  24    that right?
  25         A     As far as an option?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 91 of 170 PageID 18713


                                                                   Page 90
   1         Q     Oh, okay.    Was that the option discussed, or
   2    was that part of the procedure?
   3         A     Those are options --

   4         Q     Okay.
   5         A     -- that are discussed.

   6         Q     All right.     The second one was, gold standard
   7    for vaginal vault prolapse and uterine prolapse,
   8    including abdominal sacral colpopexy with mesh; is that
   9    right?
  10         A     Yes.

  11         Q     And that's the Restorelle surgical implant
  12    that we've discussed already; is that right?
  13         A     It includes, yes, the use of the -- the

  14    Restorelle Y Mesh.

  15         Q     Okay.    And you would include that Restorelle Y
  16    Mesh as -- as a surgical implant that would fall within
  17    the gold standard of the standard of care?
  18         A     Correct.

  19         Q     And again, she was -- potential complications
  20    from that surgery were discussed; is that right?
  21         A     Yes.

  22         Q     All right.     And you chose that over a
  23    traditional open surgery; is that right?
  24         A     Yeah.

  25         Q     And why was sacral colpopexy -- an abdominal


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 92 of 170 PageID 18714


                                                                   Page 91
   1    sacral colpopexy with Y mesh chosen over a traditional
   2    open surgery?
   3         A     Those -- No. 2 and No. 3 are the same

   4    procedure.     It's the access or the route of the

   5    procedure that's different.

   6         Q     And what is -- what benefits are there from
   7    the abdominal procedure over the open procedure?
   8         A     They're both abdominal procedures.

   9         Q     I'm sorry.     What are the benefits of the
  10    abdominal laparoscopic or robotic procedure over the
  11    open abdominal procedure?
  12         A     It's a shorter hospital stay, and decreased

  13    pain requirements.

  14         Q     Um-hmm.
  15         A     That way the patient can go home within 24

  16    hours, as opposed to having a two- to three-day

  17    hospital stay.

  18         Q     Okay.    At this visit, on the last page of
  19    Exhibit No. 11, there's a note regarding the surgical
  20    plan.    So does this indicate this was the time when the
  21    actual plan was formalized?
  22         A     Yes.

  23         Q     Okay.    And again, the risks and benefits of
  24    the surgical procedures were discussed --
  25         A     Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 93 of 170 PageID 18715


                                                                   Page 92
   1         Q     -- right?
   2               And at the very end, it indicates that the
   3    patient voiced understanding and would like to proceed
   4    with the procedure; is that right?
   5         A     Yes.

   6         Q     And she signs some written consents to that
   7    effect, right?
   8         A     Yes.

   9         Q     And is that your usual and customary practice
  10    to have the patient sign consent forms?
  11         A     Yes.

  12         Q     And do you describe both consent forms with
  13    the patient?
  14         A     Do I --

  15         Q     Or do you -- or do you -- are you available
  16    for questions if the patient has any questions about
  17    the consent forms?
  18         A     Yes.

  19         Q     All right.     Let's go through some of those, if
  20    we can.
  21               Now, one of the procedures she -- Ms. Bayless
  22    was gonna have was a hysterectomy --
  23         A     Yes.

  24         Q     -- is that right?
  25               And that involves removal of the uterus?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 94 of 170 PageID 18716


                                                                   Page 93
   1         A     Yes.

   2         Q     And did it also involve removal of the cervix?
   3         A     Yes.

   4         Q     All right.     And what I've marked as Exhibit 12
   5    is entitled Hysterectomy Surgical Consent Form, with
   6    the Bates label COL-RBAYLESS-ORLANDO Page 23.
   7               Is it -- is Exhibit No. 12 the surgical
   8    consent form that was provided to Ms. Bayless?
   9         A     It's a component.      It is one page of the

  10    consent form.

  11         Q     Right.    In fact, you have multiple pages that
  12    deal with her consent --
  13         A     Yes.

  14         Q     -- for her surgery, right?
  15               One of the things your consent form notes, in
  16    the middle of the top paragraph -- it's possible the
  17    operation will not help the patient, right?
  18         A     Yes.

  19         Q     And it's even possible that the patient would
  20    be worse off after the operation than they were before
  21    the operation?
  22         A     Yes.

  23         Q     And that's contained in the consent form that
  24    this patient signed, right?
  25         A     Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 95 of 170 PageID 18717


                                                                   Page 94
   1         Q     Your consent form advises patients that all
   2    surgeries can have complications ranging from minor to
   3    fatal, right?
   4         A     Yes.

   5         Q     And fatal means the patient could actually die
   6    during surgery?
   7         A     Yes.

   8         Q     Your consent form also notes that physical and
   9    sexual activity are to be restricted for a period of
  10    time after surgery, right?
  11         A     Yes.

  12         Q     And I think you said your general restricted
  13    period is approximately 12 weeks; is that right?
  14         A     Yes.

  15         Q     I'm gonna mark as Exhibit 13 some additional
  16    consent forms.      This one is Bates labeled
  17    COL-RBAYLESS-ORLANDO, Pages 21 and 22.           Is this part of
  18    the consent process from your office?
  19         A     Yes.

  20         Q     Now, what we've marked as Exhibit 13 is an
  21    Informed Consent and Request for Repair of Relaxation
  22    of Pelvic Organs and/or Urinary Incontinence; is that
  23    right?
  24         A     Yes.

  25         Q     This -- Exhibit 12 specifically deals with the


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 96 of 170 PageID 18718


                                                                   Page 95
   1    surgery that was going to involve surgical mesh
   2    implants, correct?
   3         A     It's one of.

   4         Q     Okay.    So your consent's actually broader than
   5    13, right?
   6         A     So this consent is a summary of multiple

   7    procedures.

   8         Q     Okay.
   9         A     The previous consent was just specific to a

  10    hysterectomy.      This is a summary of the combined

  11    procedures and the combined risk.          And I also have a

  12    consent form that's very specific for the use of mesh

  13    or any type of augmentation product.

  14               COURT REPORTER:      Any type of what product?

  15               THE WITNESS:     Augmentation.

  16    BY MS. SHUB:

  17         Q     Okay.    We'll get to that one in just a second.
  18               On Exhibit 13, you do describe the material
  19    risks of the different -- of the procedures in No. 4,
  20    right?    We've got some numbered paragraphs.          1, 2 --
  21         A     Yes.

  22         Q     -- 3 and 4.
  23               No. 4 describes material risks.         And 5 also
  24    describes risks?
  25         A     Yes.


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 97 of 170 PageID 18719


                                                                   Page 96
   1         Q     All right.     And just like the form for the
   2    hysterectomy, some of the risks you note are that there
   3    may not be improvement, or there may be a worsening,
   4    right?
   5         A     Yes.

   6         Q     You might -- your consent form also notes the
   7    potential for pain or discomfort with sexual
   8    intercourse; is that right?
   9         A     Yes.

  10         Q     And that includes the term that you -- we've
  11    been using in this deposition called dyspareunia?
  12         A     Yes.

  13         Q     Which means pain with intercourse, right?
  14         A     Yes.

  15         Q     It talks about possible formation of blood
  16    clots, success rates.       You've also discussed the -- the
  17    consent form also addresses that the patient has been
  18    provided information regarding alternatives, right?
  19         A     Yes.

  20         Q     And the patient could have refused to sign
  21    this consent form, right?
  22         A     Yes.

  23         Q     And could have refused to go forward with the
  24    surgery?
  25         A     Yes.


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 98 of 170 PageID 18720


                                                                   Page 97
   1         Q      You actually specifically identify, on the
   2    form that Ms. Bayless signed off, the type of surgical
   3    implants that you would be using?
   4         A      Yes.

   5         Q      Okay.   And that's on the bottom of the second
   6    page.    You identify the Coloplast Restorelle Y Mesh, as
   7    well as the Boston Scientific sling, right?
   8         A      Yes.

   9         Q      That wasn't hidden from Ms. Bayless, right?
  10         A     No.

  11         Q      Okay.   And -- okay.     If she had any questions
  12    about that consent form, you would have been willing
  13    and able to answer them, right?
  14         A     One of the corollaries on the top includes --

  15    it says, do not sign unless you understand the

  16    contents.

  17         Q      Okay.   And so, if she signed on those, you
  18    relied on the fact that she was representing to you she
  19    understood?
  20         A     Yes.

  21         Q      All right.    I'm gonna mark as your Exhibit 14
  22    one of the consent forms that I think you may have
  23    mentioned earlier that deals with the procedure for
  24    Anterior and/or Posterior Colporrhaphy.           Do you see
  25    that?


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 99 of 170 PageID 18721


                                                                   Page 98
   1         A     Yes.

   2         Q     Exhibit 14 notes particular risks that may
   3    deal with any repair of the vaginal walls, right?
   4         A     Yes.

   5         Q     Okay.    And one of the complications noted is
   6    potential for pain during intercourse, right?
   7         A     Yes.

   8         Q     And one of the complications noted is that the
   9    patient may require future surgery?
  10         A     Yes.

  11         Q     And that would be to repair a complication for
  12    the first surgery, right?
  13         A     Yes.

  14         Q     That colporrhaphy is often a surgery without a
  15    mesh augmentation, correct?
  16         A     It can be done.

  17         Q     It can be done with sutures all by themselves?
  18         A     Yes.

  19         Q     And that suture surgery still has the risk of
  20    need for future surgery and pain with intercourse?
  21         A     Yes.

  22         Q     Now, Exhibit 15 is also part of your consent
  23    form.    This is Augmentation Graft Consent Form.           Is
  24    this the one involving synthetic materials that you
  25    were mentioning earlier?


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                                                                  4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 100 of 170 PageID
                                   18722

                                                                Page 99
 1         A     It includes any augmentation graft that can be

 2    synthetic; cow skin, human skin.

 3         Q     Right.    Grafts come in different forms.         Some
 4    are biologic material and some are synthetic material,
 5    right?
 6         A     Yes.

 7         Q     Okay.    And in your experience, is a synthetic
 8    graft typically stronger than a biologic graft?
 9         A     It can be.

10         Q     Okay.    Is that why you use it?
11         A     Yes.

12         Q     All right.    And in fact, in the consent form
13    that was provided to Ms. Bayless, the term "synthetic
14    materials such as mesh" -- synthetic is actually
15    circled.    Do you see that?
16         A     Yes.

17         Q     Would that circling have been done during a
18    description of the consent form for Ms. Bayless?
19         A     Yes.

20         Q     All right.    So it sounds like somebody just
21    didn't hand it to her; somebody actually went through
22    and talked with her about these risks before she signed
23    this form, right?
24         A     Yes.

25         Q     Is that your usual and customary practice?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 101 of 170 PageID
                                   18723

                                                               Page 100
 1         A     It is.

 2         Q     And again, like the surgery without mesh, this
 3    consent form notes that there may be a need for a
 4    surgery after the implant surgery to address a problem
 5    that might occur with the first surgery?
 6         A     Correct.

 7         Q     All right.    This form also specifically makes
 8    reference to the fact that mesh can become exposed in
 9    the vagina, right?
10         A     Yes.

11         Q     And that there might be delayed healing,
12    right?
13         A     Yes.

14         Q     And if a patient is a smoker, that patient can
15    have delayed healing --
16         A     Yes.

17         Q     -- as well, right?
18               In fact, that increases the risk for delayed
19    healing, doesn't it?
20         A     Yes.

21         Q     Those consent forms were signed May 28th of
22    2013, which was not the day of surgery; is that right?
23         A     No, it was not.

24         Q     In fact, it was a couple of months before
25    Ms. Bayless had surgery, right?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 102 of 170 PageID
                                   18724

                                                               Page 101
 1         A     Yes.

 2         Q     And so, Ms. Bayless had some opportunity after
 3    she met with you, and discussed the process with you,
 4    to decide later that she didn't want to go forward with
 5    the surgery, right?
 6         A     Yes.

 7         Q     She had an opportunity to do some research on
 8    her own, if she wanted to, right?
 9         A     Yes.

10         Q     Okay.   You weren't trying to rush Ms. Bayless
11    into a surgery, were you?
12         A     No.

13         Q     Now, I'm gonna hand you what we've marked as
14    Exhibit 16; a Surgery/Procedure Consent Form.            I'm not
15    sure if this one's from your hospital.          It may -- or
16    from you, or from the hospital -- Exhibit 16.            It's
17    Bates labeled COL PLTF 32 through 33 -- RBAYLESS.
18               Is what we've marked as Exhibit 16 a consent
19    form from your office?
20         A     No.

21         Q     Okay.   Is this from the hospital?
22         A     Yes.

23         Q     Nonetheless, is it the usual and customary
24    practice for a patient who has surgery from you to have
25    an opportunity to review and consent to the procedure,


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 103 of 170 PageID
                                   18725

                                                               Page 102
 1    again, immediately before the surgery occurs?
 2         A     Yes.

 3         Q     And does that appear to be what happened here?
 4         A     Yes.

 5         Q     All right.    And again, the consent form
 6    advises that the patient has been made aware of the
 7    risks of surgery; is that right?
 8         A     Yes.

 9         Q     All right.    We're gonna mark as Exhibit 17
10    what I understand to be your operative report for
11    Ms. Bayless.      I have Bates number COL-RBAYLESS-ORLANDO
12    Pages 7 through 12.
13               Does Exhibit 17 appear to be your operative
14    report?
15         A     Yes, it does.

16         Q     And this is a document that is created through
17    your dictation?
18         A     Yes.

19         Q     All right.    This indicates that the surgeries
20    to be performed -- first of all, the surgery was to be
21    performed on August 9th of 2013; is that right?
22         A     The surgery was performed on August 9th, 2013.

23         Q     Okay.    And the operations that were performed
24    included the hysterectomy, right?
25         A     Yes.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 104 of 170 PageID
                                   18726

                                                               Page 103
 1         Q     As well as the abdominal sacral colpopexy to
 2    correct prolapse, correct?
 3         A     Yes.
 4         Q     As well as the mid urethral sling, right?
 5         A     Yes.
 6         Q     And then, cystoscopy to check the bladder and
 7    her urinary tract, right?
 8         A     Correct.
 9         Q     Now, it appears that one of the first things
10    you did when you began the surgery was to examine the
11    physical characteristics once you got into her pelvic
12    space.    You wanted to see what you were dealing with,
13    right?
14         A     Yes.
15         Q     Ms. Bayless had had prior surgeries.           And can
16    prior surgeries lead to adhesions?
17         A     Yes.
18         Q     And what is an adhesion?
19         A     An abnormal connection between two surfaces.
20         Q     And is a patient who has adhesions more
21    difficult than a patient who does not have adhesions?
22         A     Depending on the severity of adhesive disease
23    and where it's located.
24         Q     Okay.   And Ms. Bayless, in fact, did have
25    adhesions, did she not?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 105 of 170 PageID
                                   18727

                                                               Page 104
 1          A    She did.

 2          Q    Okay.     Likely from her -- her prior abdominal
 3    surgeries, do you think?
 4          A    I could not say for sure.

 5          Q    Okay.     Just that they were present?
 6          A    Yes.

 7          Q    She also had evidence of diverticular disease
 8    in the Sigmoid colon.       Was that relevant to her
 9    surgical course?
10          A    It may have been the reasons why she developed

11    left sidewall adhesions.       Because diverticulosis or

12    diverticular disease is -- can become inflamed --

13          Q    Um-hmm.
14          A    -- and patients can have bouts of that,

15    causing pain, before they realize or are diagnosed with

16    it.

17          Q    Inflammatory diseases in the pelvis can happen
18    from all sorts of reasons; is that right?           I mean --
19          A    I'm not sure what you're asking me.

20          Q    Can sexually transmitted diseases lead to
21    inflammatory responses in the pelvic area?
22          A    It can.

23          Q    Okay.     Can gonorrhea?
24          A    Yes.

25          Q    Can bacterial vaginosis?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 106 of 170 PageID
                                   18728

                                                               Page 105
 1         A     No.

 2         Q     Okay.   Now, as I understand, and I'm not gonna
 3    go through the whole record -- but as I understand,
 4    this surgery was done in -- I'm gonna say in order.
 5    I'm gonna go through the order of procedures.
 6               You did the hysterectomy first; is that right?
 7         A     Yes.

 8         Q     And then you did the sacral colpopexy to
 9    address her prolapse, second?
10         A     Yes.

11         Q     And then you did the sling?
12         A     Correct.

13         Q     Okay.   With hysterectomy, even if you do not
14    follow hysterectomy with a surgical implant -- I think
15    we've discussed hysterectomy all by itself has some
16    complications, true?
17         A     Yes.

18         Q     One of the complications of hysterectomy can
19    be vaginal shortening; is that right?
20         A     Yes.

21         Q     If you do a hysterectomy, you have to sew, or
22    suture together, the top of the vagina, right?
23         A     Correct.

24         Q     Okay.   And there is a suture line at the top
25    of the vagina after a hysterectomy, right?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 107 of 170 PageID
                                   18729

                                                               Page 106
 1           A   Yes.

 2           Q   Is that sometimes called the vaginal cuff?
 3           A   Yes.

 4           Q   Okay.   You closed the vaginal cuff with a
 5    running stitch or a V-Loc suture; is that right?
 6           A   Yes.

 7           Q   Is that a -- can you describe that process?
 8           A   The process of closing the cuff?

 9           Q   Yes, ma'am.
10         A     A V-Loc is a special suture that is what we

11    call delayed absorbable.       In particular, it lasts

12    approximately 180 days.       It's a running suture, meaning

13    that it's placed at one end of the vaginal incision,

14    and then it is -- multiple loops are then placed across

15    the vaginal incision until it's closed to the opposite

16    end.

17           Q   Okay.   If you do -- is it your normal practice
18    to do single layer closure of tissue, or a double layer
19    closure of tissue?
20         A     Single layer.

21           Q   Okay.   Are you aware that some people do a
22    double layer closure?
23         A     Yes.

24           Q   Do you know why some people do a double layer
25    closure?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 108 of 170 PageID
                                   18730

                                                               Page 107
 1         A     Their premise is that it may -- well, let me

 2    ask you this: Are you talking about with just a

 3    hysterectomy, or are you talking about with a

 4    concomitant prolapse procedure?

 5         Q     Either way.
 6         A     I would say for most -- most people do a

 7    single layer closure with a traditional hysterectomy.

 8    That's very standard.

 9               COURT REPORTER:     A what kind of hysterectomy?

10         I'm sorry, I didn't understand you.

11               THE WITNESS:     They do a single layer closure

12         of the cuff in a hysterectomy alone.          They may do a

13         double layer if they have some concerns about the

14         strength or the integrity of the first layer.

15    BY MS. SHUB:

16         Q     Okay.   If you do a hysterectomy followed by a
17    concomitant sacral colpopexy procedure, does that
18    change the analysis of whether to do a single layer
19    closure or a double layer closure for you?
20         A     For me, no.

21         Q     Okay.   Does it for some other surgeons of
22    which you're aware?
23         A     I believe that is their -- certain surgeons'

24    preference.

25         Q     Okay.   And do you understand the reason that


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 109 of 170 PageID
                                   18731

                                                               Page 108
 1    other surgeons might do a double layer closure?
 2         A     The premise, again, is to take the first

 3    suture line further away from where you're placing the

 4    graft.

 5         Q     And is that with the hope of strengthening
 6    that suture line?
 7         A     No.

 8         Q     Okay.   What would you understand to be the
 9    purpose of the second layer?
10         A     As I just --

11         Q     I'm not sure I understand, so --
12         A     Okay.

13         Q     -- I apologize.
14         A     So, the first layer -- if you place a second

15    layer, what you're doing is placing the first layer

16    further away from where you had actually attached the

17    graft to the vagina.      Usually, if you have a mesh

18    exposure it usually occurs at the suture line.

19               So the premise or the theory is, if I -- if I

20    place a second layer, then my primary suture line,

21    which is still the one that's going to be in the

22    vagina, and exposed to the stresses of the vagina with

23    intercourse, won't be exposed to a direct application

24    of the mesh.

25         Q     Okay.   If you do a double layer closure, would


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 110 of 170 PageID
                                   18732

                                                               Page 109
 1    the sutures at the apex for the sacral colpopexy also
 2    be, I guess, a little farther away from the actual
 3    internal apex of the vagina?
 4               I think what you're saying is there's a
 5    distance reason to do a double closure.
 6         A     So -- I'm sorry, what are you asking me?

 7         Q     Well, I wanted to ask about the sutures,
 8    because you talked about the -- the location of the
 9    mesh.    And I guess if you do a double layer closure,
10    the suture is what actually goes deeper into the tissue
11    than the mesh itself, correct?
12         A     No.

13         Q     Okay.   Well, you -- you've got to suture --
14    you sew -- it's a -- it's a surgical sewing?
15         A     You place the sutures, yes.

16         Q     Okay.   And you sew into -- I guess, from the
17    top, you're sewing into tissue, correct?           The mesh
18    itself doesn't get sewn into the tissue?
19         A     Yes, it does.

20         Q     Well -- okay.     Let me back up.
21               It's -- well, it's underneath the mesh, right?
22    So you're sewing it like you might sew a button, but
23    there's a thread?      It's essentially a thread?        A suture
24    would be equivalent to a thread -- surgically?
25         A     Yes.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 111 of 170 PageID
                                   18733

                                                               Page 110
 1         Q     Okay.   You measured the anterior wall; is that
 2    your normal practice?
 3         A     During the initial examination?

 4         Q     It looks like in your surgical report -- if I
 5    can refer you to 17, on Page 2.         The one with the Bates
 6    label 9 at the bottom.       The second to the last
 7    paragraph.
 8               Paragraph beginning: Then a tunnel --
 9               It says, Then a tunnel in the peritoneal space
10    was then created down to the level of the vaginal cuff.
11    Did I read that correctly?
12         A     Yes.

13         Q     Okay.   And you said, At this point, I measured
14    the anterior wall -- do you see that?
15         A     Yes.

16         Q     Okay.   And I -- I guess -- and you said, and
17    the vaginal length was measured to be approximately
18    four centimeters.      Do you see that?
19         A     Yes.

20         Q     Did I read that correctly?
21         A     Yes.

22         Q     Okay.   And so, you -- I just wanted to
23    confirm, you actually measured the vaginal wall, or you
24    get a sense -- to record the length of the anterior
25    vaginal wall?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 112 of 170 PageID
                                   18734

                                                               Page 111
 1         A     So, just so you understand what that means --
 2         Q     Um-hmm.
 3         A     -- it's the portion of the anterior vaginal
 4    wall that was available for graft application.
 5         Q     Okay.   Got it.
 6               You secured the graft to the anterior vaginal
 7    wall with Gore-Tex sutures?
 8         A     Yes.
 9         Q     And you used six; is that right?
10         A     Yes.
11         Q     And you did the same thing on the posterior
12    side?
13         A     Correct.
14         Q     Okay.   Do you do any sutures at the apex?
15         A     No.
16         Q     Okay.   That's probably why we had the
17    disconnect earlier.       I was trying to understand that.
18               After that, you then -- it wasn't until after
19    the sacral colpopexy was complete that you did the
20    sling; is that right?
21         A     Yes.
22         Q     And did you feel the surgery was successful?
23         A     Yes.
24         Q     You did send the explanted hysterectomy
25    material for pathology; is that normal?           Is that your


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 113 of 170 PageID
                                   18735

                                                               Page 112
 1    usual and customary practice?
 2         A     Any -- anything that's removed from the

 3    patient is usually sent to pathology for evaluation.

 4         Q     Okay.    And I'm gonna mark as your Exhibit 18,
 5    Bates labeled COL PLTF 86 and 87 -- which I understand
 6    to be the pathology report; is that --
 7         A     (No audible response.)

 8         Q     Do you review the pathology report?
 9         A     Yes.

10         Q     Okay.     We noticed the pathology report notes
11    that Ms. Bayless had marked acute and chronic
12    cervicitis.       Do you see that?
13         A     Yes.

14         Q     Is that inflammation?
15         A     Yes.

16         Q     And can that kind of inflammation result in
17    pain for a patient -- abdominal pain?
18         A     Possibly.

19         Q     Was a cause of the cervicitis identified?
20         A     No.

21         Q     Okay.     After surgery, Ms. Bayless was given
22    discharge instructions, right?         I assume you gave her
23    some oral instructions, right?
24         A     So we give our patients discharge instructions

25    prior to surgery.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 114 of 170 PageID
                                   18736

                                                               Page 113
 1           Q   Okay.     Let me mark as your Exhibit 19 a series
 2    of documents.      They're Bates labeled COL PLTF 49 to 62.
 3    These are discharge instructions.
 4               Were these from you or from the hospital?
 5           A   This is from the hospital.

 6           Q   Okay.     Have you read them before?
 7           A   I have.

 8           Q   Okay.     You rely upon the hospital to, also,
 9    give them these discharge instructions that are
10    reflected in Exhibit 19?
11         A     They're reinforced.

12           Q   So these are repetitive of the type of
13    restrictions that you would provide your patient,
14    correct?
15         A     Yeah.   It may not be in the same detail, but

16    yes.

17           Q   Okay.     On Page -- it's got a Bates label at
18    the bottom of 51.       I just want to refer you -- up at
19    the top it says, Additional Care Instructions: Diet as
20    tolerated, pelvic rest until seen by Dr. Jones.
21         A     Yes.

22           Q   You wanted Ms. Bayless to refrain from sexual
23    intercourse until you had a chance to examine her?
24         A     Yes.

25           Q   Okay.     And did you convey that to Ms. Jones?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 115 of 170 PageID
                                   18737

                                                               Page 114
 1         A     To Ms. Bayless.

 2         Q     I mean -- sorry.
 3         A     Yes.

 4         Q     Dr. Jones, did you convey that to Ms. Bayless?
 5         A     Yes.

 6         Q     Now, typically, how quickly after surgery
 7    would you like to see a patient?
 8         A     Within ten days.

 9         Q     Okay.     Ms. Bayless did not return to you in
10    ten days, did she?
11         A     I don't think so.

12         Q     Okay.     I'll represent to you that we have one
13    more surgical visit with Ms. Bayless, dated September
14    24th, 2013.       And I'll mark for you as Exhibit 20 the
15    records we have from that visit.         Bates labeled
16    COL-RBAYLESS-ORLANDO 13 through 15.
17               Does Exhibit 20 appear to be records from your
18    office?
19         A     Yes.

20         Q     Okay.     Now, here the patient appeared to be
21    doing well, except for some occasional discomfort in
22    the pelvic area, and mood swings.         Is that what --
23         A     Yes.

24         Q     -- you understand?
25               All right.     And she was six weeks, three days


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 116 of 170 PageID
                                   18738

                                                               Page 115
 1    post-operative, right?
 2         A     Yes.

 3         Q     And this would have been the first time she
 4    came back to your office, right?
 5         A     Yes.

 6         Q     Okay.   Katherine Puig's name is on here?
 7         A     Yes.

 8         Q     And she's the nurse practitioner that has
 9    worked with you for nine years?
10         A     Yes.

11         Q     And who you rely on and who you trust?
12         A     Yes.

13         Q     On the second page of that post-operative
14    visit, there is a section on review of symptoms?
15         A     Yes.

16         Q     And there's a fairly long paragraph there; do
17    you see that?
18         A     Yes.

19         Q     I'm not gonna read them all, but some of the
20    items in this paragraph are in bold.          Does the bold
21    indicate to you that was, in fact, a complaint made by
22    Ms. Bayless at this --
23         A     Yes.

24         Q     Okay.   I'm gonna go about halfway -- I won't
25    spend our time going through all of it.          But she -- one


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 117 of 170 PageID
                                   18739

                                                               Page 116
 1    of the things Ms. Bayless reported to your office was
 2    dry vaginal mucosa.       Do you see that?
 3         A     Is it bolded?

 4         Q     Yeah.     Hold on.
 5         A     Oh.    I see vaginal odor and discharge up here.

 6         Q     Okay, yeah.     She had discharge and vaginal
 7    odor, right?
 8         A     Um-hmm.

 9         Q     Here it is (indicating).
10         A     Okay, um-hmm.

11         Q     Dry vaginal mucosa; is that right?
12         A     Yes.

13         Q     And then she -- the next line down, she
14    reports decreased libido and orgasmic dysfunction.               Do
15    you see that?
16         A     Um-hmm.

17         Q     Is that a yes?
18         A     Yes.

19         Q     Orgasmic dysfunction indicates problems with
20    orgasm; is that right?
21         A     Yes.

22         Q     Orgasm dysfunction would typically be
23    discovered through having a sexual encounter, correct?
24         A     Yes.

25         Q     Okay.     If somebody was having an orgasmic


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 118 of 170 PageID
                                   18740

                                                               Page 117
 1    dysfunction before they saw you, that would be
 2    noncompliant with the instruction to engage in pelvic
 3    rest after surgery until they came to your office; is
 4    that right?
 5         A     Yes.

 6         Q     Okay.   Now, one of the things that was
 7    discovered -- if we can go to the next page with the
 8    Bates label 15.     There's an examination at the top
 9    regarding female genitalia.        Do you see that section?
10         A     Yes.

11         Q     There's some information described, but in
12    bold again is: minimal separation with foreign body
13    visualized central apical incision.          Do you see that?
14         A     Yes.

15         Q     Does that indicate to you that Ms. Bayless has
16    an exposure along the suture line?
17         A     It means that there was a separation, and that

18    she could see behind the incision line what would

19    appear to be either a suture or -- something.

20         Q     There was something that she could see along
21    that suture line?
22         A     Behind the suture line.

23         Q     Okay.   If a patient engages in sexual activity
24    before they're fully healed, can that increase the risk
25    of an exposure along the suture line?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 119 of 170 PageID
                                   18741

                                                               Page 118
 1         A     Yes.

 2         Q     If that occurs, does that indicate that
 3    there's any defect or problem with the surgical mesh
 4    implant?
 5         A     No.

 6         Q     And in fact, mesh exposure was something you
 7    specifically warned Ms. Jones -- Ms. Bayless about?
 8         A     Yes.

 9         Q     I'm sorry, Dr. Jones.       I've got both your
10    names in my head.
11               Now, the separation along the suture line, the
12    decision was to treat that conservatively; is that
13    right?
14         A     Yes.

15         Q     Okay.   You didn't rush her back into surgery,
16    did you?
17         A     No.

18         Q     Okay.   Because an exposure at that location
19    can heal, sometimes, with conservative management?
20         A     Yes.

21         Q     I assume that you would have wanted to
22    evaluate Ms. Bayless over time to see how she
23    responded, right?
24         A     Yes, that's standard and customary.

25         Q     Okay.   And, in fact, you tried to reach out to


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 120 of 170 PageID
                                   18742

                                                               Page 119
 1    Ms. Bayless to have her come back in so you could
 2    evaluate her, right?
 3         A     Yes.

 4         Q     Did Ms. Bayless ever return?
 5         A     No.

 6         Q     Okay.   And I think that's what we marked as
 7    your deposition Exhibit No. 4 -- was a letter that you
 8    actually sent to her, encouraging her to reach back out
 9    to you; is that right?
10         A     Yes.

11         Q     Did any other doctor of Ms. Bayless' ever
12    reach back out to you to discuss her care after her
13    last visit to your office in September of 2013?
14         A     No.

15         Q     If Ms. Bayless did not heal at the vaginal
16    cuff over time, does that indicate that there's any
17    defect or problem with her surgical implants?
18         A     No.

19         Q     The fact that Ms. Bayless is complaining of
20    dyspareunia, does that indicate any defect or problem
21    with her surgical implants?
22         A     As I stated before, dyspareunia --

23               MR. HABERMAN:     Objection.

24               THE WITNESS:     -- is not specific to a mesh.

25    BY MS. SHUB:


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 121 of 170 PageID
                                   18743

                                                               Page 120
 1         Q     Okay.   So does that indicate that either --
 2    does the fact that Ms. Bayless is complaining of
 3    dyspareunia indicate that there's a defect with her
 4    surgical implants?
 5         A     No.

 6               MR. HABERMAN:     Objection.

 7    BY MS. SHUB:

 8         Q     If Ms. Bayless had an exposure at the vaginal
 9    apex, along the suture line, would you have recommended
10    continued pelvic rest?
11         A     Yes.

12         Q     So, would you have recommended that she
13    continue to refrain from sexual intercourse until that
14    exposure was completely healed?
15         A     Yes.

16         Q     If Ms. Bayless did not refrain from sexual
17    intercourse while the exposure was occurring, is it
18    likely that it is going to be more difficult for that
19    exposure to heal?
20         A     Yes.

21         Q     And is that especially true if she's a smoker?
22         A     Yes.

23         Q     And can that be, also, true if she continues
24    to smoke crack cocaine?
25         A     I do not know.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 122 of 170 PageID
                                   18744

                                                               Page 121
 1         Q      Okay.
 2                MR. SCOGGAN:    Counsel, just briefly, I know

 3         the Plaintiff's counsel questioned Dr. Jones for a

 4         little over an hour.      I think you've been going for

 5         a little over an hour of on-the-record time.

 6                I understand Dr. Jones has a hard conflict at

 7         12:30, so obviously, we'd like to -- Boston

 8         Scientific would like an opportunity to ask

 9         Dr. Jones a few questions as well.

10               I just wanted to note that for the record.

11         Thanks.

12               MS. SHUB:    Yes.   Thank you.     I'll just be real

13         brief.

14               MR. SCOGGAN:     Thank you.

15    BY MS. SHUB:

16         Q      Have you reviewed Colo -- the instructions for
17    use that the company -- the Coloplast Restorelle Y Mesh
18    implant?
19         A     Yes.

20         Q      Do you recall the last time you did that
21    before you operated on Ms. Bayless?
22         A     The last time I reviewed the IFU?

23         Q      Yes, ma'am.
24         A     That would probably be at least a year and a

25    half ago.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 123 of 170 PageID
                                   18745

                                                               Page 122
 1         Q     Okay.   Do you believe that you needed any
 2    information in the Coloplast Restorelle Y instructions
 3    for use that you didn't already have?           In other
 4    words -- let me -- strike that.          That was a bad
 5    question.
 6               You've already testified that you're aware of
 7    the risks of exposure?
 8         A     Yes.
 9         Q     You're aware of the risk of the need for
10    repeat surgery, right?
11         A     Yes.
12         Q     You're aware of the risk of dyspareunia,
13    right?
14         A     Yes.
15         Q     You didn't need Coloplast's instruction or
16    warning to tell you that, did you?
17         A     No.
18         Q     Okay.   You were also aware of the FDA notices
19    regarding surgeries with pelvic mesh in 2008 and 2011?
20         A     Yes.
21         Q     Okay.   You didn't need Coloplast to repeat
22    those things to you, did you?
23         A     No.
24         Q     Finally, did you -- the brochures that you
25    brought with you as Exhibit 2, did -- were those


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 124 of 170 PageID
                                   18746

                                                               Page 123
 1    provided to Ms. Bayless?
 2         A     I'm not sure if that specific brochure was

 3    provided, but I had my own specific laminated documents

 4    from the FDA warning that I did review with the

 5    patient.

 6         Q     Okay.    So you had an additional warning -- in
 7    fact, a laminated paper that you would go through with
 8    each of your patients for whom you recommended pelvic
 9    surgery?
10         A     Specifically if they were gonna need some type

11    of synthetic mesh, yes.

12         Q     Okay.    And you did that with Ms. Bayless?
13         A     Yes.

14               MS. SHUB:    I'll pass the witness.

15                           CROSS EXAMINATION

16    BY MR. SCOGGAN:

17         Q     Dr. Jones, do you need to take a break or --
18         A     No.    I'm good.

19         Q     Okay.    My name is Steven Scoggan.       I'm an
20    attorney from North Carolina, and I represent Boston
21    Scientific Corporation.       I'll -- I've got a few
22    questions for you, okay?
23         A     Yes.

24         Q     I would like to start -- now, you're -- you're
25    a urogynecologist, correct?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 125 of 170 PageID
                                   18747

                                                               Page 124
 1         A     Yes.
 2         Q     And you've practiced in that specialty, or in
 3    an OB/GYN practice, basically since residency --
 4    continuously?
 5         A     Yes.
 6         Q     And so, have you treated stress urinary
 7    incontinence that enter time?
 8         A     Yes.
 9         Q     And in your experience, does stress urinary
10    incontinence typically cause a negative impact on a
11    woman's quality of life?
12         A     It does.
13         Q     Can you tell -- give me some examples of how
14    that's the case?
15         A     Embarrassment, having to take frequent trips
16    to the bathroom, cost of incontinence pads, fear of
17    urine odor.      Those are usually the most common things
18    that patients will complain.
19         Q     Does stress urinary incontinence typically
20    improve without any sort of treatment?
21         A     No.
22         Q     Does it usually get worse over time?
23         A     It can.
24         Q     And what are the treatments that you use,
25    currently, for stress urinary incontinence?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 126 of 170 PageID
                                   18748

                                                               Page 125
 1         A     For primary stress urinary incontinence with

 2    no -- well, even with those patients who have

 3    overactive bladder components, the gold standard is

 4    considered a mid urethral sling.         There are some other

 5    modalities that are available, which include bulking

 6    agents, as well as pessaries, and also physical

 7    therapy.

 8               So I went from the most invasive to the least

 9    invasive in that description.

10         Q     Okay.   And you mentioned that mid urethral
11    slings are the gold standard treatment; is that --
12         A     Yes.

13         Q     -- is that right?
14         A     Yes.

15         Q     And did you believe that in August of 2013?
16         A     Yes.

17         Q     And do you consider mid urethral polypropylene
18    mesh slings to be a safe and effective treatment option
19    for stress urinary incontinence?
20         A     Yes.

21         Q     And do you know what -- what types of slings
22    you currently use to treat stress urinary incontinence?
23         A     I have used, in my career, the first

24    generation retropubic.       I have used transobturator

25    slings.    And I've also used what they call mini-slings,


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 127 of 170 PageID
                                   18749

                                                               Page 126
 1    which is now the third generation.         Specifically, now,

 2    what I use more often is a retropubic sling.

 3         Q     And -- now, in August of 2013, did you feel
 4    that Boston Scientific's Advantage Fit sling was an
 5    appropriate treatment option for Ms. Bayless?
 6         A     Yes.

 7         Q     And I think earlier you mentioned that you've
 8    implanted around 500 slings; was that accurate?
 9         A     Yes.

10         Q     And do you track your complication rate?
11         A     I do.

12         Q     Do you know what your complication rate is for
13    polypropylene mesh slings?
14         A     With respect to voiding dysfunction, or mesh

15    exposure, or pain?

16         Q     All of the above.
17         A     All of those?     I have had to -- I would say I

18    have had a complication rate with my slings that runs

19    anywhere from 3 to 5 percent.        That would incorporate

20    all complications, including mesh exposures, voiding

21    dysfunction, pain.

22         Q     Do you know how many Advantage Fit slings
23    you've implanted out of those 500?
24         A     No, I do not.

25         Q     And there are risks in transvaginal placement


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 128 of 170 PageID
                                   18750

                                                               Page 127
 1    of a polypropylene mesh sling, correct?
 2         A     Yes, there are.

 3         Q     And you educate -- as a surgeon who implants
 4    those -- those slings, how do you educate yourself
 5    about those risks?
 6         A     How -- how have I educated myself?

 7         Q     Yes, ma'am.
 8         A     Well, in the past, I actually was a -- what's

 9    the word they used?      I used to teach surgeons how to

10    actually put the slings in, so -- but I also attend my

11    society meetings where we discuss different

12    technologies and how things have changed over years as

13    far as complication rates with the products that we use

14    most commonly.

15         Q     And so, that -- that would include, like,
16    continuing medical education?
17         A     Yes.

18         Q     Discussion with your -- your other practicing
19    urogynecologists and OB/GYNs?
20         A     Yes.

21         Q     And certainly, your -- your past experience
22    and your residency training would be another source,
23    correct?
24         A     Yes.

25         Q     Now, earlier you were talking about the unique


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 129 of 170 PageID
                                   18751

                                                               Page 128
 1    possible complications of mesh.         And you mentioned
 2    erosure (sic) -- exposure or erosion of mesh, right?
 3         A     Yes.

 4         Q     And you testified that that's the only
 5    complication that's unique to mesh, correct?
 6         A     Correct, yes.

 7         Q     And is that for both slings and pelvic organ
 8    prolapse repair kits?
 9         A     Yes.

10         Q     And some of the other possible complications
11    of female pelvic reconstructive surgery would be pain,
12    infection, failure of the procedure, reoccurring
13    incontinence, urinary retention, and bleeding, correct?
14         A     Yes.

15         Q     And were you aware of all of those risks in
16    August of 2013?
17         A     Yes.

18         Q     Were you aware in August of 2013 that pain
19    with intercourse could be a possible complication of
20    the surgery of the type that Ms. Bayless had?
21         A     Yes.

22         Q     And as part of your informed consent
23    discussions with Ms. Bayless, you would have talked
24    with her about those risks before she agreed to have
25    the procedure, correct?


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 130 of 170 PageID
                                   18752

                                                               Page 129
 1         A     Yes.
 2         Q     And we've talked a lot about that process
 3    already, so I'm not gonna delve into it again.
 4               Doctor, can you take a look at, I think,
 5    Exhibit 2, which are the records that you brought from
 6    your office for me.
 7         A     This is --
 8               MS. SHUB:    It's 1.
 9               THE WITNESS:     -- Exhibit 1.
10               MR. SCOGGAN:     It's 1?    Okay.    Exhibit 1.
11         Thank you.
12    MR. SCOGGAN:
13         Q     I think there's a March 21st, 2013 visit.
14    That's the visit I'd like to ask a couple of questions
15    about.    That's also Exhibit 10, if you -- if you want
16    to --
17         A     Let's see.     It may be easier to go back that
18    way.
19         Q     Yeah.   If you can find Exhibit 10.
20         A     Yes.
21         Q     Do you have it in front of you?
22         A     Yes, I do.
23         Q     All right.     So, if you'll look with me at
24    about the middle of that page; it says AP -- the
25    section -- the AP section.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 131 of 170 PageID
                                   18753

                                                               Page 130
 1         A     Yes.

 2         Q     It notes that Ms. Bayless had mixed urinary
 3    incontinence, and she was most bothered by SUI
 4    component.    Which I assume means stress urinary
 5    incontinence, correct?
 6         A     It does.

 7         Q     And so, does that indicate that Ms. Bayless
 8    expressed that the stress urinary incontinence was the
 9    most frustrating or troublesome aspect of her
10    incontinence symptoms --
11         A     Yes.

12         Q     -- before the -- before the surgery?
13         A     Yes.

14         Q     And she wanted treatment for that condition,
15    correct?
16         A     Yes.

17         Q     And here, at the bottom of this note it says,
18    SUI component, options for treatment; gold standard,
19    mid urethral sling using mesh, correct?
20         A     Yes.

21         Q     And that's consistent with your testimony
22    earlier that mid urethral polypropylene mesh slings are
23    and were the gold standard treatment for stress urinary
24    incontinence, correct?
25         A     Yes.


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 132 of 170 PageID
                                   18754

                                                               Page 131
 1         Q     Now, you also mentioned bulking agents as
 2    another possible treatment, and physical therapy?
 3         A     Yes.

 4         Q     And would you have discussed those treatment
 5    options with Ms. Bayless before she had the surgery?
 6         A     Yes.

 7         Q     Do you have Exhibit 11 in front you, Doctor?
 8    I'll ask you a couple questions about that visit.
 9               So Exhibit 11, again, is a record --
10               (Interruption.)
11               COURT REPORTER:     Can you hear us?

12               MS. SHUB:     Mr. Haberman, are you there?

13               MR. SCOGGAN:     Let's -- let's go off for a

14         moment.

15               VIDEOGRAPHER:     Off the record.     The time is

16         12:05 p.m.

17               (Discussion off the record.)

18               VIDEOGRAPHER:     Back on the record.      12:05.

19               MS. SHUB:     Mr. Haberman, are you still there?

20               He's there.

21               MR. SCOGGAN:     Okay.   Great.

22    BY MR. SCOGGAN:

23         Q     All right, Doctor, I was gonna ask you a
24    couple of questions about the -- the final pre-surgical
25    visit that you had with Ms. Bayless, which was on May


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 133 of 170 PageID
                                   18755

                                                               Page 132
 1    28th, 2013.
 2               I think earlier you mentioned that you were
 3    aware of an FDA warning that came out in 2011 about
 4    polypropylene mesh, correct?
 5         A     Yes.

 6         Q     Would you have discussed that warning,
 7    specifically, with Ms. Bayless at this visit?
 8         A     Yes.

 9         Q     And if you will look at the third page of that
10    exhibit for me, Doctor.       Near the bottom, surgical
11    treatment for stress urinary incontinence is noted.
12    And it also reflects that you discussed some of the
13    other treatment options for stress urinary incontinence
14    at this visit, including bulking agents and
15    radiofrequency treatments; is that correct?
16         A     Yes.

17         Q     And after explaining those two alternative
18    treatments, and then physical therapy, which was
19    another treatment option you mentioned earlier, and the
20    sling procedure, and outlining the risks and benefits
21    of all those treatment options, Ms. Bayless asked you
22    to perform the surgical procedure where that Advantage
23    Fit sling would be implanted, correct?
24         A     Yes.

25         Q     And you told her that both of the mesh


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 134 of 170 PageID
                                   18756

                                                               Page 133
 1    devices, including the Advantage Fit sling would be
 2    permanently implanted, correct?
 3         A     Yes.

 4         Q     Would you have explained your history using
 5    mid urethral slings to her at that visit?
 6         A     Yes.

 7         Q     Would you have given her an opportunity to ask
 8    questions about that product, the sling, or your
 9    surgical history, or the surgery that she was going to
10    undergo at that visit?
11         A     Yes, I actually demonstrate.        I actually have

12    a sample of each of those products, which I actually

13    show and demonstrate to the patient during the

14    counseling session.

15         Q     And that would be both the Advantage Fit sling
16    and the Coloplast Y Mesh?
17         A     Yes.

18         Q     And so, you would have brought those out and
19    shown them to Ms. Bayless?
20         A     Yes.

21         Q     And do -- did you feel like Ms. Bayless
22    understood the risks of the procedure by the end of
23    this visit?
24         A     Yes.

25         Q     Do you --


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 135 of 170 PageID
                                   18757

                                                               Page 134
 1               MR. HABERMAN:     Objection; speculation.

 2               COURT REPORTER:     I'm sorry, I didn't hear you.

 3         Say that again.

 4               MR. HABERMAN:     Speculation.

 5               COURT REPORTER:     Thank you.

 6               MR. HABERMAN:     Speculation.

 7               COURT REPORTER:     Thank you.

 8    BY MR. SCOGGAN:

 9         Q      Did you feel like Ms. Bayless understood the
10    possible complications of the surgery, the sling, and
11    the -- the Coloplast product by the end of this visit?
12         A     Yes.

13         Q      Would you have scheduled the surgery if you
14    felt like she did not?
15         A     No.

16               MR. HABERMAN:     Objection.

17    BY MR. SCOGGAN:

18         Q      Doctor, do you have Exhibit 13 in front of
19    you?     It's the informed consent for the pelvic repair
20    surgery, generally.      It's a two-page consent form.
21                There are some stars that appear to have been
22    written by the -- by some of the bullet points in No. 5
23    there, that outlined the risks.         Who made those
24    notations?
25         A     I did.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 136 of 170 PageID
                                   18758

                                                               Page 135
 1         Q     And does that reflect that you actually walked
 2    through this form, line by line, with Ms. Bayless --
 3         A     Yes.

 4         Q     -- before you let her sign it?
 5         A     Yes.

 6         Q     Will you look at item No. 7, which is on the
 7    second page of that form for me, Doctor.
 8               So item No. 7 lists out, in concrete form,
 9    some of the alternatives to having the surgery and
10    receiving the two mesh products, correct?
11         A     Yes.

12         Q     And the first alternative is to do nothing,
13    and accept the consequences of the patient's condition,
14    correct?
15         A     Yes.

16         Q     And with respect to stress urinary
17    incontinence, you testified earlier that that is a
18    condition that generally does not got better without
19    treatment, correct?
20         A     Yes.

21         Q     The second option mentioned is pessaries,
22    right?
23         A     Yes.

24         Q     And we talked about those already, so I won't
25    go into -- won't make you go through that again.             And


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 137 of 170 PageID
                                   18759

                                                               Page 136
 1    then, the last is -- is exercise.         Kegel exercises and
 2    vaginal weights, correct?
 3         A     Yes.

 4         Q     And those also would have been
 5    alternative -- alternative treatment options that you
 6    talked about with Ms. Bayless, correct?
 7         A     Yes.

 8         Q     And, now, down at the very bottom, it
 9    identifies the Coloplast Restorelle Y Mesh and the
10    Boston Scientific Advantage Fit sling as the specific
11    products that would be implanted in Ms. Bayless,
12    correct?
13         A     Yes.

14         Q     Doctor, I've handed you a document that's
15    marked as Exhibit 21.       And that is a -- one of the
16    consent forms that Ms. Bayless signed, correct?
17         A     Yes.

18         Q     And it is entitled Uro (sic) -- Urethrovesical
19    Suspension, and then has "sling" written in
20    parentheses --
21         A     Yes.

22         Q     -- next to it, correct?
23         A     Yes.

24         Q     And so, this would have been a consent form
25    that was specific to the sling aspect of the surgical


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 138 of 170 PageID
                                   18760

                                                               Page 137
 1    procedure that you were -- that you did perform on
 2    Ms. Bayless, correct?
 3         A     Correct.

 4         Q     Okay.   And the middle of the first paragraph
 5    says, It is possible that this operation will not help
 6    you control -- to control your urine.          It is even
 7    possible that you will be worse after the operation
 8    than you are right now.
 9               Did I read that correctly?
10         A     Yes.

11         Q     And then, there are some possible
12    complications listed on this form as well, correct?
13         A     Yes.

14         Q     And among others, they are bleeding,
15    infection, damage to the urinary system, repeated
16    urinary infections, correct?
17         A     Yes.

18         Q     And it looks like you drew a little -- there's
19    a -- there's some drawing down near the bottom,
20    correct?
21         A     Yes.

22         Q     Did you make that?
23         A     Yes.

24         Q     And so, there, were you drawing roughly where
25    the incisions would be for the surgery?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 139 of 170 PageID
                                   18761

                                                               Page 138
 1         A     Yes.

 2         Q     And so, you walked through, in detail, how the
 3    sling surgery would be performed with Ms. Bayless,
 4    correct?
 5         A     Yes.

 6         Q     And is that your signature at the bottom?
 7         A     It is.

 8         Q     And then, Ms. Bayless' signature as well?
 9         A     Yes.

10         Q     Doctor, earlier Ms. Bayless' attorney was
11    asking you some questions about -- that implied that
12    the polypropylene material may have been advised not to
13    be implanted in the human body.         Do you remember those
14    questions?
15         A     I remember the reference.

16         Q     Now, you understand that -- that pelvic floor
17    devices, such as the Coloplast product and the Boston
18    Scientific sling, are regulated by the FDA, correct?
19         A     Yes.

20         Q     And you understand that a medical device
21    manufacturer has to make certain showings to the FDA
22    before it can sell those devices for use?
23         A     Yes.

24         Q     And as a surgeon, you rely on the FDA to do
25    its job in that regard, correct?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 140 of 170 PageID
                                   18762

                                                               Page 139
 1         A     Yes.

 2         Q     And --
 3               MR. HABERMAN:     Objection.

 4    MR. SCOGGAN:

 5         Q     -- do you know what a material safety data
 6    sheet is?
 7         A     Not specifically, no.

 8         Q     Have you ever read a material safety data
 9    sheet to check on the composition of raw materials in
10    medical devices that you use?
11         A     No.

12         Q     Do you rely on the FDA, or other governmental
13    authorities, to ensure that proper materials are being
14    used in medical devices?
15         A     Yes.

16         Q     Do you have -- have you ever asked a medical
17    device manufacturer to provide you with a material
18    safety data sheet for the materials used in a device?
19         A     No, I have not.

20         Q     Do you have any personal knowledge about why a
21    supplier of raw materials might include statements or
22    restrictions on the use of its materials?
23         A     For a --

24         Q     For a medical device.
25         A     Only if they thought that it was going to be


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 141 of 170 PageID
                                   18763

                                                               Page 140
 1    unsafe.

 2         Q     Now, if the FDA inquired with Boston
 3    Scientific about any sort of cautionary statement in a
 4    material safety data sheet, and Boston Scientific
 5    provided information that satisfied the FDA that the
 6    product was safe and effective, would that satisfy any
 7    concerns you had about that statement?
 8         A     Yes.

 9               MR. HABERMAN:     Objection.

10    BY MR. SCOGGAN:

11         Q     And -- okay.     Would you like to know if the
12    manufacturer that made the cautionary statement had any
13    scientific basis for making it?
14         A     Yes.

15         Q     And if that manufacturer had no scientific
16    basis for making that statement, would you put any
17    stock in it in deciding whether to use the medical
18    device in which that polypropylene was used?
19         A     So if I understand you correctly --

20               MR. HABERMAN:     Objection.

21               THE WITNESS:     -- if there was no scientific

22         data to prove that the use of those raw materials

23         was unsafe, would I be comfortable with use of that

24         product?

25    BY MR. SCOGGAN:


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 142 of 170 PageID
                                   18764

                                                               Page 141
 1         Q     Correct.
 2         A     Yes.

 3         Q     Before today's deposition, did any attorney --
 4    any attorney representing Ms. Bayless contact you, at
 5    all, other than to schedule the deposition?
 6         A     No.

 7         Q     Have you discussed Ms. Bayless' lawsuit             with
 8    -- with Ms. Bayless or anyone from her family?
 9         A     No.

10         Q     Have you spoken to or communicated with anyone
11    who you understand is a consultant, or an expert
12    witness, for Ms. Bayless or her attorneys?
13         A     No.

14         Q     Have you ever served as an expert witness or
15    consultant for, generally, vaginal mesh litigation?
16         A     I have.

17         Q     Tell me more about that.
18         A     I was asked to review some cases to see if

19    there was an issue with the product, or product design,

20    as opposed to a surgical inconsistency, or surgeon

21    technique, in reference to how a complication occurred.

22         Q     When was that?
23         A     That was approximately -- I would say two and

24    a half, three years ago.

25         Q     Was it -- who hired you?


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 143 of 170 PageID
                                   18765

                                                               Page 142
 1         A       Who hired me?

 2         Q       Yes, ma'am.
 3                 MS. SHUB:    If you can say.

 4    BY MR. SCOGGAN:

 5         Q       If you can say.
 6                 MS. SHUB:    I don't -- I don't know if you can

 7         say if you weren't disclosed.

 8                 MR. SCOGGAN:    Yeah.   Well --

 9                 THE WITNESS:    I would probably not want to say

10         that.

11    BY MR. SCOGGAN:

12         Q       Let me -- did you testify in court or in a
13    deposition --
14               MR. HABERMAN:      That (unintelligible) -- that's

15         not -- that's not accurate.

16               COURT REPORTER:     Hold on.

17               MR. HABERMAN:      She can -- no, no, no, that's

18         not accurate.       That's improper.    She can say who

19         hired her.    Who -- who gave her a case to consult.

20               MS. SHUB:      If she was --

21               COURT REPORTER:     Hang on --

22               MR. SCOGGAN:      Counsel, let me -- let me ask it

23         this way.    It's my opportunity to ask questions

24         right now, so --

25    BY MR. SCOGGAN:


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 144 of 170 PageID
                                   18766

                                                               Page 143
 1         Q     Doctor, did you ever testify in a deposition
 2    or in a courtroom in connection with that work?
 3         A     No.

 4         Q     Okay.   I don't have any further questions.
 5                           REDIRECT EXAMINATION
 6    BY MR. HABERMAN:

 7         Q     Doctor, I have a couple follow-ups.          Was it --
 8    when you reviewed that case, did you review it on
 9    behalf of a medical device manufacturer?
10         A     No.

11         Q     Was it on behalf of a plaintiff?
12         A     Yes.

13         Q     Were you able to give an opinion in that
14    matter?
15         A     I -- there were five cases that I reviewed, so

16    I gave an opinion on all of those.

17         Q     And in all of those cases did you say that the
18    mesh, more likely than not, caused the pain that the
19    plaintiff had?
20               MS. SHUB:    Objection; form.

21               THE WITNESS:     Each case was -- was different.

22         The complication for each case was different.             The

23         question was whether the complication was a result

24         of a design flaw with the -- the mesh that was

25         used, as opposed to some other contributing factor.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 145 of 170 PageID
                                   18767

                                                               Page 144
 1    BY MR. HABERMAN:

 2         Q     And were you able to give opinions in all five
 3    cases?
 4         A     I was.

 5         Q     Were you able to say, in all five cases, that
 6    the pain that -- or any of the adverse events that the
 7    plaintiff was claiming, was a result of, or was caused
 8    by, or substantially -- that the -- that the cause
 9    was -- or the substantial contributing cause was the
10    mesh?
11               MR. SCOGGAN:     Objection.

12               MS. SHUB:    Objection; form.

13               THE WITNESS:     Of the five cases -- one, I

14         concluded that there was a possibility of the

15         design flaw.

16    BY MR. HABERMAN:

17         Q     And in that one case, was there an erosion or
18    exposure of the mesh?
19         A     No.

20         Q     Okay.     Thank you.
21                           RECROSS EXAMINATION
22    BY MS. SHUB:

23         Q     Dr. Jones, I have just a few questions.
24         A     Um-hmm.

25         Q     Counsel took -- we took you through a lot of


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 146 of 170 PageID
                                   18768

                                                               Page 145
 1    consents today.      I didn't ask you about your signature.
 2    If your -- if your name is handwritten on those consent
 3    forms, is that your signature?
 4         A     May I review those?

 5         Q     Yes, absolutely.
 6         A     In reference to the consent that says

 7    Urethrovesical Suspension, this is my signature.

 8         Q     Um-hmm.
 9         A     This particular consent form does not require

10    the surgeon's signature, so it does not have my

11    signature, but this is my handwriting.

12         Q     Okay.
13         A     The hysterectomy does have a physician line,

14    which is my signature.       And this is also my

15    handwriting.

16         Q     That's Exhibit 12?
17         A     Yes.

18         Q     Okay.
19         A     There is one other component of this.          The

20    cystocele and the -- the graft.

21         Q     It may be in that next stack.
22         A     So, for the anterior cystocele repair, this is

23    my signature.      For the consent graft, yes, this is my

24    circle, my star, and my signature.

25         Q     Great.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 147 of 170 PageID
                                   18769

                                                               Page 146
 1               Real quickly, Restorelle Y surgical mesh has
 2    not been recalled, has it?
 3         A     Not to my knowledge.

 4         Q     Okay.   In fact, do you believe that Restorelle
 5    Y surgical implants are safe and effective treatment
 6    for prolapse repair in an appropriate patient?
 7         A     Yes.

 8         Q     In fact, would you still --
 9               MR. HABERMAN:     Objection.

10    BY MS. SHUB:

11         Q     Would you still use --
12               MR. HABERMAN:     Out of scope.

13    BY MS. SHUB:

14         Q     -- Restorelle Y in an appropriate patient
15    today?
16         A     Yes.

17         Q     Do -- are you still -- when is the last time
18    you implanted a Restorelle Y?
19         A     Probably six months ago.

20         Q     Okay.   And as -- do you have any -- if -- if a
21    patient came in today, who needed one, and needed an
22    augmented repair, might you still use the Restorelle Y?
23         A     Yes.

24         Q     And we're sitting here -- what day is today?
25               MR. SCOGGAN:     September 12th.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 148 of 170 PageID
                                   18770

                                                               Page 147
 1    BY MS. SHUB:

 2         Q     September 12th in 2018.       This is roughly five
 3    years after the surgery on Ms. Bayless in 2013?
 4         A     Yes.

 5         Q     In patients where you have used Restorelle Y,
 6    has it helped your patients?
 7         A     Yes.

 8         Q     Okay.   Has it helped -- strike that.
 9               MS. SHUB:    Pass the witness.

10               MR. SCOGGAN:     No questions.     No questions.

11               MR. HABERMAN:     No questions.

12               MR. SCOGGAN:     So I think we're done.

13               MR. HABERMAN:     Okay.   Yeah, we're done.

14               MS. SHUB:    Oh, one question.      Are you going to

15         want to read and sign?

16               THE WITNESS:     Yes.

17               MS. SHUB:    Okay.   And the only other thing I

18         would ask is, you mentioned you had some additional

19         records that pertained to Ms. Bayless that may be

20         on another system; when -- if --

21               THE WITNESS:     You actually have these.

22               MS. SHUB:    Okay.

23               THE WITNESS:     That's -- where it specifically

24         says Orlando Urogynecology --

25               MS. SHUB:    Okay.


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 149 of 170 PageID
                                   18771

                                                               Page 148
 1               THE WITNESS:     -- this is the system that I was

 2         referring to.

 3               MS. SHUB:    Okay.      Okay.   I was just gonna say,

 4         if you knew if there were any, if at the time you

 5         returned your deposition, if you could include any

 6         additional records you're aware of.

 7               THE WITNESS:     No, I just didn't bring that

 8         with my -- my set.

 9               MS. SHUB:    Okay.      So you think we've got

10         everything?

11               THE WITNESS:     Yes.

12               MS. SHUB:    All right.

13               VIDEOGRAPHER:     This concludes today's

14         deposition.    The time is 12:25 p.m.       Off the

15         record.

16               (Exhibit Nos. 4 through 21 were

17                marked for Identification.)

18               (This deposition was concluded at

19                12:25 p.m., and the witness reserved

20                her right to read and sign her deposition

21                transcript.)

22                                - - - - -

23

24

25


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 150 of 170 PageID
                                   18772

                                                               Page 149
 1                          CERTIFICATE OF OATH
 2
      STATE OF FLORIDA:
 3    COUNTY OF ORANGE:
 4        I, the undersigned authority, certify that KATHY Y.
      JONES, M.D. personally appeared before me and was duly
 5    sworn on September 12, 2018.
 6        WITNESS my hand and official seal this 18th day of
      September, 2018.
 7
 8
 9
                                  /s/ Patricia Eldridge
10                                ------------------------------
                                  Patricia Eldridge
11                                Notary Public-State of Florida
                                  My Commission No.: FF 924241
12                                Expires: October 18, 2019
13
14
15
16
17
18
19
20
21
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25


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                                                                4aaf992d-6292-46e6-a1cb-55dd6a416872
Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 151 of 170 PageID
                                   18773

                                                               Page 150
 1                       CERTIFICATE OF REPORTER
 2
      STATE OF FLORIDA:
 3    COUNTY OF ORANGE:
 4        I, PATRICIA ELDRIDGE, being a Court Reporter and
      Notary Public, certify that I was authorized to and did
 5    stenographically report the deposition of KATHY Y.
      JONES, M.D.; that a review of the transcript was
 6    requested; and that the transcript is a true and
      complete record of my stenographic notes.
 7
          I further certify that I am not a relative,
 8    employee, attorney, or counsel of any of the parties,
      nor am I a relative or employee of any of the parties'
 9    attorneys or counsel connected with the action, nor am
      I financially interested in the action.
10
           DATED this 18th day of September, 2018.
11
12
13
14                                /s/ Patricia Eldridge
                                  ------------------------------
15                                Patricia Eldridge
                                  Notary Public-State of Florida
16                                My Commission No.: FF 924241
                                  Expires: October 18, 2019
17
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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 152 of 170 PageID
                                   18774

                                                               Page 151
 1                       SUBSCRIPTION OF DEPONENT
 2            Raeann Bayless vs. Boston Scientific Corp.
 3             Date of Deposition:       September 12, 2018
 4             I, KATHY Y. JONES, M.D., do hereby certify
      that I have, this day, exercised my express right to
 5    read and sign this true and correct record of the
      proceedings, had at the time and place herein
 6    designated, with the following corrections:
 7    Page   Line                          Correction
 8
 9
10
11
12
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18
19
20
21             Under the penalties of perjury, I declare that
      I have read my deposition and that it is true and
22    correct subject to any changes in form or substance
      entered here.
23
24
      ______________________                  ___________________
25    KATHY Y. JONES, M.D.                    DATE


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Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 153 of 170 PageID
                                   18775

                                                               Page 152
 1    SEPTEMBER 18, 2018
 2    KATHY Y. JONES, M.D.
      Orlando Urogynecology
 3    2501 North Orange Avenue, Suite 309
      Orlando, Florida 32804
 4
      Re:   Raeann Bayless vs. Boston Scientific Corp.
 5
      Dear Dr. Jones:
 6
      Attached you will find a courtesy copy of your
 7    deposition transcript taken on September 12, 2018, by
      Jeffrey L. Haberman, Esquire.
 8
      Please read   your copy of the deposition, making any
 9    corrections   only on the subscription page. Upon
      completion,   sign at the bottom of the subscription page
10    on the line   provided.
11    Please forward the original, signed subscription page
      to United Reporting, Inc.
12
      If you do not complete the reading and signing within
13    30 days, your transcript will be processed without a
      signed errata sheet.
14
      Your prompt attention to this matter is appreciated.
15
      Sincerely,
16
      Patricia Eldridge, Court Reporter
17
      United Reporting, Inc.
18    1218 S.E. 3rd Avenue
      Ft. Lauderdale, FL 33316
19
      954-525-2221
20    954-525-0511 (fax)
21    transcripts@unitedreporting.net
22    cc:   Jeffrey L. Haberman, Esquire
            Lisa Horvath Shub, Esquire
23          Steven A. Scoggan, Esquire
24
25


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    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 154 of 170 PageID
                                       18776
                                                                                                     Page 153

           A            addressed 31:23          97:13                assistant 73:16          132:3 148:6
a.m 1:15 5:6,12 55:1      33:14 79:16          answered 36:7          associated 10:21 11:6
                        addresses 96:17        anterior 4:5 97:24       11:11 12:10 14:2,8             B
  55:4,20,23 85:7
abdominal 31:18,19      adhesion 103:18          110:1,14,24 111:3      14:11,13 19:15        B 56:4
  45:14 69:18,22        adhesions 103:16,20      111:6 145:22           20:23 22:8 32:17      Ba 26:16 64:7
  70:5 72:12 77:14        103:21,25 104:11     anticipate 38:9          32:23 33:23 40:21     babies 58:1
  77:18 78:1 80:11      adhesive 103:22        AP 129:24,25             41:17 46:18 51:19     baby 57:13,14,16
  82:3 90:8,25 91:7,8   admit 62:24            apex 63:23 109:1,3       52:11 78:4            back 11:21 29:22
  91:10,11 103:1        Advantage 19:11,12       111:14 120:9         assume 49:24 112:22       33:6 42:22 53:19
  104:2 112:17            37:21 45:16 126:4    apical 117:13            118:21 130:4            55:3,6,22 85:4,9
abdominally-placed        126:22 132:22        apologize 57:11        Assumes 44:24             109:20 115:4
  21:13 38:18             133:1,15 136:10        108:13               assuming 44:16            118:15 119:1,8,12
ability 30:9 59:22      adverse 144:6          appear 102:3,13        Atlanta 2:13              129:17 131:18
  83:20                 advise 65:8              114:17 117:19        attached 108:16         background 7:23
able 18:12 25:22 38:5   advised 26:22 32:9       134:21                 152:6                   58:10
  38:7 53:11,23           138:12               appearances 5:24       attend 7:24 8:1,7,10    bacteria 88:11
  83:24 84:1 97:13      advises 94:1 102:6     appeared 114:20          127:10                bacterial 88:9,10,13
  143:13 144:2,5        affect 26:24 32:9        149:4                attention 25:8 152:14     104:25
abnormal 23:8 33:24       55:13 61:3           Appearing 2:5,10,14    attorney 123:20         bad 122:4
  34:2 103:19           affiliated 56:16         2:19                   138:10 141:3,4        ballpark 81:25
absolute 44:14          affirm 6:16            appears 67:6 103:9       150:8                 Based 69:23
absolutely 35:2 145:5   afterward 8:16         application 108:23     attorneys 141:12        basically 124:3
absorbable 106:11       agents 125:6 131:1       111:4                  150:9                 basis 79:1,2,4 140:13
abuse 61:10               132:14               applications 43:12     audible 112:7             140:16
abuser 61:13            ago 17:7 21:16 80:16     44:7                 augmentation 4:6        Bates 56:1 62:19 87:7
abusing 71:5              121:25 141:24        appointments 48:20       95:13,15 98:15,23       87:8 93:6 94:16
accept 135:13             146:19               appreciated 152:14       99:1                    101:17 102:11
access 56:17 91:4       agree 15:15,18 51:13   approach 31:18,18      augmented 146:22          110:5 112:5 113:2
accommodate 39:2          51:25 52:3 78:21       31:20 77:3,14,18     August 28:14 29:1,24      113:17 114:15
  83:25                   78:22 80:11 81:4,6   approaches 77:23         30:15 31:3 45:10        117:8
accurate 27:12 55:10    agreed 128:24          appropriate 126:5        47:24 48:16,23        bathroom 124:16
  62:15 67:23 68:4,8    ahead 62:17 74:13        146:6,14               73:4,13 74:14,25      Bayless 1:8 2:5 5:17
  126:8 142:15,18         84:21                approximately 21:15      102:21,22 125:15        10:21 25:9,13,20
achieved 84:8           alike 81:4               28:2 72:1 94:13        126:3 128:16,18         25:25 26:14 27:2,9
action 150:9,9          allotted 42:16           106:12 110:17        Austin 2:8                28:21 29:3,22,24
active 63:4 74:12       allow 18:10,11 82:20     141:23               authorities 139:13        30:17,20 31:2
actively 71:4           allowed 53:10          area 7:17 12:8 18:12   authority 149:4           39:17 44:11 45:9
activity 28:2 58:25     allows 56:17             22:22 23:1 104:21    authorized 150:4          45:17,20 47:19
  59:6 72:1,4 94:9      alluded 43:8             114:22               available 10:11 17:10     56:8 57:20 60:9
  117:23                alternative 132:17     areas 9:17 25:6          17:12 18:2 19:6         61:12,16,24 62:24
actual 14:18 17:23        135:12 136:5,5       asked 15:12 26:21        20:22 21:20 80:16       64:3,6 65:1 66:13
  18:7 35:20 37:1       alternatives 96:18       30:4 86:15 132:21      80:17 82:17 92:15       70:21 73:24 76:3
  38:25 41:17 47:1        135:9                  139:16 141:18          111:4 125:5             76:23 77:9,22
  73:15 91:21 109:2     amount 36:4 43:9       asking 15:10 16:25     Avenue 2:3 7:7 152:3      80:21 81:10 82:2
acute 112:11            analysis 55:14           19:25 36:16 38:1       152:18                  83:14 85:12,19
addition 34:18            107:18                 39:22 47:11 58:9     average 21:24             87:14,23 92:21
additional 94:15        analyze 83:8             104:19 109:6         avoid 27:21               93:8 97:2,9 99:13
  113:19 123:6          and/or 4:5 14:9 24:8     138:11               aware 23:5 35:3 36:5      99:18 100:25 101:2
  147:18 148:6            94:22 97:24          aspect 10:8 130:9        57:23 60:10 89:9        101:10 102:11
address 7:6 100:4       Andie 73:15              136:25                 102:6 106:21            103:15,24 112:11
  105:9                 answer 35:8 36:20      assistance 31:20         107:22 122:6,9,12       112:21 113:22
                          37:5 39:22 53:7        77:19                  122:18 128:15,18        114:1,4,9,13


                                       United Reporting, Inc.
                                            954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 155 of 170 PageID
                                       18777
                                                                                                    Page 154

  115:22 116:1            117:12 138:13        business 7:6 72:25    Center 8:22 9:6         closing 106:8
  117:15 118:7,22       bold 115:20,20          73:11                centimeters 110:18      closure 106:18,19,22
  119:1,4,11,15,19        117:12               busy 11:24            central 117:13            106:25 107:7,11,19
  120:2,8,16 121:21     bolded 116:3           button 109:22         certain 22:22 36:4,5      107:19 108:1,25
  123:1,12 126:5        Bookbinder 2:22                                37:3 43:9 53:14         109:5,9
  128:20,23 130:2,7       5:23                            C            69:2 107:23 138:21    clots 96:16
  131:5,25 132:7,21     born 57:13             C 2:1 87:8            certainly 44:1,2        CME 13:13
  133:19,21 134:9       Boston 1:4,9 2:20      C-section 31:19         127:21                coaptation 30:9
  135:2 136:6,11,16       3:17 5:17 6:13         77:17               CERTIFICATE 3:9         cocaine 61:3,8,17,20
  137:2 138:3,8,10        19:11 24:14 37:22    cadaveric 24:1,4        3:10 149:1 150:1        63:2 65:12,12,17
  141:4,7,8,12 147:3      39:15 40:5 41:11     call 10:12 17:22 30:9 certification 9:19        71:2,2,3 120:24
  147:19 151:2 152:4      44:6 45:24 49:24       46:6 56:12 106:11   certified 9:15          code 74:5
bear 44:4,21              54:15 97:7 121:7       125:25              certify 149:4 150:4,7   COL 56:1 101:17
began 103:10              123:20 126:4         called 8:11 14:5 19:4   151:4                   112:5 113:2
beginning 5:6 110:8       136:10 138:17          23:11,21 27:7       cervicitis 112:12,19    COL-RBAYLESS-...
behalf 2:5,10,14,19       140:2,4 151:2          35:18 52:3 75:2     cervix 63:24 93:2         87:9 93:6 94:17
  5:3 6:2,4,11,12         152:4                  96:11 106:2         cessation 70:25 71:3      102:11 114:16
  13:8 143:9,11         bothered 130:3         calls 82:23 83:2,5    chains 56:16            COL-RBAYLESS-...
believe 21:23 23:22     bothersome 27:17       candidate 28:21 29:3 chance 113:23              73:7
  24:23 34:19 56:15       70:2                   29:5                change 17:11 36:9,11    COL-RBAYLESS-...
  77:5 107:23 122:1     bottom 56:1 76:24      candidiasis 88:15,17    36:18 40:20,24,25       62:19
  125:15 146:4            97:5 110:6 113:18    care 25:9 56:18 67:12   41:2,16,21 42:9       collapse 30:10
bending 72:7              130:17 132:10          80:9,12 90:17         84:21 85:10 107:18    college 7:24 8:1,7
beneath 64:12             136:8 137:19 138:6     113:19 119:12       changed 34:9 127:12     Colo 121:16
benefits 31:25 33:3       152:9                career 21:6 29:20     changes 35:9 36:17      colon 104:8
  33:21 34:4,5,7,20     bouts 104:14             125:23                37:18 39:2 40:18      Coloplast 2:10,15
  77:22,25 85:15,18     bowel 27:16 33:25      Carolina 2:18 123:20    151:22                  3:17 6:11 10:25
  91:6,9,23 132:20        86:2                 cascade 35:16,16      characteristics 40:3      11:14 24:18 41:11
better 9:21 16:21       Bowman 8:11            case 1:10 5:16,17       80:18 82:13 103:11      45:24 54:15 97:6
  47:14 64:17 66:23     box 10:12                20:9 22:4 37:21     characterized 16:18       121:17 122:2,21
  88:19 135:18          break 13:1 51:1 55:2     38:24 45:20,20      Charleston 1:2 5:20       133:16 134:11
bigger 62:22              55:21 84:23 85:3       47:17 79:11 124:14 chart 48:12                136:9 138:17
bio 51:1                  85:10 123:17           142:19 143:8,21,22 check 10:19 103:6        Coloplast's 122:15
biologic 99:4,8         brief 85:10 121:13       144:17                139:9                 colorectal 12:11
birth 7:4 57:25         briefly 10:3 71:25     cases 15:16 21:24     Chemistry 8:6           colpopexy 12:12 19:7
bit 19:18 21:2 53:20      121:2                  141:18 143:15,17    chief 25:17 87:23         19:15 38:24 45:15
  53:21                 bring 10:13,16 12:23     144:3,5,13          childbearing 32:3         78:1,2 80:12 82:3
black 10:12               148:7                category 19:13        childbirth 57:3,7         90:8,25 91:1 103:1
bladder 9:14 27:21      broad 57:10,11         causation 36:18       childbirths 57:6          105:8 107:17 109:1
  30:2,7,8 34:1 63:22   broader 95:4             44:14               choosing 32:16            111:19
  64:12 75:5 86:3       brochure 123:2         cause 16:12,22 23:14 chose 90:22              colporrhaphy 4:5
  103:6 125:3           brochures 3:17 10:24     36:23 43:7,9 46:11 chosen 91:1                97:24 98:14
bleeding 22:8 26:4,6      11:14 54:13 122:24     57:3 72:11 112:19   chronic 22:7 112:11     Columbia 8:20
  31:5 32:22 52:10      brought 10:17,18,20      124:10 144:8,9      circle 145:24           combined 12:11,13
  62:5 78:5 85:22         10:24 11:14 54:13    caused 37:4 80:22     circled 99:15             16:19 18:4 32:1
  128:13 137:14           122:25 129:5           143:18 144:7        circling 99:17            79:9 95:10,11
blood 96:15               133:18               causes 36:13 38:10    claiming 144:7          come 14:17 17:8
blurred 69:6,12,13      Bukkapatnam 3:20       causing 17:2 104:15   clear 11:6 50:8 53:21     42:22 99:3 119:1
board 9:15,19             56:3                 cautionary 140:3,12     54:12                 comfortable 32:16
boat 49:25              bulking 125:5 131:1    cc 152:22             clearly 53:20             87:1 140:23
body 18:14 35:17,18       132:14               cell 50:2             close 21:8 29:20        coming 30:22
  43:8,13,14 44:8,9     bullet 134:22          cells 18:12           closed 106:4,15         comma 68:5


                                      United Reporting, Inc.
                                           954.525.2221
   Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 156 of 170 PageID
                                      18778
                                                                                                     Page 155

Commission 149:11        125:3                  125:17               converted 48:13           150:8,9
  150:16               composite 63:25        considered 28:6        convey 113:25 114:4     counseled 49:14
commitment 60:4        composition 139:9        125:4                copy 152:6,8            counseling 60:17
common 34:3 57:3       concept 33:8           consistent 26:16       corollaries 97:14         72:18,19 133:14
  124:17               concern 25:1 59:21       27:12 64:8 68:5      Corp 1:4,9 2:10,15      Counselor 58:14
commonly 127:14          68:7,11                130:21                 2:20 5:18 151:2       County 56:12,13
communicated           concerned 30:7         constipation 12:14       152:4                   149:3 150:3
  141:10                 59:21                  27:19 70:10          Corporation 123:21      couple 42:17 53:18
companies 25:2,5       concerns 68:18         constitutes 57:16      correct 24:13 51:18       74:22 87:5 100:24
  45:23                  107:13 140:7         consult 24:20 62:18      52:18 54:9,17           129:14 131:8,24
company 24:2,3         concluded 144:14         142:19                 59:13,16 62:16          143:7
  43:11 121:17           148:18               consultant 141:11,15     63:14,17 64:10,15     course 25:10 75:9
complain 26:1,4,6,9    concludes 85:1         consultation 25:13       66:6,10 67:21           104:9
  31:2 124:18            148:13                 87:14                  68:10,21 69:4,16      court 1:1 5:7,19,21
complaining 119:19     concomitant 107:4      consulted 23:15 67:6     70:7,9,11 71:1,12       6:3,6,15 11:18 13:5
  120:2                  107:17               consulting 24:14,17      71:14 72:16 73:2        53:22 54:3,20
complaint 25:17        concrete 135:8           24:22                  73:18,22 75:14          58:19 69:10 83:4
  30:20 115:21         condition 16:24        cont'd 4:1               77:1,15 79:22,24        95:14 107:9 131:11
complaints 26:3          27:10 46:20 64:16    contact 43:14 44:8       79:25 80:10,19,22       134:2,5,7 142:12
  30:21 87:23            80:9 130:14 135:13     141:4                  80:25 81:2 82:21        142:16,21 150:4
complete 26:21 62:15     135:18               contained 93:23          84:10 85:12,16          152:16
  111:19 150:6         conditions 16:2        contains 73:20           88:5 89:17 90:18      courtesy 152:6
  152:12                 33:14 57:3,6 69:2    contents 97:16           95:2 98:15 100:6      courtroom 143:2
completed 8:19           88:24                context 13:11            103:2,2,8 105:12      cow 99:2
  28:25 32:2           conducted 82:2         continue 120:13          105:23 109:11,17      crack 61:8,17,20
completely 25:7        conference 2:5         continued 52:10          111:13 113:14           65:12,17 71:2
  120:14               confirm 110:23           120:10                 116:23 123:25           120:24
completion 28:19       confirmed 28:15        continues 120:23         127:1,23 128:5,6      cramps 69:18,22
  152:9                conflict 121:6         continuing 13:13,14      128:13,25 130:5,15      70:6
compliance 52:25       connected 150:9          127:16                 130:19,24 132:4,15    creams 88:22
complicated 51:12      connection 34:9        continuously 124:4       132:23 133:2          created 102:16
complication 14:16       103:19 143:2         contract 35:23,25        135:10,14,19 136:2      110:10
  47:6,13 98:11        consent 4:3,4,6,7,12     36:8 37:2 56:13        136:6,12,16,22        criteria 28:18
  126:10,12,18           33:8 92:10,12,17     contraction 36:14        137:2,3,12,16,20      Cross 3:5,6 51:4
  127:13 128:5,19        93:5,8,10,12,15,23   contracts 35:11 36:2     138:4,18,25 141:1       123:15
  141:21 143:22,23       94:1,8,16,18,21        36:6 37:4              151:5,22              crucial 60:3
complications 14:2,8     95:6,9,12 96:6,17    contracture 37:1       corrected 71:18         cuff 106:2,4,8 107:12
  14:11,13,15 41:5       96:21 97:12,22         38:10                correction 27:25          110:10 119:16
  41:25 42:10 45:17      98:22,23 99:12,18    contribute 16:6,23       71:16,20 151:7        cure 80:1
  46:11,18 47:4          100:3,21 101:14,18     26:23 57:6 65:13     corrections 151:6       current 62:24 75:10
  51:20,23 52:9,21       101:25 102:5           65:17                  152:9                   80:18 89:12
  52:23 53:5,17          128:22 134:19,20     contributed 65:9       correctly 22:19 36:16   currently 124:25
  90:19 94:2 98:5,8      136:16,24 145:2,6    contributing 36:18       110:11,20 137:9         125:22
  105:16,18 126:20       145:9,23               143:25 144:9           140:19                curvatures 38:22
  128:1,10 134:10      consent's 95:4         contributor 17:15      cosmetic 28:6           curve 28:16
  137:12               consents 92:6 145:1      57:4                 cost 124:16             customary 72:21
complies 53:6          consequences 135:13    contributors 16:3      cough 30:4,13             92:9 99:25 101:23
comply 53:3 60:6       conservative 22:25       46:25                counsel 5:24 40:20        112:1 118:24
component 31:16,22       118:19               control 137:6,6          40:24 41:1 53:18      cut 28:9
  32:20 80:4 93:9      conservatively         controversy 80:22        59:7 66:1 67:2 77:6   CV 3:18 12:22,23
  130:4,18 145:19        118:12               conversation 33:2        86:15 121:2,3           13:1,22 21:18
components 79:16,18    consider 72:25           34:8,15 42:6 66:15     142:22 144:25           23:25 54:3


                                      United Reporting, Inc.
                                           954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 157 of 170 PageID
                                       18779
                                                                                                      Page 156

cystocele 26:17 32:5     2:19                    18:1 86:22              96:7 114:21             102:16 136:14
  88:4 145:20,22       deficiency 28:18        desired 65:3 79:11      disconnect 111:17       documents 62:19
Cystocele/Uterine      define 33:10            desirous 71:15          discovered 116:23         113:2 123:3
  64:8                 definitely 49:20        detail 51:9 113:15        117:7                 doing 21:15 49:3
cystoscopy 28:7,11     definition 43:6           138:2                 discuss 13:15 28:4        66:2,5 84:2 108:15
  28:13 29:2,25 30:1   definitive 71:15 76:7   detrimental 44:2          33:21 63:5 65:5         114:21
  45:16 75:2 103:6       76:10,14              Detroit 9:5               66:12 67:3 76:3       double 80:1 106:18
                       delayed 49:11,13,16     develop 47:13             86:12 119:12            106:22,24 107:13
          D              50:16 52:11 78:5      developed 104:10          127:11                  107:19 108:1,25
D 3:1                    100:11,15,18          developing 17:16        discussed 28:1 29:7       109:5,9
damage 33:25 86:2        106:11                  46:25 53:12,16          31:24 32:18 51:9      Dr 3:20 55:6,25 56:3
  137:15               delve 129:3             device 13:9,16 23:16      66:4 71:8,20,22,25      56:4,4 60:14 85:9
data 139:5,8,18        demonstrate 133:11        29:10 43:10 138:20      76:6,22 77:13           113:20 114:4 118:9
  140:4,22               133:13                  139:17,18,24            85:15,19,21,23,25       121:3,6,9 123:17
date 7:4 29:1 47:23    demonstrated 26:18        140:18 143:9            86:3,5,7,9 90:1,5       144:23 152:5
  48:16,18,19 87:15    denies 62:4             devices 13:17 133:1       90:12,20 91:24        drawing 137:19,24
  151:3,25             Department 56:14          138:17,22 139:10        96:16 101:3 105:15    drew 137:18
dated 28:14 45:10      dependent 74:3            139:14                  131:4 132:6,12        drug 75:14
  56:22 62:20 73:4     depending 63:24         diagnose 31:9             141:7                 drugs 89:15
  75:20 84:14 87:6       103:22                diagnosed 26:15         discussing 19:2 85:12   dry 116:2,11
  114:13 150:10        depends 37:16 57:17       31:15 104:15          discussion 89:19        Duke 8:2
Dawn 2:22 5:22           78:17,19              diagnostic 28:8 75:25     127:18 131:17         duly 6:22 149:4
day 5:11 11:23,24      DEPONENT 3:11           diaries 27:7,11,11,13   discussions 12:18       Dynamic 2:22 5:23
  25:15 26:14 27:5       151:1                   27:14 68:4,8            128:23                dynamics 39:2 40:2
  27:10 30:25 45:9     depose 42:15            diary 26:22 68:15       disease 103:22 104:7    dysfunction 22:9
  45:12 66:16 68:19    deposition 1:24 5:2     dictation 102:17          104:12                  34:2 78:6 116:14
  100:22 146:24          5:15 10:14,18,19      die 94:5                diseases 59:20            116:19,22 117:1
  149:6 150:10 151:4     54:10 85:6 96:11      Diet 113:19               104:17,20               126:14,21
days 12:2,4 74:22        119:7 141:3,5         differences 81:7,8      disorder 74:2,4         dyspareunia 26:1
  106:12 114:8,10,25     142:13 143:1 148:5    different 13:17 14:19   dissolved 25:7            31:2 52:3 62:6,8
  152:13                 148:14,18,20 150:5      15:24,25 17:9         distance 109:5            96:11 119:20,22
deal 79:19 88:24         151:3,21 152:7,8        19:16,19,20 52:21     District 1:1,1,9 5:18     120:3 122:12
  93:12 98:3           depositions 10:17         54:18 56:15 57:20       5:19
dealing 103:12         descend 64:13             66:22 71:19 74:3      diverticular 104:7,12              E
deals 94:25 97:23      describe 9:1,9 64:25      76:3 77:16,21,22      diverticulosis 104:11   E 2:1,1 3:1
Dear 152:5               77:21 80:3 92:12        80:3 85:18 91:5       divide 66:24            earlier 46:10,17
decide 10:4 101:4        95:18 106:7             95:19 99:3 127:11     division 1:2 5:20         52:20 62:21 64:23
decided 27:25 29:4     described 77:16           143:21,22               23:21                   74:22 77:6 80:15
  39:20                  117:11                difficult 57:5,7        doctor 6:25 7:4,9         80:17 86:13 97:23
deciding 140:17        describes 68:3 95:23      103:21 120:18           10:3,14 11:7,21         98:25 111:17 126:7
decision 40:7 44:21      95:24                 dimension 36:19           12:7 21:4 23:15         127:25 130:22
  76:13 118:12         describing 64:23        dimensions 36:10,10       29:9 33:6 34:21         132:2,19 135:17
declare 151:21           69:3                    36:16                   35:3 43:3,10 50:8       138:10
declined 71:6          description 99:18       direct 3:4 6:23 44:14     119:11 129:4 131:7    early 53:13
decrease 53:16           125:9                   108:23                  131:23 132:10         easier 129:17
decreased 91:12        design 16:5,11,15       discharge 4:10 22:8       134:18 135:7          easily 78:12
  116:14                 17:1,2,8,12,14,18       70:13 75:16 88:13       136:14 138:10         edge 26:16 64:7
deeper 109:10            20:19,19 141:19         88:20 112:22,24         143:1,7               educate 127:3,4
default 16:14            143:24 144:15           113:3,9 116:5,6       doctor's 58:7,12,23     educated 127:6
defect 118:3 119:17    designated 86:18        disclose 63:2             60:14                 education 7:23 8:24
  119:20 120:3           151:6                 disclosed 142:7         doctors 80:9              13:14 14:1 127:16
Defendant 2:10,14      designed 16:18,19       discomfort 23:14        document 1:6 74:19      effect 92:7


                                      United Reporting, Inc.
                                           954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 158 of 170 PageID
                                       18780
                                                                                                        Page 157

effective 125:18        evaluating 75:6        experience 7:23            46:19 78:19 83:15        105:6 107:14 108:2
  140:6 146:5           evaluation 63:8          14:10 16:19 17:1      facts 44:24                 108:14,15 115:3
either 15:15 38:19        74:17,21 112:3         19:21 20:7 50:14      fails 53:3                  125:23 135:12
  58:1 107:5 117:19     events 144:6             64:16 99:7 124:9      failure 15:6,13,19          137:4
  120:1                 Everybody 51:3           127:21                   54:7 128:12           Fit 19:12 45:16 126:4
elastic 36:25           everyday 62:25         experienced 19:22       fairly 78:12 115:16         126:22 132:23
elastistic 36:24          75:10 89:13            20:10                 fall 64:13 90:16            133:1,15 136:10
Eldridge 5:7,21         evidence 44:25 104:7   experiencing 25:21      familiar 10:8 56:6       five 17:14 21:16
  149:9,10 150:4,14     exact 81:22              68:19                    82:13 83:8               42:24 58:2 84:16
  150:15 152:16         exactly 16:10 40:12    expert 58:12,23 83:3    family 141:8                84:20 143:15 144:2
electronic 10:22          50:1                   83:5 141:11,14        far 30:7 32:11 33:17        144:5,13 147:2
  73:20                 exam 23:11 26:18       Expires 149:12             36:11 39:20 89:25     FL 2:3 152:18
Ellis 2:16                29:2 63:12             150:16                   127:13                flashes 69:13 70:16
Embarrassment           examination 3:4,5,6    explain 33:11 61:16     farther 109:2            flat 38:22
  124:15                  3:7,8 6:23 30:24       61:19 63:18 74:24     fashion 83:21,22         flaw 17:15,18 19:1
employee 150:8,8          51:4 110:3 117:8     explained 133:4         fatal 94:3,5                143:24 144:15
EMR 47:21 48:12           123:15 143:5         explaining 132:17       fax 152:20               flaws 20:19,19
encounter 27:4 73:13      144:21               explant 22:13           FDA 24:25 34:19          flexibility 83:18
  116:23                examine 103:10         explanted 111:24           122:18 123:4 132:3    flipping 72:10
encourage 72:8            113:23               exposed 15:4,24            138:18,21,24          floor 138:16
encouraged 27:21,22     examined 26:12           86:13 100:8 108:22       139:12 140:2,5        Florida 1:14 5:5,8,14
  70:24 71:3            examples 124:13          108:23                fear 124:16                 7:8 149:2,11 150:2
encouraging 119:8       excision 78:23         exposure 14:17,22       fecal 27:18 70:8            150:15 152:3
Endo-Surgical 23:20     exercise 136:1           15:9,14,16 16:3,6     feed 54:22               flow 28:16
engage 117:2            exercised 151:4          16:13 17:3,16         feel 25:10 86:25         fluids 43:14 44:9
engages 117:23          exercises 136:1          18:20 19:22 20:10        111:22 126:3          focus 13:18,20
ensure 139:13           exhibit 11:1,3,11,13     22:8,24 23:7 32:19       133:21 134:9          focused 9:12,25
entail 33:19              11:16 13:1,3 53:25     47:1,5,9 78:8,9,22    fellowship 9:2,4,10      follow 48:4 53:15
entailed 9:10             54:2,11,12 55:25       86:7 108:18 117:16       10:10                    54:8 59:22 105:14
enter 18:12 124:7         56:21 62:17 67:1       117:25 118:6,18       felt 22:11 134:14        follow-ups 143:7
entered 151:22            68:3,18 72:23 73:3     120:8,14,17,19        female 9:12,20,25        followed 107:16
entitled 93:5 136:18      73:6,9,25 74:14        122:7 126:15 128:2       12:8,16 117:9         following 5:1 8:23
episiotomy 57:14          75:20 76:24 84:13      144:18                   128:11                   85:22 151:6
equivalent 109:24         85:11 87:7,10 89:1   exposures 20:3,23       FF 149:11 150:16         follows 6:22
erodes 15:5               89:18 91:19 93:4,7     126:20                field 10:4,4             forces 83:25
erosion 14:18 15:9,14     94:15,20,25 95:18    express 151:4           filaments 18:4           foreign 35:17,18 43:8
  15:16 16:3,7,13,23      97:21 98:2,22        expressed 130:8         file 1:4 53:21              117:12
  17:3,16 18:20           101:14,16,18 102:9   extend 20:19            filed 5:18               Forest 8:12
  19:23 20:10 32:19       102:13 112:4 113:1   extrusions 20:24        final 131:24             form 4:4,6,7,12 16:8
  47:10 128:2 144:17      113:10 114:14,17                             finally 45:8 122:24         17:4 19:24 24:6
erosure 128:2             119:7 122:25 129:5              F            financially 150:9           25:22 35:5,12 39:8
errata 152:13             129:9,10,15,19       facilitate 33:20        find 26:11 56:9,10          39:18,25 40:9 41:6
especially 120:21         131:7,9 132:10       fact 43:8 60:24 63:13      129:19 152:6             41:7,14,15,22,23
Esquire 2:2,6,11,16       134:18 136:15          73:24 81:3 84:11      finding 30:2                42:3 43:17,18
  152:7,22,22,23          145:16 148:16          93:11 97:18 99:12     finish 9:7                  44:12,23,24 45:25
essentially 109:23      EXHIBITS 3:15 4:1        100:8,18,24 103:24    finished 64:4               46:1,13,14,22,23
estimate 11:22 21:4     exit 18:12               115:21 118:6,25       first 6:22 16:17,17,20      51:16 58:13,16
  84:1                  expect 18:20,23          119:19 120:2 123:7       17:20 19:5 25:9,12       93:5,8,10,15,23
Ethicon 19:4 23:20        33:17                  146:4,8                  28:24 48:24 49:15        94:1,8 95:12 96:1,6
  24:20,22              expected 18:19 49:8    factor 15:25 17:2          57:1 62:1,18 87:21       96:17,21 97:2,12
evaluate 53:11 63:9     expedite 53:23           36:18 143:25             89:22,22 98:12           98:23,23 99:12,18
  118:22 119:2          expelled 30:13         factors 15:25 16:22        100:5 102:20 103:9       99:23 100:3,7


                                       United Reporting, Inc.
                                            954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 159 of 170 PageID
                                       18781
                                                                                                       Page 158

  101:14,19 102:5         56:14 57:25 64:1     graduating 8:7            76:24 121:25            68:13 89:2 133:4,9
  134:20 135:2,7,8        66:24,24 68:11       graft 4:6 39:1 46:6       141:24                hold 25:5 54:20
  136:24 137:12           112:24 113:9           98:23 99:1,8,8        halfway 115:24            84:15 116:4 142:16
  143:20 144:12           124:13 143:13          108:4,17 111:4,6      halted 25:3             home 91:15
  145:9 151:22            144:2                  145:20,23             hand 6:15 55:16         hope 53:15 84:4
formalized 91:21        given 12:15,21 13:7    Grafts 99:3               56:20 99:21 101:13      108:5
formation 36:3,23,23      112:21 133:7         granulation 32:23         149:6                 Horvath 2:6 152:22
  96:15                 go 8:23 49:22 51:7       52:13                 handed 136:14           hospital 8:20 33:18
forms 92:10,12,17         53:19 54:4,24        Gray 8:11               handwriting 145:11        91:12,17 101:15,16
  94:16 97:22 99:3        62:17 69:17 74:13    Great 131:21 145:25       145:15                  101:21 113:4,5,8
  100:21 136:16           84:21,25 87:4        greater 72:7            handwritten 145:2       hot 70:16
  145:3                   91:15 92:19 96:23    greatest 76:16          Hang 142:21             hotel 56:16
forum 14:1 25:3           101:4 105:3,5        Greene 2:17             happen 15:16,17,18      hour 42:13 121:4,5
forward 96:23 101:4       115:24 117:7 123:7   Greensboro 2:18           18:19 35:19 104:17    hours 42:17 91:16
  152:11                  129:17 131:13        grocery 72:9            happened 102:3          housework 72:10
found 45:4 66:23          135:25,25            group 7:13              happening 15:1          Howard 2:11 6:11
foundation 83:2,5       goal 47:15 53:14       guard 47:9              happens 36:1            human 43:13,21 44:8
four 57:25 64:1,2         76:14                guess 12:5 57:17        hard 6:7 121:6            45:2 99:2 138:13
  110:18                God 6:18                 87:20 109:2,9,16      harm 44:14              humans 45:5
frame 21:17,23          goes 14:22 15:4,5        110:16                head 118:10             hundred 60:10
free 25:10                109:10               guys 6:8                heal 16:12 18:15 49:7   Hundreds 81:20
frequent 124:15         going 11:21 33:13      Gynecare 19:4,5           50:18 118:19          hysterectomy 4:3,9
front 54:6 129:21         34:20 40:18 42:13      23:21 24:1              119:15 120:19           32:2,25 45:14 79:9
  131:7 134:18            44:13 50:25 79:22    gynecology 8:21 9:18    healed 117:24 120:14      79:12,18 92:22
frustrating 130:9         89:22 95:1 108:21      67:12                 healing 18:19 26:25       93:5 95:10 96:2
Ft 2:3 152:18             115:25 120:18                                  32:11 33:24 48:22       102:24 105:6,13,14
full 7:2 55:10 62:14      121:4 133:9 139:25             H               49:11,13,14,17,17       105:15,18,21,25
full-term 57:25           147:14               Haberman 2:2 3:4,7        50:16,16 52:11          107:3,7,9,12,16
fully 51:10 117:24      gold 31:23 80:5 90:6     6:1,1,5,9,24 11:5       59:6 60:3,24 61:3       111:24 145:13
function 51:17            90:17 125:3,11         11:19,20 13:6           65:18 78:5 100:11
furniture 72:11           130:18,23              16:16 17:17 20:4        100:15,19                         I
further 8:24 108:3      gonna 19:14 40:17        35:7,22 39:13,23      health 23:21 56:13      ICD 74:5
  108:16 143:4 150:7      42:8,8,21 49:22,22     40:4,22 41:9,19       healthcare 10:9         ID 4:1
future 47:9 98:9,20       51:6,7 53:19 54:10     42:1,11,11,12,18      hear 6:7,8 58:19        ideally 34:6
                          55:16,25 56:20         42:23 43:1,2,22         131:11 134:2          Identification 3:15
          G               67:1 69:17 70:12       44:20 45:7 46:8,16    heard 33:7 52:8            11:4,17 13:4
gallbladder 89:9          73:3 74:13 76:15       47:2 49:21 50:5,7     Heather 2:11 6:11          148:17
general 7:18,20,21        89:20 92:22 94:15      50:23 52:6 54:23      heavy 72:6              identified 88:7
  14:13 39:24 49:9        97:21 101:13 102:9     55:5,24 58:6,11,15    help 6:18 93:17            112:19
  53:8 66:22 67:12        105:2,4,5 112:4        58:17,21 59:3,24        137:5                 identifies 136:9
  94:12                   115:19,24 123:10       60:13,19 61:6,9,22    helped 147:6,8          identify 97:1,6
generalist 9:18           129:3 131:23 148:3     65:15,19 78:14,25     hhoward@kslaw.c...      IFU 121:22
generally 51:11 72:6    gonorrhea 104:23         79:3,5 82:23 83:2,5     2:13                  II 26:15
  134:20 135:18         good 5:10 6:25 7:1       84:17,20 119:23       Hi 6:10                 illicit 89:15
  141:15                  33:20 51:2 82:6        120:6 131:12,19       hidden 97:9             Illness 61:25 62:1
generation 125:24         83:18,19 123:18        134:1,4,6,16 139:3    high 59:17,18,19        immediately 102:1
  126:1                 GOODWIN 1:8              140:9,20 142:14,17    Hillcrest 5:4,13        impact 40:7 124:10
genitalia 117:9         Gore-Tex 111:7           143:6 144:1,16        hired 141:25 142:1      implant 24:11 37:7,9
Georgia 2:13            Gosh 21:1                146:9,12 147:11,13      142:19                   40:7 44:22 51:21
getting 29:22 84:22     governmental 139:12      152:7,22              history 25:22 49:19        52:17 76:20 81:12
give 6:17 11:22 13:11   grade 64:1 86:18       habits 27:15              55:10 59:18,25           81:17 82:8,11 83:9
  25:20 32:15 42:20     graduate 8:3,14        half 12:1,2,2,4,6         61:25 62:1,15 63:6       83:13 84:4,8 86:17


                                      United Reporting, Inc.
                                           954.525.2221
   Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 160 of 170 PageID
                                      18782
                                                                                                      Page 159

  87:2 90:11,16        incontinence 9:13       informed 33:8 44:3        98:24                  49:3 56:8 58:8 60:1
  100:4 105:14 118:4     14:5,9 24:9 25:19       44:19 45:3 94:21      irritants 27:22          61:14 65:14,21,22
  121:18                 25:21 26:18,24          128:22 134:19         ISD 28:18                67:15 82:16,19
implantation 39:6        29:12,15 30:21        infrequently 70:2       isolate 23:9,12          89:10 106:24
  43:13 44:7 77:10       31:16,22 32:7         ingrowth 82:20          isolated 22:21 23:6      120:25 121:2
implanted 14:21 21:5     45:16 57:2 63:10      initial 17:7 110:3      issue 17:14 18:17        125:21 126:12,22
  21:10 35:4,11,24       65:9 67:14 73:25      inquired 140:2            20:9 23:4 62:5         139:5 140:11 142:6
  45:8,22 126:8,23       75:7 76:11 87:24      inserted 29:18 30:11      141:19                knowledge 35:24
  132:23 133:2           94:22 124:7,10,16     inserts 63:24           issues 22:10 31:10       139:20 146:3
  136:11 138:13          124:19,25 125:1,19    instance 53:4             33:22 51:7            known 9:21 65:25
  146:18                 125:22 128:13         instances 22:3,13,16    item 69:7,12 89:22       67:22 88:19
implanting 20:7          130:3,5,8,10,24       instructed 45:24          135:6,8
  43:15 44:10            132:11,13 135:17      instruction 117:2       items 115:20                       L
implants 80:20 81:1    incontinent 73:24         122:15                                        L 2:2 152:7,22
  81:3 86:22 95:2      incorporate 126:19      instructions 53:1,15              J             label 93:6 110:6
  97:3 119:17,21       incorporated 18:14        59:22 112:22,23,24    Jeffrey 2:2 6:1 152:7     113:17 117:8
  120:4 127:3 146:5    increase 41:5 117:24      113:3,9,19 121:16       152:22                labeled 62:19 87:8,8
implied 138:11         increases 100:18          122:2                 jhaberman@schle...        94:16 101:17 112:5
important 38:21 39:4   indicate 62:9 69:21     instrument 30:11          2:4                     113:2 114:15
  39:15,19,24 40:2       85:17 91:20 115:21    integrity 107:14        job 138:25              labia 28:5
  55:9 86:19,23          117:15 118:2          intended 18:15          Jones 1:25 3:3 5:2,15   lactobacillus 88:12
impression 27:9          119:16,20 120:1,3     intercourse 23:4 26:7     6:21 7:3 55:6,25      laminated 123:3,7
improper 49:14,17        130:7                   32:22 33:24 52:3        85:6,9 113:20,25      Landmark 5:4,22
  50:16 58:22 142:18   indicated 42:16           59:15 62:10 70:18       114:4 118:7,9         language 69:23 74:9
improve 124:20         indicates 60:9 72:17      70:22 72:15 78:6        121:3,6,9 123:17      laparoscopic 31:20
improved 80:24           73:23 85:21 92:2        96:8,13 98:6,20         144:23 149:4 150:5      45:14 77:18 91:10
improvement 96:3         102:19 116:19           108:23 113:23           151:4,25 152:2,5      laparotomy 31:19
improving 27:18        indicating 54:7 87:18     120:13,17 128:19      JOSEPH 1:8              large 5:8 57:14,16
  70:3                   116:9                 interest 10:9           JUDGE 1:9               larger 18:11
incision 106:13,15     indication 25:20        interested 60:17        July 27:4 28:20,22      largest 18:1 83:17
  117:13,18            indicative 15:6,9,13      150:9                   67:2 69:3,22          lasts 106:11
incisions 137:25         15:19,21,22           internal 8:19 43:14                             lately 62:6
include 12:18 26:19    inducing 17:2             44:8 109:3                      K             Lauderdale 2:3
  33:13 36:22 51:24    inert 43:5,6,6          internship 8:19         Katherine 67:6,7          152:18
  52:2 59:14 70:3,5    infection 33:25 78:5    interpreted 68:9          115:6                 Law 2:2 6:2
  71:10 72:14 76:19      82:21 88:19 128:12    interrupt 64:3          Kathy 1:25 3:3 5:2      lawsuit 141:7
  90:15 125:5 127:15     137:15                interruption 50:2         5:15 6:21 7:3 85:6    lawyer 49:24
  139:21 148:5         infections 22:10 34:2     131:10                  149:4 150:5 151:4     layer 106:18,18,20
included 27:18,23        85:25 137:16          interstices 17:22         151:25 152:2            106:22,24 107:7,11
  31:17 77:2 85:21     inflamed 104:12         interstitial 83:16      keep 50:25 72:22          107:13,14,18,19
  102:24               inflammation 112:14     intervene 53:13         Kegel 136:1               108:1,9,14,15,15
includes 32:18 78:3      112:16                intervention 26:20      kind 43:24 107:9          108:20,25 109:9
  90:13 96:10 97:14    inflammatory 18:10        29:8 31:15 33:15        112:16                layman's 63:19
  99:1                   18:11 35:16 104:17      66:10                 King 2:7,12             lead 52:21,22 88:13
including 16:1 32:24     104:21                interventions 66:12     kit 25:2                  88:20 103:16
  89:9 90:8 126:20     influence 60:1          intrinsic 28:18         kits 21:20 128:8          104:20
  132:14 133:1         inform 41:12 45:4       invasive 125:8,9        knew 71:4 148:4         leading 23:14 26:16
incomplete 55:13       information 4:10        invited 13:24           know 18:18 23:9           64:7
  62:14 68:13            55:13 62:14 66:24     invoice 10:18             29:21 34:18 35:10     leakage 28:15
inconsistency 141:20     67:16 68:13 75:13     involve 93:2 95:1         40:2,11,13 41:8       leaked 30:5,5
inconsistent 55:13       96:18 117:11 122:2    involves 92:25            43:1,15 44:10 47:3    led 83:13
  62:13 68:9,12          140:5                 involving 43:12 44:7      48:1,3,7,8,18,18      leeway 42:20


                                      United Reporting, Inc.
                                           954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 161 of 170 PageID
                                       18783
                                                                                                  Page 160

left 104:11                80:17              55:25 62:17 67:1       13:14 16:2,24          91:1 95:1,12 97:6
Legal 2:22 5:23          look 12:22,25 21:18  73:3 74:13 75:19       23:15 43:10,12         98:15 99:14 100:2
length 110:17,24           25:10 37:7 67:3    84:13 87:7 94:15       44:7 46:20 59:25       100:8 108:17,24
let's 13:1,1 21:16         75:4 83:19,20      97:21 102:9 112:4      73:16 86:18,22         109:9,11,17,21
   39:14 47:20 54:4        129:4,23 132:9     113:1 114:14           89:2 127:16 138:20     118:3,6 119:24
   54:24 62:17 87:4        135:6             marked 3:15 4:1 11:4    139:10,14,16,24        121:17 122:19
   92:19 129:17          looked 62:21         11:11,17 13:4          140:17 143:9           123:11 125:18
   131:13,13             looking 48:3 81:25   72:22 87:10 93:4      medication 13:13        126:13,14,20 127:1
letter 3:12,19 48:4,19   looks 73:4 110:4     94:20 101:13,18       medicine 8:11,19        128:1,2,5 130:19
   54:6,7 119:7            137:18             112:11 119:6           9:20,25 12:9,16        130:22 132:4,25
letting 34:18            loops 106:14         136:15 148:17         meet 28:17              133:16 135:10
level 33:12 110:10       loosely 39:1        markedly 19:19         meeting 13:14 14:3      136:9 141:15
LIABILITY 1:5,5          lose 55:17          market 17:8,21 20:20   meetings 127:11         143:18,24 144:10
libido 116:14            lost 54:21           20:22 21:2 25:6       mentioned 11:7          144:18 146:1
life 124:11              lot 80:22 129:2     marking 56:20           16:22 24:4 32:12      meshes 17:9,20 18:3
lifetime 60:10             144:25            Master 1:4              60:23 77:8 80:15       18:17,25 19:5
lifting 72:6             lshub@kslaw.com     material 95:18,23       97:23 125:10 126:7     20:11 21:9 41:11
ligation 89:6              2:9                99:4,4 111:25          128:1 131:1 132:2      80:16,17,18,20,21
light 69:12 83:15        lying 30:4 84:1      138:12 139:5,8,17      132:19 135:21         Mess 14:6
lighted 75:4                                  140:4                  147:18                met 101:3
lightest 82:16,17                 M          materials 62:22        mentioning 77:6        mid 31:23 37:20
liked 65:24              M 2:11               98:24 99:14 139:9      98:25                  39:10 45:15 80:5
likelihood 41:5,21,24    M.D 1:25 3:3 5:2,15  139:13,18,21,22       mesh 12:19 13:8,12      103:4 125:4,10,17
   76:16                  6:21 85:6 149:4     140:22                 13:19 14:2,6,8,11      130:19,22 133:5
limited 85:22             150:5 151:4,25     matter 143:14           14:12,13,15,16,19     middle 89:11 93:16
line 69:17,18,24          152:2               152:14                 14:21,21 15:4,22       129:24 137:4
   70:13 105:24 108:3    ma'am 74:23 106:9   mattresses 72:10        16:12 17:3,9,12,16    midway 76:24 87:20
   108:6,18,20 116:13     121:23 127:7 142:2 MDL 1:6                 17:23 18:13 19:3,4    mind 7:24 19:1
   117:16,18,21,22,25    macropore 83:16     mean 15:15 17:18        19:18,19,22 20:8,8    mini-slings 125:25
   118:11 120:9 135:2    macropores 82:19     28:25 32:3 36:25       20:13,14,23 21:12     minimal 117:12
   135:2 145:13 151:7    macroporous 17:21    37:10,11 42:14         21:13,14,19,22,25     minor 94:2
   152:10                main 83:15           47:4 57:8 64:3         22:1,1,3,14,14,16     minutes 42:24 84:16
Lisa 2:6 6:10 152:22     major 8:5            71:16 75:15 104:18     22:19,21 23:1,10       84:20
listed 23:24,25 24:2     making 58:17,21      114:2                  23:13 24:8,11,11      mispronouncing
   26:2 70:4 137:12       76:13 140:13,16    meaning 18:3 22:9       25:1 31:24 32:17       88:16
lists 135:8               152:8               83:19 106:12           32:18,21 33:3         missed 48:20
literature 49:10         management 76:7,11 means 14:17,18           34:10 35:3,9,11,17    misunderstood 29:6
litigation 1:5,5          76:14 118:19        17:13,22 18:11         35:20,23,25 36:2,4    mixed 31:15 32:7
   141:15                manner 37:12,23      19:14 30:3 33:12       36:5,8,10,17 37:1,3    130:2
little 19:18 22:6         38:12,16            33:22 34:2 35:16       37:8,11 38:11,14      modalities 32:13
   42:20 51:9 53:20      manufacturer 13:9    43:6 63:19 64:11       38:15,18,18,20,21      125:5
   53:20 109:2 121:4      13:16 23:16,18      66:5 71:17 72:10       38:23 39:5,5,11,12    modality 19:16
   121:5 137:18           39:5 43:10 44:5     80:8 94:5 96:13        39:16 40:6,8 41:4     moment 7:22 131:14
LLP 2:7,12,16             86:18 138:21        111:1 117:17 130:4     43:4,5,16 44:10,18    months 48:24 100:24
local 78:23               139:17 140:12,15   measure 63:25           44:22 45:9,22          146:19
located 103:23            143:9              measured 110:1,13       46:11,18,20 47:1,4    mood 114:22
location 109:8           manufacturers 23:19  110:17,23              47:7,8,9 52:10,17     morning 5:10 6:25
   118:18                March 30:19 31:3,12 measurements 63:20      76:20 77:5,9,10        7:1
long 7:15 9:24 25:21      33:1 75:20,23      mechanically 29:11      78:3,7,8,9,22 80:5    mucosa 116:2,11
   33:16 49:21 67:25      129:13             media 85:1,5            81:3,9,17 82:4,14     multi-compartment
   76:16 115:16          mark 11:1,13 13:1   medical 8:8,10,13,14    82:17 83:9 84:8        32:4
longer 20:21 42:19        53:24 54:10 55:16   8:22 9:5 10:22 13:8    86:7 90:8,14,16       multifilament 18:3


                                        United Reporting, Inc.
                                             954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 162 of 170 PageID
                                       18784
                                                                                                     Page 161

multifilament-type    notations 134:24        obviously 121:7           70:24 71:22 72:13       93:17,20,21 137:5
  19:2                note 76:7 86:10         occasional 114:21         72:21,25 73:17          137:7
multifocal 32:3,4       91:19 96:2 121:10     occur 16:4 18:10,23       74:1,6,8,13,24 75:3   operations 102:23
multiple 18:4,6 93:11   130:17                  18:24,24 52:14          75:9,13,16,19         operative 4:8 33:17
  95:6 106:14         noted 79:7 80:5 88:6      100:5                   76:13 77:13 78:9        102:10,13
multitude 49:10         89:5,12 98:5,8        occurred 16:1 18:19       79:14 80:1,15,24      opinion 15:8 49:7
                        132:11                  141:21                  81:6,9,22,24 82:16      143:13,16
          N           notes 69:5 89:2 93:15   occurring 41:25 70:2      84:3,24 85:4 86:9     opinions 144:2
N 2:1 3:1               94:8 96:6 98:2          120:17                  86:15,15,21,25        opportunity 42:15
N.E 2:12                100:3 112:10 130:2    occurs 102:1 108:18       87:4,13 88:15,20        74:20,21 76:2
name 7:2,11 19:9        150:6                   118:2                   89:12,15,18 90:1,4      101:2,7,25 121:8
  21:1 23:18,20,24    noticed 112:10          October 48:2 49:1,4       90:15 91:18,23          133:7 142:23
  24:3 115:6 123:19   notices 10:17 122:18      50:9 74:25 149:12       95:4,8,17 97:5,11     opposed 91:16
  145:2               noting 10:19              150:16                  97:11,17 98:5 99:7      141:20 143:25
names 118:10          nowadays 9:22           odor 116:5,7 124:17       99:10 101:10,21       opposing 67:2 77:6
nation 10:11 73:16    number 32:12 59:17      offer 29:14               102:23 103:24           86:15
national 13:24          59:18,19 78:19        offered 29:7              104:2,5,23 105:2      opposite 106:15
native 84:9             81:23 102:11          office 3:16,20 10:20      105:13,24 106:4,17    option 32:15 34:25
near 132:10 137:19    numbered 95:20            10:24 11:2,8,10         106:21 107:16,21        76:15 89:25 90:1
necessarily 18:22     numbers 56:1 63:25        25:14,25 28:24          107:25 108:8,12,25      125:18 126:5
  19:9 36:8 40:19     nurse 67:8 68:8           48:7,9 49:15 67:4,9     109:13,16,20 110:1      132:19 135:21
neck 29:12              115:8                   68:1 70:21 73:1,5,9     110:13,16,22 111:5    options 26:19 27:23
need 19:13 42:21,21   NYU 8:21,23               74:15 75:21 84:14       111:14,16 112:4,10      31:17 64:19 65:7
  51:1,7 81:22 98:20                            87:11 94:18 101:19      112:21 113:1,6,8        66:22 71:7 76:4,22
  100:3 122:9,15,21             O               114:18 115:4 116:1      113:17,25 114:9,12      77:2 80:3,4 85:12
  123:10,17           o'clock 85:2              117:3 119:13 129:6      114:20 115:6,24         85:18 90:3 130:18
needed 122:1 146:21 OATH 3:9 149:1            offices 2:2 5:3 6:2       116:6,10,25 117:6       131:5 132:13,21
  146:21              OB/GYN 124:3            official 149:6            117:23 118:15,18        136:5
negative 80:2 124:10 OB/GYNs 127:19           oh 29:6 50:3 73:17        118:25 119:6 120:1    oral 112:23
never 18:15           object 39:18 40:9         87:8 90:1 116:5         121:1 122:1,18,21     Orange 7:7 56:12,13
new 8:20 25:3 84:22     41:7,14,23 43:18        147:14                  123:6,12,19,22          149:3 150:3 152:3
newer 18:16 48:13       44:12,23 46:1,14      okay 6:9 7:15,22 9:9      125:10 129:10         order 33:20 105:4,5
  80:24                 46:23 49:22 58:6        9:24 11:1,6,10,13       131:21 137:4          ordered 28:7,10
nine 57:21,23 68:1    objection 16:8 17:4,5     11:18,19 12:7,25        140:11 143:4          organ 9:13 14:19
  115:9                 19:24 35:5,6,12         13:5 15:12,21           144:20 145:12,18        15:5,24 21:10,11
Nodding 64:5            39:7,8,25 40:10         18:18 19:21 20:7        146:4,20 147:8,13       22:14,17,22 26:15
non-dependent 74:2      41:6,15,22 42:3,3       20:18 21:4,25 25:8      147:17,22,25 148:3      29:15 34:12 38:14
  74:9                  43:17 44:24 45:25       25:14,25 27:2           148:3,9                 51:15 54:14 57:1
non-surgical 64:19      46:13,22 52:6           28:12 29:6,7,22       old 48:12                 65:10 76:8 77:9,11
noncompliance 48:4      58:13,16,20,21          30:17,24 31:2,12      older 18:2 80:21          79:8 80:13 128:7
noncompliant 117:2      59:3,24 60:13,19        35:10 36:13 37:7      on-the-record 121:5     organs 4:4 33:25
normal 18:10 28:16      61:6,9,22 65:15,19      37:20 40:5 42:23      once 14:21 30:10          86:2 94:22
  28:16 30:2,8          78:14,25 79:2           44:4 45:8,11 47:3,8     36:17 103:11          orgasm 116:20,22
  106:17 110:2          82:23 119:23 120:6      48:21 51:3,15,23      one's 101:15            orgasmic 116:14,19
  111:25                134:1,16 139:3          52:5,17,20,25 53:3    ones 23:25                116:25
normally 50:19          140:9,20 143:20         53:18 54:4,18         ongoing 51:24 52:2      original 152:11
North 2:17,18 7:7       144:11,12 146:9         56:20,25 57:5,9,25    open 31:18 90:23        Orlando 1:14 3:19
  123:20 152:3        objections 58:17          58:5 60:23 61:12        91:2,7,11               5:5,14 7:7,12,17
Nos 148:16            observation 26:20         61:16,19 63:5,8       opening 64:14             147:24 152:2,3
Notary 5:8 149:11       27:24 66:5 71:10        64:6,19 65:8,17       operated 49:18          outcome 22:12 26:25
  150:4,15            obstetrics 8:21 9:18      66:15 67:10 68:2        121:21                outcomes 13:21
notation 74:11          9:22                    68:16 69:2,15 70:5    operation 48:22 49:6    outlined 31:17


                                     United Reporting, Inc.
                                          954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 163 of 170 PageID
                                       18785
                                                                                                     Page 162

  134:23                106:11 145:9            147:5,6               pessary 26:20 27:24     poor 30:9 52:23
outlining 132:20      parties 150:8,8         Patricia 5:7 149:9,10     29:8,9,10 64:22,25      65:18
outside 58:6 79:5     partners 59:18,19         150:4,14,15 152:16      66:7 71:13            POPQ 63:15,18
  82:23 83:6            60:10                 Patty 5:21              phone 50:2              pore 17:23 18:1,7,9
outweigh 34:5         pass 50:24 123:14       payment 10:19           phrasing 47:14            19:2 82:20
overactive 125:3        147:9                 Peachtree 2:12          physical 35:20 36:10    portion 111:3
overgrowth 88:11      passing 50:22           pee 38:5,7                94:8 103:11 125:6     portions 22:19
overwhelming 66:21    pathology 4:9 111:25    pelvic 1:4 9:13,14,20     131:2 132:18          positive 30:3
                        112:3,6,8,10            9:20,25 12:8,16       physician 56:21         possibility 15:1
          P           patient 13:20 14:1        21:10,11 22:14,17       145:13                  144:14
P 2:1,1                 16:13,20 17:15          22:22 26:9,11,15      physicians 7:13 10:7    possible 93:16,19
P.A 2:2                 22:5,9,19,24 23:1,5     29:14 30:24 31:7        24:10,11 56:6,18        96:15 128:1,10,19
p.m 131:16 148:14       25:18 26:21 27:21       34:12 38:14 51:11     pieces 66:25              131:2 134:10 137:5
  148:19                27:24 28:4,15,17        51:12,20,23 52:9      place 38:24 39:21         137:7,11
packets 66:25           29:4 30:2,13 31:14      54:14,19 57:1           40:19 47:8 74:8       possibly 60:1 112:18
pads 124:16             32:2,15 33:11,17        59:11,14,23 60:2        108:14,20 109:15      post 28:16 49:3
page 3:2 68:2 76:24     34:16,21,22,25          65:10 76:8 77:9,10      151:5                 post-graduate 9:11
  87:20,21 89:1,11      38:5 39:3 40:20,24      78:4 79:8 80:13       placed 14:8,20 18:13    post-operative 32:21
  89:18 91:18 93:6,9    41:1,13 42:7 45:4       94:22 103:11            20:2 21:22,23           32:22 48:17 53:1,4
  97:6 110:5 113:17     46:25 47:12 52:22       104:21 113:20           22:22 23:13 25:4        115:1,13
  115:13 117:7          52:25 53:3,4,5 55:9     114:22 117:2            29:10 36:11,17        post-surgical 47:21
  129:24 132:9 135:7    55:10,12 57:14          120:10 122:19           38:2,21 39:1 45:2,5   posterior 4:5 97:24
  151:7 152:9,9,11      59:7,17 60:2,18         123:8 128:7,11          106:13,14               111:11
pages 87:7,8,9 93:11    62:4,8,13,15 66:1       134:19 138:16         placement 14:2 16:1     potential 46:11 53:12
  94:17 102:12          67:7 68:3,4,7,12,16   pelvis 104:17             16:24 23:7 24:7         65:7 79:16 90:19
pain 9:14 22:7,20       68:19 69:21 70:1      penalties 151:21          37:16 46:4,5,10,19      96:7 98:6
  23:4,5,9,12 26:9,12   71:15 72:19,19        people 56:15 106:21       47:7 78:7 126:25      pounds 72:8
  31:7 32:22 33:24      73:14 74:21 76:1        106:24 107:6          placing 40:14 108:3     practice 7:9,11,16
  51:25 52:2 62:9       76:15 79:11 83:10     percent 20:23 39:6        108:15                  11:21 53:9 72:22
  70:18,22 78:5         83:24 91:15 92:3        39:17 40:6,18 41:4    plaintiff 2:5 5:3,16      92:9 99:25 101:24
  91:13 96:7,13 98:6    92:10,13,16 93:17       41:12 42:8 72:18        6:2,5 143:11,19         106:17 110:2 112:1
  98:20 104:15          93:19,24 94:5           126:19                  144:7                   124:3
  112:17,17 126:15      96:17,20 98:9         percentage 36:5 37:3    Plaintiff's 3:15 4:1    practiced 20:1 124:2
  126:21 128:11,18      100:14,14 101:24      percentages 65:22         11:3,16 13:3 121:3    practicing 127:18
  143:18 144:6          102:6 103:20,21       perform 11:25 24:7      plan 26:14 27:20        practitioner 67:8
painful 9:13            112:3,17 113:13         34:6 67:11 75:1         30:14 31:12 91:20       115:8
paper 123:7             114:7,20 117:23         132:22 137:1            91:21                 practitioners 10:7
paragraph 62:1          123:5 133:13 146:6    performed 32:13         please 5:24 6:14 7:2    pre-surgical 131:24
  69:19 85:14 93:16     146:14,21               45:13 70:20 81:16       13:2 152:8,11         precedes 69:23
  110:7,8 115:16,20   patient's 16:2,24         102:20,21,22,23       PLTF 56:2 101:17        predominant 31:16
  137:4                 23:12 46:20 58:25       138:3                   112:5 113:2           preference 107:24
paragraphs 95:20        59:5 135:13           period 94:9,13          plus 10:18 28:2 72:1    prefix 73:7
Pardon 7:19           patients 9:12 11:22     peritoneal 110:9        point 16:10 25:4        pregnancies 57:21
parentheses 136:20      19:21 20:2,9 34:10    perjury 151:21            110:13                  58:1
part 11:7 40:23         49:10 50:11,15,15     permanent 43:13,13      points 134:22           pregnancy 63:6
  56:12 79:13 87:11     53:10,15 56:17          44:7,8 84:5           polypropylene 19:18     pregnant 57:23
  90:2 94:17 98:22      66:21,23 67:11,13     permanently 133:2         43:4,11,12,20 44:5    premise 107:1 108:2
  128:22                67:16,17,20,23        personal 139:20           44:6,15,17 84:7         108:19
particular 10:8 13:16   72:8 76:20 78:16      personally 149:4          86:16,16,21 87:1      preoperative 87:13
  13:16 17:19 18:25     78:23 82:10 94:1      pertained 147:19          125:17 126:13         Presbyterian 8:20
  20:21 33:16,22        104:14 112:24         pessaries 29:14,17,18     127:1 130:22 132:4    prescribed 88:22
  41:25 42:7 98:2       123:8 124:18 125:2      125:6 135:21            138:12 140:18         present 2:21 17:12


                                     United Reporting, Inc.
                                          954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 164 of 170 PageID
                                       18786
                                                                                                      Page 163

  25:14 27:5 61:25     processed 152:13        pull 10:22             read 3:12 70:12           11:10,11 25:11,12
  62:1 104:5           product 15:6,13,19      pulled 10:23 25:5        110:11,20 113:6         47:20 48:14 53:19
presentation 13:25       16:5 37:21 39:20      pulley 72:9              115:19 137:9 139:8      56:1,3,21 57:20
  14:3 78:17             39:21 40:3,17 42:7    pulling 72:7             147:15 148:20           62:20 72:22 73:11
presentations 12:15      45:1,6 47:1 83:20     purpose 5:14 74:24       151:5,21 152:8          87:5,10,20 114:15
  12:18,21 13:7,11       95:13,14 133:8         75:1,23 108:9         reading 152:12            114:17 129:5
  13:15,20 14:7          134:11 138:17         purposes 60:17         ready 50:25               147:19 148:6
presented 13:18 18:8     140:6,24 141:19,19    pushing 72:7,10        real 21:18 121:12       recovery 28:1 32:10
  27:3 29:23,24        products 1:4,5 17:1,7   put 22:17 24:25          146:1                   33:19,20 71:22,25
  30:18                  17:9 127:13 133:12     37:11,22 38:11,16     realize 104:15          Recross 3:8 144:21
presenting 32:10         135:10 136:11          39:16 59:5 74:11      really 18:15 27:13      rectocele 32:6
pressure 30:22         program 56:17            127:10 140:16           50:5,5                rectopexy 12:12
presume 76:10          prolapse 9:13 12:13                            reason 24:24 66:18      rectum 63:22
pretty 25:3              13:19 14:3,9,14                 Q              107:25 109:5          Redirect 3:7 143:5
prevent 29:12 42:9       19:6,14 21:10,11      Q-tip 30:12            reasons 84:3 104:10     Reducing 14:5
  82:21                  21:22 22:14,17,23     quality 52:23 124:11     104:18                refer 19:14 61:24
previous 23:6 32:8       24:8 26:16,17,24      question 14:24 15:11   recall 19:9 21:3 24:3     68:2 110:5 113:18
  95:9                   27:1 29:11,13,15       16:11 22:15,18          46:12,20 121:20       reference 13:22,25
previously 76:1 89:5     32:4,5 34:1,12         36:7,15 37:5 39:21    recalled 146:2            23:3 32:24 46:4
primary 108:20           38:15 54:14 57:2       43:19 46:15,17        receive 77:10             74:2 100:8 138:15
  125:1                  63:9,13 64:2,2,6,8     49:23 53:8 57:20      receiving 135:10          141:21 145:6
prior 43:15 44:10        65:6,10 67:14 71:7     69:11 74:1 122:5      recollection 48:21      referring 17:19
  63:5 65:12 103:15      71:17 76:8 77:9,11     143:23 147:14         recommend 72:5            20:12,14 21:12
  103:16 104:2           79:8,13,16 80:13      questioned 27:14       recommendation            37:13 54:7 61:25
  112:25                 88:1 90:7,7 103:2      121:3                   30:14 32:14 59:11       148:2
private 7:9,15           105:9 107:4 128:8     questions 86:16        recommendations         reflect 135:1
probably 21:8 48:10      146:6                  92:16,16 97:11          59:10                 reflected 63:15 76:23
  111:16 121:24        prolapsing 79:22         121:9 123:22          recommended 120:9         89:10 113:10
  142:9 146:19         prompt 152:14            129:14 131:8,24         120:12 123:8          reflective 21:21
problem 16:15 44:2     prone 16:13              133:8 138:11,14       recommending 60:3         27:14
  48:22 76:17 88:9     proper 139:13            142:23 143:4          reconstruct 51:16       reflects 73:13 132:12
  100:4 118:3 119:17   properties 40:13 83:8    144:23 147:10,10      reconstruction 12:16    refrain 113:22
  119:20                 83:12,23               147:11                reconstructive 9:20       120:13,16
problems 33:14         prove 140:22            quick 21:18 84:23        10:1 12:9 51:12,20    refraining 72:14
  53:12 67:14 69:15    provide 67:22 75:13     quickly 114:6 146:1      51:24 52:9 128:11     refuse 35:1
  88:6,7 116:19          76:14,15 89:20        quite 21:2             record 3:20 5:11,25     refused 96:20,23
procedure 21:15          113:13 139:17                                  7:2 48:6 53:21        regard 59:21 138:25
  33:3,13 34:21,22     provided 60:9 86:17              R               54:12,24,25 55:3,6    regarding 54:14
  34:23 41:1,18 75:2     86:17 93:8 96:18      R 2:1                    55:18,19,22 58:18       60:24 68:13,14
  75:3 89:19 90:2        99:13 123:1,3         radiofrequency           58:22 60:8 67:3,19      75:14 89:2 91:19
  91:4,5,7,7,10,11       140:5 152:10            132:15                 72:17 73:1,3,6,9,17     96:18 117:9 122:19
  92:4 97:23 101:25    provider 48:8           Raeann 1:8 2:5 5:17      73:23 74:11,14,15     regulated 138:18
  107:4,17 128:12,25   provides 55:12 62:13      10:20 151:2 152:4      75:18,19,20,21,24     rehab 61:20
  132:20,22 133:22     providing 68:12         Raise 6:15               79:7 80:2 84:25       reinforced 113:11
  137:1                PS 19:5                 ranging 94:2             85:2,5,9 87:11        relate 52:12
procedures 24:8 91:8   Public 5:8 150:4        rate 126:10,12,18        105:3 110:24          related 12:11 14:1,4
  91:24 92:21 95:7     Public-State 149:11     rates 96:16 127:13       121:10 131:9,15,17      14:7 22:5,7,21 23:6
  95:11,19 105:5         150:15                raw 139:9,21 140:22      131:18 148:15           23:10 25:2 44:15
proceed 92:3           publication 12:10       RBAYLESS 101:17          150:6 151:5             52:12
proceedings 151:5      published 12:7          reach 118:25 119:8     recordings 68:14        RELATES 1:6
process 94:18 101:3    Puig 67:6,7               119:12               records 3:16 10:20      relative 150:7,8
  106:7,8 129:2        Puig's 115:6            reaction 35:18           10:21,23 11:2,7,8     Relaxation 94:21


                                      United Reporting, Inc.
                                           954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 165 of 170 PageID
                                       18787
                                                                                                         Page 164

Relaxation/repair       representing 97:18        74:17,21 75:25          137:8 142:24             48:15 73:14 117:1
  4:4                     141:4                   101:25 112:8            148:12,20 151:4        saying 16:11,14,21
relevance 60:14 74:8    Request 94:21             115:14 123:4          risk 26:23 27:1 32:17      17:25 40:12 42:7
relevant 58:25 59:2     requested 150:6           141:18 143:8 145:4      33:21 34:5,7 53:16       109:4
  104:8                 requests 23:1             150:5                   65:9 85:23,25          says 49:10 62:4 64:7
relied 97:18            require 98:9 145:9      reviewed 27:16,23         95:11 98:19 100:18       68:4 69:12 70:1
rely 67:15,19 113:8     required 33:18 56:19      73:17 121:16,22         117:24 122:9,12          71:15,25 85:15
  115:11 138:24         requirements 91:13        143:8,15              risk/benefit 33:2 34:8     97:15 110:9 113:19
  139:12                research 101:7          right 6:15 15:13          55:14                    129:24 130:17
remedied 78:13          researched 65:25          18:21 19:9,23 20:5    risks 31:25 33:2           137:5 145:6 147:24
remedy 65:3             reserved 148:19           21:3 24:3,12 28:23      34:20 40:20 41:1,2     scar 36:3,23,23
remember 21:1,17        residency 8:16,18,21      29:6,19 31:10 34:8      41:17,21 77:21,25      schedule 141:5
  138:13,15               8:23 10:6 124:3         34:23 35:1 36:21        78:4 85:15,17,21       scheduled 134:13
remodeling 35:15          127:22                  39:14 42:2,18           86:9 91:23 95:19       Schlesinger 2:2 6:2
removal 92:25 93:2      resident 10:9             43:23 49:1,4 50:9       95:23,24 96:2 98:2     school 8:8,10,11,13
remove 22:3,16          residual 28:17            50:12,19,21 51:3        99:22 102:7 122:7        8:14
  79:21                 respect 26:25 60:20       52:14 54:16 59:12       126:25 127:5           Science's 19:11
removed 20:22 21:25       126:14 135:16           60:8 62:25 63:6,10      128:15,24 132:20       scientific 1:4,9 2:20
  22:1,19 23:2 30:11    responded 22:25           63:13 64:9,14,20        133:22 134:23            3:17 5:17 6:13
  112:2                   82:10 118:23            65:10 66:5,8 68:20    robotic 31:20 77:19        24:15 37:22 39:16
removing 51:15          response 35:16 36:9       69:3,15 70:6,25         91:10                    40:5 41:11 44:6
renamed 8:12              36:12,13,22 37:4        71:8,11,23 72:15      robotic-assisted           45:24 54:15 97:7
reoccurrence 34:1         38:10 43:7,9 112:7      72:19,23 73:1,14        45:13                    121:8 123:21
reoccurrences 27:1      responses 18:10           73:23,24 74:13        Roman-Hernandez            136:10 138:18
reoccurring 128:12        104:21                  76:8,23,25 77:3,14      56:5                     140:3,4,13,15,21
repair 1:4 28:5 77:17   responsibility 40:15      77:19 78:19 79:12     ROS 68:23                  151:2 152:4
  84:4,9 94:21 98:3     rest 59:11,14,23 60:2     79:19 80:6,9 81:1     Rosen 56:16              Scientific's 49:24
  98:11 128:8 134:19      113:20 117:3            81:10 83:10 84:17     roughly 137:24 147:2       126:4
  145:22 146:6,22         120:10                  85:15,23 87:24        route 91:4               Scoggan 2:16 3:6
repeat 51:7 122:10      restate 22:15             88:4 89:1,3,6,13,20   rules 42:14                6:12,12 17:5 35:6
  122:21                Restorelle 81:9,16,17     89:24 90:6,9,12,20    running 106:5,12           39:7,18 40:9 41:7
repeated 137:15           82:4,14 83:13           90:22,23 92:1,4,7     runs 126:18                41:14,23 43:18
repetitive 113:12         90:11,14,15 97:6        92:19,24 93:4,11      rush 101:10 118:15         44:12,23 46:1,14
report 4:8 68:4 89:15     121:17 122:2 136:9      93:14,17,24 94:3                                 46:23 50:1,4 53:25
  102:10,14 110:4         146:1,4,14,18,22        94:10,13,23 95:5                 S               121:2,14 123:16,19
  112:6,8,10 150:5        147:5                   95:20 96:1,4,8,13     s 2:1 149:9 150:14         129:10,12 131:13
reported 62:8 116:1     restraint 72:14           96:18,21 97:7,9,13    S.E 152:18                 131:21,22 134:8,17
reporter 3:10 5:7,21    restricted 94:9,12        97:21 98:3,6,12       sacral 12:12 19:7,15       139:4 140:10,25
  6:3,6,15 11:18 13:5   restrictions 28:3         99:3,5,12,20,23         38:24 45:14 78:1,2       142:4,8,11,22,25
  53:22 54:3,20           33:19 53:4 72:1,4       100:7,9,12,17,22        80:11 82:3 90:8,25       144:11 146:25
  58:19 69:10 83:4        113:13 139:22           100:25 101:5,8          91:1 103:1 105:8         147:10,12 152:23
  95:14 107:9 131:11    result 38:3 112:16        102:5,7,9,19,21,24      107:17 109:1           scope 58:7,11,22
  134:2,5,7 142:16        143:23 144:7            103:4,7,13 104:18       111:19                   59:24 60:13 61:22
  142:21 150:1,4        retention 22:5 78:6       105:6,19,22,25        safe 45:5 125:18           65:15,19 79:5
  152:16                  86:5 128:13             106:5 109:21 111:9      140:6 146:5              82:24 83:6 146:12
reporting 5:4,22 68:8   retropubic 37:17          111:20 112:22,23      safety 139:5,8,18        score 63:15,19,25
  69:22 70:21 75:9        45:15 46:4 125:24       114:25 115:1,4          140:4                  SE 2:3
  75:16 152:11,17         126:2                   116:7,11,20 117:4     sample 133:12            seal 149:6
reports 70:13,16        return 114:9 119:4        118:13,23 119:2,9     satisfied 140:5          second 54:20 68:2
  116:14                returned 48:1 148:5       122:10,13 125:13      satisfy 140:6              69:6,12 75:1 85:14
represent 56:2 60:8     review 27:6 30:23         128:2 129:23          save 66:15                 89:1 90:6 95:17
  114:12 123:20           68:18,22 69:1           131:23 135:22         saw 25:10,13 47:19         97:5 105:9 108:9


                                       United Reporting, Inc.
                                            954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 166 of 170 PageID
                                       18788
                                                                                                        Page 165

  108:14,20 110:6         72:14 94:9 96:7       sidewall 104:11          small 55:7              spoken 141:10
  115:13 135:7,21         113:22 116:23         Sigmoid 104:8            smaller 17:23 18:7,9    spontaneously 58:2
section 84:22 115:14      117:23 120:13,16      sign 3:12 92:10 96:20      19:2 66:25            stack 62:22 145:21
  117:9 129:25,25       sexually 59:19             97:15 135:4 147:15    smoke 120:24            Stage 26:15
secured 111:6             104:20                   148:20 151:5 152:9    smoker 32:8 49:9        stand 68:25
see 12:22 18:20 21:16   sheet 139:6,9,18        signature 73:21            60:25 61:2 62:25      standard 31:23 80:6
  23:24 24:2 43:1         140:4 152:13             138:6,8 145:1,3,7       74:12 75:10 89:13       80:8,12 90:6,17,17
  47:20,21,25 48:13     shopping 72:9              145:10,11,14,23,24      100:14 120:21           107:8 118:24 125:3
  54:13 55:9 57:21      short 55:2,21           signed 93:24 97:2,17     smokers 50:12             125:11 130:18,23
  62:2,6 63:12 68:5     shortening 105:19          99:22 100:21          smoking 27:22 49:19     standing 30:6 83:25
  69:6,13,14,17 72:2    shorter 91:12              136:16 152:11,13        70:25                 standpoint 32:7 42:5
  76:6 88:7 97:24       show 30:1 133:13        significant 42:5         snafu 55:7              stands 39:3 83:24
  99:15 103:12          showing 64:7            signing 152:12           society 127:11          star 145:24
  110:14,18 112:12      showings 138:21         signs 92:6               soiling 27:18 70:8      stars 134:21
  114:7 115:17 116:2    shown 133:19            silicone 29:10           solely 9:25             start 64:13 123:24
  116:5,15 117:9,13     shrink 35:21 39:5,17    simply 51:15             solution 76:16          state 5:8,24 7:2 9:5
  117:18,20 118:22        40:6,18 41:4,12       Sincerely 152:15         somebody 99:20,21         62:5 149:2 150:2
  129:17 141:18           42:8                  single 106:18,20           116:25                stated 25:18 46:24
seek 62:10              shrinkage 38:10            107:7,11,18           sorry 6:3,6 28:9 29:6     119:22
seen 48:25 50:9 56:22   shrinks 35:3,11         Sinus 69:15                40:23 46:15 58:19     statement 24:25 44:9
  113:20                Shub 2:6 3:5,8 6:10     sir 10:15                  74:19 83:4 87:19        57:10 140:3,7,12
select 83:9               6:10 16:8 17:4        Siri 50:2                  91:9 107:10 109:6       140:16
selected 81:9             19:24 35:5,12 39:8    site 52:12                 114:2 118:9 134:2     statements 57:1
sell 138:22               39:25 40:10 41:6      sits 63:22,22            sort 124:20 140:3         67:23 139:21
send 111:24               41:15,22 42:3,11      sitting 146:24           sorts 104:18            states 1:1 5:18 70:1
sense 12:5 110:24         42:13,20,24 43:17     six 81:19 111:9          sounds 99:20            stating 14:25
sent 112:3 119:8          44:24 45:25 46:13        114:25 146:19         source 23:12 127:22     stay 19:13 33:18
sentence 62:4             46:22 49:21 50:3      size 17:24 18:1,2,7,9    Southern 1:1 5:19         91:12,17
separate 42:6             50:22,25 51:3,5          19:2,19 35:20         space 103:12 110:9      stenographic 150:6
separately 10:23          52:7 53:22 54:1,4,5      57:17 82:20 83:16     Spalding 2:7,12         stenographically
separation 117:12,17      54:21 55:17 58:9         83:16                 span 21:16 81:19          150:5
  118:11                  58:13,16,24 59:4      skin 99:2,2              speak 6:9               Steven 2:16 6:12
Sept 1:15                 60:7,15,22 61:7,11    sling 19:12 20:14,21     special 106:10            123:19 152:23
September 5:6,12          61:23 65:16,20           20:25 22:4,6,7 23:6   specialty 56:18 124:2   steven.scoggan@el...
  48:25 49:4 50:9         73:6,8 78:15,18          31:24 37:13,15,21     specific 14:12,12,15      2:18
  114:13 119:13           79:1,4,6 82:25 83:7      37:22 39:10,15          14:16 33:14 44:9      stickers 53:24,25
  146:25 147:2 149:5      84:18,25 85:8            45:15 80:5 97:7         46:2 47:6,12 74:10    stiffness 69:18
  149:6 150:10 151:3      95:16 107:15             103:4 105:11            95:9,12 119:24        stitch 106:5
  152:1,7                 119:25 120:7             111:20 125:4 126:2      123:2,3 136:10,25     stock 140:17
series 113:1              121:12,15 123:14         126:4 127:1 130:19    specifically 19:6       stooping 72:7
served 141:14             129:8 131:12,19          132:20,23 133:1,8       20:15,16 31:21        stop 24:22 27:22
service 87:15             142:3,6,20 143:20        133:15 134:10           33:23 34:9 44:5,17    stopped 21:15 24:24
services 56:14 67:10      144:12,22 146:10         136:10,19,25 138:3      53:9 57:24 65:14      strain 72:11
session 133:14            146:13 147:1,9,14        138:18                  65:23 66:14 78:2      straining 72:6
set 53:14 148:8           147:17,22,25 148:3    slings 19:16,22 20:2       86:22 94:25 97:1      strand 18:5
severity 103:22           148:9,12 152:22          20:13,20 21:5 22:1      100:7 118:7 123:10    strands 18:6
sew 105:21 109:14,16    sic 16:23 19:11 30:19      23:3 24:12 34:13        126:1 132:7 139:7     stream 22:11
  109:22                  61:2 62:5 81:16          46:5 125:11,18,21       147:23                Street 2:7,12,17 5:4
sewing 109:14,17,22       128:2 136:18             125:25 126:8,13,18    speculation 134:1,4,6     5:13
sewn 109:18             side 63:20 83:21,22        126:22 127:4,10       spend 115:25            strength 84:8 107:14
sexual 58:25 59:15        111:12                   128:7 130:22 133:5    spent 72:18             strengthening 108:5
  59:18,19 60:10        sides 63:21             slow 22:11               sphincter 28:18         stress 14:4,9 30:3


                                       United Reporting, Inc.
                                            954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 167 of 170 PageID
                                       18789
                                                                                                     Page 166

  31:16,22 57:2 63:9      123:2                   81:12,17 82:11,17     67:16,19 69:10          130:21
  76:11 124:6,9,19      surfaces 103:19           83:9 84:4,7 85:12     75:4 84:22 108:2      testing 28:8,19 73:15
  124:25 125:1,19,22    surgeon 16:1 40:13        85:18 87:2 90:11      123:17 124:15         tests 75:25
  130:4,8,23 132:11       40:15 47:16 127:3       90:16 91:19,24        129:4                 Texas 2:8
  132:13 135:16           138:24 141:20           93:5,7 95:1 97:2    taken 5:3,15 55:2,21    Thank 50:21 84:24
stresses 108:22         surgeon's 145:10          104:9 105:14          85:3 152:7              121:12,14 129:11
stretch 83:20           surgeons 24:7 25:4        109:14 110:4        talk 51:8,11 53:20        134:5,7 144:20
stretchability 83:19      107:21,23 108:1         114:13 118:3        talked 16:23 20:18      Thanks 6:6 11:19
strict 53:9               127:9                   119:17,21 120:4       46:10,10,17,18,19       54:1 121:11
strike 68:17 84:11      surgeries 12:11 13:19     132:10,22 133:9       54:18 66:7 84:19      theory 108:19
  122:4 147:8             32:1,12 54:19 79:8      136:25 141:20         99:22 109:8 128:23    therapy 22:25 125:7
stronger 99:8             81:15 89:8 94:2         146:1,5               129:2 135:24 136:6      131:2 132:18
sub-makeup 17:23          102:19 103:15,16      surgically 31:23      talking 19:3 20:25      thing 89:22 111:11
sub-urethral 19:12        104:3 122:19            71:18 109:24          38:17 39:9,10,11        147:17
  20:2 23:3 37:13,15    surgery 9:21 10:1       surrounding 36:24       44:16 52:20 85:10     things 51:8,24 52:21
subcompartments           11:25 12:9,11,16        86:2                  87:17 107:2,3           52:22 60:23 65:13
  18:6                    14:4,14 19:14         Suspension 4:12         127:25                  66:4 67:20 69:5
subject 13:18 36:17       28:21 29:3,5 32:24      136:19 145:7        talks 96:15               93:15 103:9 116:1
  84:1 151:22             33:16,23 34:5,6       suture 98:19 105:22   tape 84:21                117:6 122:22
subjects 43:21            35:13,14 45:18          105:24 106:5,10,12  targeted 23:11            124:17 127:12
subscription 3:11         46:9 47:13,23           108:3,6,18,20       teach 24:6,11 127:9     think 28:20 29:2 36:7
  151:1 152:9,9,11        48:16 51:11,12,20       109:10,13,23        teaching 25:3,6           40:13,15 42:4 48:8
subspecialty 9:19         51:24 52:9 53:10        117:16,19,21,22,25  technique 37:18 42:9      49:16 52:5,8 53:7
substance 61:10,13        59:8,11 70:20 71:6      118:11 120:9          46:2 47:12 141:21       54:1,21 62:21
  71:5 151:22             72:5 76:19 78:4       sutures 52:15 86:12   technologies 127:12       72:13 81:15 84:14
substances 40:14          79:17 81:10,18          98:17 109:1,7,15    technology 17:11          86:13 94:12 97:22
substantial 144:9         82:2 83:14 84:2         111:7,14            telescope 75:4            104:3 105:14 109:4
substantially 144:8       89:9,23 90:20,23      swear 6:14,16         tell 10:3 13:21 25:23     114:11 119:6 121:4
success 82:6 96:16        91:2 93:14 94:6,10    swelling 69:18          34:10 40:17 45:11       126:7 129:4,13
successful 111:22         95:1 96:24 98:9,12    swings 114:22           67:20,23,23 122:16      132:2 147:12 148:9
sufficient 49:23          98:14,19,20 100:2     sworn 6:22 149:5        124:13 141:17         third 2:3 69:17,18,24
  82:19                   100:4,4,5,22,25       symptomatic 32:6      telling 42:6              89:18 126:1 132:9
SUI 80:4 130:3,18         101:5,11,24 102:1     symptoms 22:20        ten 17:6 29:21 72:8     thought 28:17 139:25
Suite 2:8,17 5:5,13       102:7,20,22 103:10      26:11 27:16 32:10     114:8,10              thread 109:23,23,24
  7:7 152:3               105:4 111:22            68:18,22 70:1,3     tendency 59:5           three 10:17 11:15
summarizing 43:24         112:21,25 114:6         115:14 130:10       tendered 53:25            83:15 114:25
summary 95:6,10           117:3 118:15          syndrome 9:14         tends 64:17               141:24
supine 30:3               122:10 123:9          syndromes 9:14        tense 38:4              three-day 91:16
supplier 139:21           128:11,20 130:12      synthetic 98:24 99:2  tension 38:22           tight 22:6 37:8 38:4
support 26:20 29:11       131:5 133:9 134:10      99:4,7,13,14        tension-free 37:12,23   tightening 28:5
  29:13 66:7              134:13,20 135:9         123:11                38:3,12,16            time 5:12 8:12 10:6
supposed 14:22,25         137:25 138:3 147:3    system 1:4 45:16      term 76:16 96:10          10:10 12:6 21:17
  15:2,3,16,17 37:11    Surgery/Procedure         48:11 137:15          99:13                   21:21,23 25:10,12
  37:22                   4:7 101:14              147:20 148:1        terminated 58:1           27:2,17 28:1,20
sure 14:24 15:10 16:9   surgical 26:20,25       systems 69:1          terms 33:11 36:25         29:23 30:17 33:17
  17:24 23:23 37:5,8      27:25 29:8 31:14                              63:19                   42:16 47:19,22
  38:1,2,11,15,21         31:17,21 32:13                   T          test 27:8 30:3,12         48:15 49:6,18,23
  39:21 45:22 46:9        33:15 42:9 51:21      tail 38:25            testified 6:22 122:6      51:6 53:23 54:19
  47:11,12 51:10          52:12 60:21 65:5      tailored 67:13          128:4 135:17            54:25 55:4,19,23
  53:11 57:11,11          66:10,12 71:16,20     take 7:22 16:17 33:16 testify 142:12 143:1      65:6 67:9 71:22,25
  73:18 79:15 101:15      76:3,15,19 77:2         39:14 45:8 55:8     testimony 3:3 6:16        80:22 85:2,6 91:20
  104:4,19 108:11         78:3 80:20 81:1,3       56:25 57:19 63:20     41:10 51:10 83:3,6      94:10 115:3,25


                                       United Reporting, Inc.
                                            954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 168 of 170 PageID
                                       18790
                                                                                                       Page 167

   118:22 119:16        transobturator 37:17      77:16 91:16 103:19   unintelligible 49:12      64:25 65:8,12,17
   121:5,20,22 124:7      125:24                  132:17 135:10          142:14                  74:2,3,7 75:14 78:3
   124:22 131:15        transvaginal 13:8,12      141:23               unique 14:13 32:21        78:7 83:9,13 84:3
   146:17 148:4,14        20:8,8 21:9,19,22     two-page 134:20          78:7 127:25 128:5       86:22 89:15 90:13
   151:5                  22:1,4,14 43:4,5      type 20:8 25:2 32:23   United 1:1 5:18           95:12 99:10 121:17
times 11:25 12:3,21       44:18 77:5,8,10         37:16 43:7 44:2        152:11,17               122:3 124:24
   57:23 58:2             126:25                  53:24 56:13 71:5     University 8:2,13 9:5     125:22 126:2
tissue 35:14,25 36:2    transvaginally 24:8       88:12 95:13,14       unsafe 45:2 140:1,23      127:13 138:22
   36:9,12,13,22,24     transvaginally-pla...     97:2 113:12 123:10   unusual 45:20             139:10,22 140:17
   37:4 38:10 43:7,9      21:12,14 38:17,20       128:20               urethra 29:12 30:8        140:22,23 146:11
   52:13,23 64:12         39:11                 types 22:20 32:12        30:10                   146:22
   82:10,20 84:9        treat 11:23 14:4          44:17 67:10 71:19    urethral 31:24 37:20    user 61:17 71:2
   106:18,19 109:10       21:10,11 22:17          125:21                 39:10 45:15 80:5      usual 72:21 92:9
   109:17,18              29:14 38:14 53:13     typically 99:8 114:6     103:4 125:4,10,17       99:25 101:23 112:1
tissues 32:23 43:14       64:19 80:9 118:12       116:22 124:10,19       130:19,22 133:5       usually 13:13 32:15
   44:9                   125:22                                       Urethrovesical 4:12       52:11 66:21 72:8
tobacco 26:23 65:8      treated 20:9 25:18                U              136:18 145:7            78:12 108:17,18
   74:2,3,7               50:11 78:9,12,23      U.S 1:9                urinary 9:13 14:5         112:3 124:17,22
today 5:11 10:14          124:6                 uh-huh 69:10             22:5,10 25:19         uterine 26:17 32:5
   17:10,13,13 29:14    treatment 9:12 25:9     uh-uh 69:10              26:17,21 27:6,15        90:7
   42:17 56:23 82:17      26:19 29:8 35:1       ultra 83:15              28:15 34:1 57:2       uterus 63:23 79:13
   145:1 146:15,21,24     58:7 59:1 60:14,21    um-hmm 69:8,25           63:9 65:9 76:11         79:19,21 92:25
today's 141:3 148:13      62:10 65:5 71:7         75:6 82:1 87:22        78:6 86:5 94:22
told 26:19 39:5,16        80:4,12 124:20          88:8 91:14 104:13      103:7 124:6,9,19               V
   40:5 41:10 43:11       125:11,18 126:5         111:2 116:8,10,16      124:25 125:1,19,22    v 1:8
   44:5 132:25            130:14,18,23 131:2      144:24 145:8           128:13 130:2,4,8      V-Loc 106:5,10
tolerated 113:20          131:4 132:11,13,19    unaware 41:20            130:23 132:11,13      vagina 14:18,23 15:5
top 46:6 60:4 63:23       132:21 135:19         uncomfortable 22:12      135:16 137:15,16        15:23 29:11 32:24
   64:12 68:3 87:20       136:5 146:5           undergo 14:22 27:7     urination 23:8            38:25 46:7 60:4
   88:2 93:16 97:14     treatments 124:24         34:22,23 35:9        urine 30:5,5 124:17       63:21,21,23 64:13
   105:22,24 109:17       132:15,18               133:10                 137:6                   64:14 79:22 88:2
   113:19 117:8         trial 27:24 71:13       undergoes 35:15        Uro 136:18                88:11 100:9 105:22
topics 12:15            tried 118:25            undergone 76:1         urodynamics 28:7,10       105:25 108:17,22
total 45:13 89:23       trips 124:15            underneath 109:21        28:12,15 29:1           108:22 109:3
track 126:10            troublesome 130:9       undersigned 149:4        30:23                 vaginal 12:13,19
tract 22:10 34:1        true 52:17 62:15        understand 14:24       uroflowmetry 27:7         14:4,21 15:14,14
   103:7                  67:22 105:16            15:11 16:10 17:25    urogynecological          20:10 22:24 26:4
traditional 77:17         120:21,23 150:6         22:18 27:13 36:15      67:13                   28:4 31:5,18 32:18
   90:23 91:1 107:7       151:5,21                40:16 51:10 56:4     urogynecologist           34:10 46:25 70:13
trained 45:23           truly 27:14               58:3 60:2 62:18        123:25                  75:16 77:2 88:1
training 8:24 9:11      trust 115:11              63:10 66:22,23       urogynecologists          90:7 98:3 105:19
   24:4 127:22          truth 6:17,17,18          83:1 97:15 102:10      127:19                  106:2,4,13,15
trainings 10:11 24:1    try 38:24 51:6 53:19      105:2,3 107:10,25    urogynecology 3:19        110:10,17,23,25
transabdominally-...    trying 16:9 17:24         108:8,11 111:1,17      7:12 9:2,10,21 10:5     111:3,6 116:2,5,6
   38:23 39:12            21:1,17 51:16           112:5 114:24 121:6     12:8 147:24 152:2       116:11 119:15
transcript 5:1 148:21     101:10 111:17           138:16,20 140:19     urolog 26:22              120:8 136:2 141:15
   150:5,6 152:7,13     tubal 89:5                141:11               urology 12:8            vaginally 62:5
transcripts@unite...    tunnel 110:8,9          understanding 33:12    use 13:18 23:13 24:6    vaginally-placed
   152:21               turn 25:8                 36:1 40:12 43:3        26:23 32:16,21          25:1
transitions 18:16       two 9:11 14:7 16:22       92:3                   39:20 43:12 44:6      vaginectomy 89:23
transmitted 59:20         46:19 48:24 50:4      understood 60:5          44:15 45:2,6 47:11    vaginosis 88:9,10,13
   104:20                 54:13 63:21 75:25       97:19 133:22 134:9     53:23 61:3,8 63:2       104:25


                                       United Reporting, Inc.
                                            954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 169 of 170 PageID
                                       18791
                                                                                                       Page 168

vague 59:3                68:2 101:4 113:18       43:19 44:13 45:1        147:5 149:4 150:5     123 3:6
vault 12:13 88:1 90:7     129:15 142:9            46:2,15,24 49:23        151:4,25 152:2        12th 5:11 30:19
venture 19:16             147:15                  50:22,24 51:2         yeah 21:7 37:14           31:13 146:25 147:2
versus 5:17              wanted 27:25 28:4        58:12,23 59:25          47:14 58:11 87:19     13 3:18 4:4 94:15,20
vertical 83:21            31:14 71:17 76:7        60:20 61:10 78:17       90:24 113:15 116:4      95:5,18 114:16
video 2:5,22 5:11,15      76:10 79:15 80:1        95:15 107:11            116:6 129:19 142:8      134:18
  5:23 54:22 55:3,7       101:8 103:12 109:7      119:24 123:14           147:13                13th 30:15
  85:5                    110:22 113:22           129:9 140:21          year 8:5 9:11 29:21     14 4:5 97:21 98:2
videographer 2:22         118:21 121:10           141:12,14 142:9         121:24                143 3:7
  5:10,22 6:14 54:25      130:14                  143:21 144:13         years 17:7,14 20:1      144 3:8
  55:3,19,22 84:16       warned 118:7             147:9,16,21,23          21:16 34:9 46:4       148 3:19,20,21,22,23
  84:24 85:1,4           warning 34:19 43:20      148:1,7,11,19           61:13 68:1 80:16        3:24,25 4:2,3,4,5,6
  131:15,18 148:13        45:1 122:16 123:4       149:6                   81:19 115:9 127:12      4:7,8,9,10,11,12
videotape 85:10           123:6 132:3,6          woman 57:18              141:24 147:3          149 3:9
videotaped 1:23 5:2      wasn't 75:17 97:9       woman's 124:11         yeast 88:19             14th 28:14 73:4,13
view 36:14                111:18                 women's 10:8 23:21     York 8:20                 74:18
Virginia 1:1 5:19        way 16:12,17,18,19      word 127:9                                     15 4:6 87:9 98:22
vision 69:6,12,13         40:24,25 47:8,14       words 34:25 122:4                Z               114:16 117:8
visit 3:21,22,23,24,25    56:8,10 59:6 91:15     work 9:22 23:22        zero 64:1,1             150 3:10 21:24
  4:2,11 25:25 29:5       107:5 129:18            143:2                                         151 3:11
  32:9 47:21 48:17        142:23                 worked 67:25 68:1               0              1516 5:4,13
  49:15 56:21 61:25      Wayne 9:5                115:9                 000460 56:2             152 3:12
  67:1,16 68:19          ways 77:16              working 67:8                                   16 4:7 101:14,16,18
  70:24 71:7,19          we'll 43:1 87:7 95:17   worse 93:20 124:22               1             16th 29:24 74:14,25
  72:18 74:20,25         we're 19:14 42:21        137:7                 1 3:16 11:1,3,11 85:1   17 4:8 102:9,13 110:5
  75:12,15,17 84:13       54:1,10 55:3,6,16      worsening 96:3           95:20 129:8,9,10      18 4:9 87:9 112:4
  85:11 87:5,6 91:18      56:20 85:9 87:17       worst 64:2               129:10                  149:12 150:16
  114:13,15 115:14        102:9 146:24           wouldn't 12:5 18:22    10 3:25 75:20 76:24       152:1
  119:13 129:13,14        147:12,13               34:23 38:5,7 41:5       85:11 129:15,19       180 106:12
  131:8,25 132:7,14      we've 50:4 60:9 66:7     41:16                 10/10/64 7:5            1800 2:8
  133:5,10,23 134:11      72:22 87:10 90:12      wound 26:25 32:11      10/29/13 3:19 48:19     18th 149:6 150:10
visualized 117:13         94:20 95:20 96:10       33:24 49:11,13,14     10:18 55:1              19 4:10 113:1,10
voiced 92:3               101:13,18 105:15        49:17,17 50:16        10:26 55:4              1986 8:4
void 28:16                129:2 148:9            woven 18:5             10:27 55:20,23          1990 8:15
voiding 22:9 34:2,3      Wednesday 1:15 5:5      wrap 42:24             10th 27:4 67:2 69:3     1997 7:21 9:8,24
  78:6 126:14,20          5:11                   wrapping 50:6          11 3:16,17 4:2 84:13    1999 10:2
voluntarily 58:2         week 11:25 12:2,3,4     written 92:6 134:22      87:7,11 89:1,18
vs 151:2 152:4           weeks 28:2 72:1          136:19                  91:19 131:7,9                   2
                          94:13 114:25                                  11:00 85:2              2 3:17 11:13,16 54:12
          W              weights 136:2                    X             11:10 85:7                85:5 91:3 95:20
waited 66:18             went 99:21 125:8        X 3:1                  1180 2:12                 110:5 122:25 129:5
Wake 8:12                weren't 10:6,10         Xavier 56:4            12 1:15 4:3 5:6 28:2    2:12-MD-02326 1:4
walk 7:22                 101:10 142:7                                    72:1 93:4,7 94:13     2:16-cv-01311 1:10
walked 135:1 138:2       wesh 81:16                        Y              94:25 102:12          2:16-cv-1311 5:16
wall 72:12 110:1,14      West 1:1 2:7 5:19       Y 1:25 3:3 5:2,15        145:16 149:5 151:3    20 4:11 11:24 20:1
 110:23,25 111:4,7       willing 97:12             6:21 7:3 46:6 81:9     152:7                   46:3 114:14,17
walls 38:25 98:3         willingness 59:22         81:17 82:4,14,17     12:05 131:16,18         20-year 29:20
want 7:22 25:8 34:6      Winters 2:16              83:13 85:6 90:14     12:25 148:14,19         2005 21:19
 34:22 43:15 44:1,3      witness 6:14,19 16:9      90:15 91:1 97:6      12:30 121:7             2008 122:19
 44:10,18 45:3 47:3       17:6 19:25 35:13         121:17 122:2         120 21:24               2008/2009 34:16
 51:8,11 53:20 55:8       39:9,19 40:1,11          133:16 136:9 146:1   1212 2:3                2010 21:19 24:23
 55:16 61:14,24           41:8,16,24 42:4,15       146:5,14,18,22       1218 152:18             2011 34:19 122:19


                                        United Reporting, Inc.
                                             954.525.2221
    Case 6:20-cv-00831-RBD-GJK Document 110-5 Filed 10/01/20 Page 170 of 170 PageID
                                       18792
                                                                           Page 169

  132:3                32 101:17               9:01 1:15 5:6,12
2012 25:13 27:4        32803 5:5               924241 149:11
  28:14,20 29:24       32804 7:8 152:3           150:16
  30:15 56:22 62:9     33 101:17               954-525-0511 152:20
  62:20 66:13 67:2     33316 2:3 152:18        954-525-2221 152:19
  69:3,22 73:4,14      34 62:20                9th 45:10 47:24
  74:14 81:18          3rd 152:18                102:21,22
2013 30:19 31:3,13
  33:1 45:10 48:2,16             4
  48:23 49:1,4 50:9    4 3:19 54:2,4,11
  75:20,24 87:6,16       95:19,22,23 119:7
  100:22 102:21,22       148:16
  114:14 119:13        463 56:2
  125:15 126:3         49 113:2
  128:16,18 129:13
  132:1 147:3                    5
2014/2015 34:17        5 3:20 55:25 56:21
2018 1:15 5:6,12         95:23 126:19
  81:18 147:2 149:5      134:22
  149:6 150:10 151:3   5/28/13 4:2
  152:1,7              5/31/12 3:21
2019 149:12 150:16     5/7/12 3:20
21 4:12 94:17 136:15   50 20:23 39:6,17 40:6
  148:16                 40:18 41:4,12 42:8
21st 75:20,23 129:13     72:17
22 94:17               500 2:7 21:8 126:8,23
22nd 48:2              51 3:5 113:18
23 93:6
2326 1:6                         6
24 91:15               6 3:4,21 62:17
24-hour 26:22          62 113:2
24th 114:14
                                 7
250 29:21
2501 7:7 152:3         7 3:22 67:1 68:3,18
27401 2:18               72:23 102:12 135:6
28th 87:6,16 100:21      135:8
  132:1                78701 2:8
2nd 2:7                7th 56:22

          3                       8
3 3:18 13:1,3 54:2,3   8 3:23 73:3,6,9
  91:3 95:22 126:19    8/14/12 3:23
3/10/12 3:22           8/16/12 3:24
3/21/13 3:25           8/9/13 4:8
30 61:13 152:13        800 2:17
30-pack 49:19          86 112:5
30-pack-a-day 61:2     87 112:5
300 2:17 5:5,14                  9
30309-3521 2:13
                       9 3:24 74:5,14 110:6
309 7:7 152:3
                       9/24/13 4:11
31 73:7
                       9/24/2013 48:7
31st 25:13 62:20


                                         United Reporting, Inc.
                                              954.525.2221
